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       Island of Impunity
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              Island of Impunity
   Puerto Rico’s Outlaw Police Force



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Island of Impunity:
Puerto Rico’s Outlaw Police Force


June 2012




American Civil Liberties Union
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Cover Image:
Betty Peña Peña and her 17-year-old daughter Eliza Ramos Peña were attacked by
Riot Squad officers while they peacefully protested outside the Capitol Building.
Police beat the mother and daughter with batons and pepper-sprayed them.
Photo Credit: Ricardo Arduengo / AP (2010)
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Glossary of Abbreviations


ACLU	American Civil Liberties Union

AFL-CIO	American Federation of Labor and Congress of Industrial Organizations

APPU         Asociación de Profesores Universitarios de Puerto Rico /
             Puerto Rico University Professors’ Association

ASPRO        Asociación de Periodistas de Puerto Rico /
             Puerto Rico Association of Journalists

ATF	United States Bureau of Alcohol, Tobacco, Firearms and Explosives

CAT	Convention against Torture and Cruel, Inhuman or Degrading Treatment

CED	Conducted-Energy Device

CERD	International Convention on the Elimination of All Forms of Racial
      Discrimination

CIC          Cuerpo de Investigaciones Criminales / Criminal Investigation Corps

CIPA         Comisión de Investigación, Procesamiento y Apelación /
             Commission on Investigations, Processing, and Appeals

DOE          División de Operaciones Especiales / Special Operations Division

DOJ	United States Department of Justice

DOT          División de Operaciones Tácticas / Tactical Operations Division

DTE          División de Tácticas Especializadas / Specialized Tactical Division

FBI          Federal Bureau of Investigations

FCT          Federación Central de Trabajadores / Central Workers Federation

FTPR         Federación de Trabajadores de Puerto Rico /
             Puerto Rican Labor Federation

FURA         División de Fuerzas Unidas de Rápida Acción /
		           Joint Rapid Action Force Unit

ICCPR 	International Covenant on Civil and Political Rights

LAPD	Los Angeles Police Department

MOU          Memorandum of Understanding




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NIE Negociado de Investigationes Especiales /
	Special Investigations Bureau of the Puerto Rico Department of Justice

NDNV Negociado de Drogas, Narcóticos y Control de Vicios y Armas Ilegales /
		Drug, Narcotics, Vice, and Illegal Weapons Bureau

NYPD          New York City Police Department

OPEIU	Office and Professional Employees International Union

PNP           Partido Nuevo Progresista / New Progressive Party

PPD           Partido Popular Democrático / Popular Democratic Party

PRPD          Puerto Rico Police Department

PRDOJ         Puerto Rico Department of Justice

SARP          Superintendencia Auxiliar de Responsabilidad Profesional /
              Auxiliary Superintendency for Professional Responsibility

SEIU	Service Employees International Union

UDHR	Universal Declaration of Human Rights

UFCW	United Food and Commercial Workers International Union

UGT           Unión General de Trabajadores de Puerto Rico /
              General Union of Workers

UOE           Unidad de Operaciones Especiales / Special Operations Unit

UOT           Unidad de Operaciones Tácticas / Tactical Operations Unit

UTE           Unidad de Tácticas Especializadas / Specialized Tactical Unit

UPR           Universidad de Puerto Rico / University of Puerto Rico




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     The Puerto Rico Police Department is a dysfunctional and
     recalcitrant police force that has run amok for years. Use of
     excessive or lethal force is routine, and civil and human rights
     violations are rampant. Years of unchecked abuses have resulted in
     the avoidable and unjustifiable loss of civilians’ lives, and severe and
     lasting injury to countless others.




Betty Peña Peña and her 17-year-old daughter Eliza Ramos Peña were attacked by Riot Squad officers while they
peacefully protested outside the Capitol Building. Police beat the mother and daughter with batons and pepper-
sprayed them. Photo Credit: Ricardo Arduengo / AP (2010)




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I. Executive Summary


The Puerto Rico Police Department (PRPD), charged with policing the Commonwealth of
Puerto Rico, is the second-largest police department in the United States, second only to the
New York City Police Department. The PRPD’s over 17,000 police officers police the island’s
approximately 3.7 million residents. With about 4.6 PRPD officers for every 1,000 residents,
the ratio of active PRPD officers to residents in Puerto Rico is more than twice the U.S.
national average.

The PRPD performs an essential public safety function, yet the police force is plagued by a
culture of violence and corruption. It is a dysfunctional and recalcitrant police department
that has run amok for years. Use of excessive or lethal force is routine, and civil and human
rights violations are rampant. Years of unchecked abuses have resulted in the avoidable and
unjustifiable loss of civilians’ lives, and severe and lasting injury to countless others. While
police abuse historically has primarily affected low-income Puerto Ricans, Puerto Ricans
of African descent, and Dominican immigrants, in the past three years nonviolent political
protesters have also been targeted.

Puerto Rico, and its police force, currently confronts a public safety crisis of skyrocketing
crime and a record-breaking murder rate. With 1,130 murders in 2011—nearly three violent
deaths per day—the number of murders in 2011 was the highest in Puerto Rico’s history,
while the previous year saw the second-highest number of murders in Puerto Rico’s history.
Puerto Rico ranks 19th in the world based on its per capita murder rate, and in 2009, Puerto
Rico’s murder rate was higher than each of the 50 states, and nearly double the rate of the
next highest, the state of Louisiana.

Reducing violent crime represents a daunting and at times dangerous challenge for the
PRPD. Too often, rather than curbing the violence, the PRPD instead contributes to it
through the unwarranted use of lethal and excessive force.

After a comprehensive six-month investigation of policing practices in Puerto Rico, building
on eight years of work by the ACLU of Puerto Rico documenting cases of police brutality, the
ACLU has concluded that the PRPD commits serious and rampant abuses in violation of the
United States Constitution, the Puerto Rico Constitution, and the United States’ human rights
commitments. The PRPD routinely commits abuses including the unjustified use of lethal
force against unresisting, restrained, or unarmed civilians; beatings and other violence
against unarmed Black, poor, and Dominican men that left some near death and others
paralyzed or with traumatic brain injury; and excessive force against peaceful protesters
including the indiscriminate use of tear gas, pepper spray, batons, rubber bullets and sting
ball grenades, bean bag bullets, Tasers, carotid holds, and pressure point techniques. The
PRPD also fails to police crimes of domestic violence and rape and to protect women from
violence by their intimate partners.




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These abuses do not represent isolated incidents or aberrant behavior by a few rogue
officers. Such police brutality is pervasive and systemic, island-wide and ongoing. The PRPD
is steeped in a culture of unrestrained abuse and near-total impunity. The issues plaguing
the PRPD predate the administration of the current Governor, Luis Fortuño, and without far-
reaching reforms, the abuses will continue.

Evidence drawn from interviews conducted by the ACLU between March and September
2011 in Puerto Rico, as well as careful review of case documents and publicly reported
case information from incidents that took place as recently as May 2012, and government
quantitative data, form the basis of the following findings.


Background: Pervasive Corruption, Domestic Violence, and other Crime
by PRPD Officers

There is pervasive corruption and other crime within the police force, including domestic
violence committed by PRPD officers. The PRPD’s failure to address criminal conduct among
its ranks is symptomatic of a larger institutional dysfunction of the police department’s
policing and disciplinary systems.

Over a five-year period from 2005 to 2010, over 1,700 police officers were arrested for
criminal activity including assault, theft, domestic violence, drug trafficking, and murder.
This figure amounts to 10 percent of the police force, and is nearly three times the number of
New York City Police Department (NYPD) officers arrested in a comparable five-year period,
although the NYPD is about twice the size of the PRPD. In October 2010, the Federal Bureau
of Investigation (FBI) arrested 61 PRPD officers as part of the largest police corruption
operation in FBI history, and additional PRPD officers have since been arrested by the FBI.
Officers have been convicted of planting drugs and fabricating drug-related charges against
residents of a housing project, as well as other drug and firearm violations.

Moreover, the PRPD has recorded an appalling number of complaints of domestic violence
by PRPD officers. The PRPD recorded nearly 1,500 domestic violence complaints against
police officers from 2005 to 2010. At least 84 still-active officers have been arrested two
or more times for domestic violence. There have been multiple highly publicized cases in
which PRPD officers shot their wives with their service firearms, in some cases killing their
spouses.


Shooting to Kill: Unjustified Use of Lethal Force

Since 2007, PRPD officers have fatally shot, beaten, or Tasered unarmed men, the mentally
ill, individuals who posed no threat to officers or bystanders, and individuals who could have
been restrained with less force. A series of widely reported police killings over a nine-month
period in 2007, one of which was captured on film, brought to light an ongoing problem




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of PRPD officers’ use of deadly force, but did not result in reforms that would curb these
abuses.

According to statistics provided by the Puerto Rico Department of Justice (PRDOJ), PRPD
officers killed 21 people in 2010 and 2011. The ACLU documented 28 cases in which PRPD
officers are reported to have killed civilians from 2007 and 2011. In most of these cases, the
deaths were unjustified, avoidable, and/or not necessary to protect the life of an officer or
civilian. We know of at least eight additional cases in which PRPD officers shot and killed
civilians within that timeframe, but the ACLU was unable to document the circumstances of
those killings.

The ACLU documented recent cases in which police shot and killed an unarmed boy as
young as 14, and a man as old as 77, who was shot when police entered his home to serve
and execute a search warrant. Because it is difficult to obtain case information except where
there was a public scandal or related litigation, the ACLU’s research on use of lethal force
relies heavily on cases that have been exposed by local news media. For each of these cases
that emerged in newspaper headlines, there are doubtless many others.


Excessive Force against Low-Income, Black, and Dominican Communities

PRPD officers assigned to tactical units regularly use excessive force while on routine
patrols and checkpoints in low-income, Black, and Dominican communities. During
encounters with civilians in these communities, officers routinely use excessive force or
resort to force unnecessarily and inappropriately, and they disproportionately target racial
minorities and the poor. The PRPD is using excessive force as a substitute for community
policing.

Police use excessive force including beating with batons, kicking, punching, throwing on the
ground or against walls and objects, chokeholds, and shooting with firearms. In the cases
documented by the ACLU, police inflicted injuries including: a broken jaw, cracked or lost
teeth, bone fractures, internal bleeding, severe contusions, abrasions, lacerations, organ
damage, organ failure, traumatic brain injury, paralysis, brain death, and death. In the cases
documented by the ACLU, victims were not resisting arrest or were already restrained,
unarmed, and posed little or no risk to officers or bystanders at the time of officers’ use
of force. The ACLU documented cases in which police severely beat individuals already
restrained in handcuffs, and in some cases police did not arrest victims after injuring them,
merely leaving them broken and bleeding on the street or in their homes.

Excessive use of force is rampant. According to data provided by the PRPD’s Auxiliary
Superintendency for Professional Responsibility (Superintendencia Auxiliar de
Responsabilidad Profesional, or SARP), which oversees the internal administrative
investigations of PRPD officers, civilians filed at least 1,768 complaints against officers
for excessive or unjustified force and assault from 2004 to August 2010. These numbers




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are most surely low and do not accurately represent the extent of the problem: the ACLU’s
research shows that civilians regularly elect not to report police abuse because of a lack
of faith in the investigatory and disciplinary system; because of widely-known impunity
for police abuse; and because of fear of retribution for filing complaints of civil rights and
human rights violations.

Excessive force is routine among police officers in multiple tactical units of the PRPD.
We have determined that particularly problematic units include the Tactical Operations
Unit (Unidad de Operaciones Tácticas, or UOT), whose work is carried out by a Tactical
Operations Division in each of the 13 police regions (División de Operaciones Tácticas, or
DOT), colloquially known as the Riot Squad (Fuerza de Choque); and the Drug, Narcotics,
Vice, and Illegal Weapons Bureau (Negociado de Drogas, Narcóticos y Control de Vicios y
Armas Ilegales, or NDNV), which is represented in each of the 13 police regions across the
island by a Division of Drug, Narcotics, and Vice (División de Drogas, Narcóticos y Control de
Vicios), commonly known as the Drug Division (División de Drogas). Also problematic is the
Specialized Tactical Unit (Unidad de Tácticas Especializadas, or UTE), commonly known as the
Group of 100 (Grupo de Cien), an elite unit of officers grouped into multidisciplinary teams
drawn from several different police units including drug, traffic, stolen vehicles and the UOT,
to combat the drug trade. In addition to its anti-drug operations, the UTE has worked closely
with the UOT in responding to protests.


Billy Clubs versus Speech: Excessive Force against Protesters to Suppress
Speech and Expression

Since 2009, the PRPD also has used excessive force against nonviolent protesters. Even as
police crackdowns on the Occupy movement have brought attention to the problem of police
abuse against protesters in the United States, the PRPD has failed to address its frequent
and systematic use of force against protesters. Officers use excessive force to suppress
constitutionally protected speech and expression, indiscriminately using chemical agents
including a toxic form of tear gas and pepper spray, batons, rubber bullets and rubber
stinger rounds, sting ball grenades, bean bag bullets, Tasers, carotid holds, and pressure
point techniques on protesters. Police have regularly used excessive force in violation of
protesters’ First Amendment right to freedom of speech, expression, and assembly, as well
as their Fourth Amendment right to be free from unreasonable searches and seizures.

The ACLU documented numerous instances of police abuse against protesters at locations
that are traditionally the site of public demonstrations in Puerto Rico, including outside
the Capitol Building, the Supreme Court of Puerto Rico, the Governor’s mansion, and the
Government Development Bank for Puerto Rico, and on the campus of the University of
Puerto Rico (UPR). The PRPD has regularly responded to peaceful protests by deploying
scores of Riot Squad officers in full riot gear, including padded body armor, helmets with
visors, combat boots, and plastic shields. They are customarily armed with long crowd-
control batons; aerosol pepper spray canisters; tear gas riot guns, rubber bullet guns, and/
or pepper-ball guns; and firearms with live ammunition.



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In responding to entirely peaceful or largely peaceful political demonstrations, police
routinely fired aluminum tear gas canisters at protesters from riot guns or “less-lethal
launchers,” a firearm that physically resembles a rifle grenade launcher. Police also
launched tear gas from helicopters, and video footage and photographs show thick clouds
of tear gas engulfing protesters. Police doused protesters with pepper spray at point-blank
range just inches from protesters’ faces, directly into protesters’ eyes, noses, and mouths.
Protesters told the ACLU that police sprayed them so thickly with pepper spray that they
were covered in the orange liquid, which poured down their faces and bodies, temporarily
blinding them and causing excruciating pain that in some cases lasted for days.

Police have also routinely struck, jabbed, and beat protesters with 36” straight-stick
batons, used as blunt impact weapons specifically for riot control. Riot squad officers
struck protesters with two-handed jabs and single-handed strikes in which officers raised
the batons over their heads to hit protesters with maximum impact. In numerous cases
riot squad officers even chased after fleeing protesters and struck them in the head, back
and shoulders from behind. Officers also used painful carotid holds and pressure point
techniques intended to cause passively resisting protesters pain by targeting pressure points
under protesters’ jaws, near their necks, or directly on their eyes and eye sockets. Pressure
point tactics not only cause excruciating pain, but they also block normal blood flow to
the brain and can be potentially fatal if misapplied. In some cases these pressure point
techniques have caused student protesters to lose consciousness.

In the cases documented by the ACLU, as a result of the PRPD’s excessive use of force
numerous protesters required and received medical treatment for blunt and penetrating
trauma, contusions, head injuries, torn ligaments and sprains, respiratory distress, and
second-degree burns from chemical agents.

Despite the PRPD’s widespread use of violence on protesters during several of the
incidents documented by the ACLU, including a protest at the Capitol on June 30, 2010
and a demonstration outside a political fundraiser at the Sheraton Hotel on May 20, 2010,
few protesters were arrested during these incidents. The dearth of arrests following these
incidents indicates that protesters were not threatening public safety and the use of force
was neither necessary nor justified.

In other instances involving UPR student protesters, particularly during the April to June
2010 and December 2010 to February 2011 student strikes, we documented baseless mass
arrests of UPR students to put an end to their protests, thereby suppressing their speech
and expression. A very small fraction of these arrests of student protesters were supported
by probable cause. Of approximately 200 UPR student protesters who have been arrested,
some of whom have been arrested multiple times, prosecutors have pursued charges
against only approximately 17 students. In case after case, student protesters were arrested
and held for hours in a police cell, only to have a court find no probable cause to support the
arrest.




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These abuses have had a chilling effect on First Amendment-protected protest, and
numerous university students and labor union leaders and members reported to the ACLU
that they have ceased protesting, or significantly scaled back their protest activity, because
of fear that they will again be subjected to police violence and baseless arrest. A number
of these self-described activists, who have participated in past protests on numerous
occasions, told the ACLU they no longer feel safe participating in demonstrations. They said
they fear that the PRPD will again use excessive and unnecessary force to suppress their
demonstrations, and they are reluctant to express their political beliefs in public and risk
retaliation by the PRPD.

All of the protesters interviewed by the ACLU told us that they believe the PRPD’s use of
force against them is designed to suppress their speech and expression, and is specifically
directed at those with viewpoints that are critical of the current administration and its
policies. Without exception, all of the concerned citizens, community leaders, university
student activists, and labor union leaders and members we interviewed told us that they feel
the police have targeted them because of the viewpoints they have sought to express.


Failure to Police Crimes of Domestic Violence and Sexual Assault

The PRPD systematically fails to protect victims of domestic violence and to investigate
reported crimes of domestic violence, sexual assault, and even murders of women and girls
by their partners or spouses. The PRPD is failing to protect women and girls from abusive
intimate partners and ex-partners, and the PRPD is not policing those crimes when they are
committed.

Puerto Rico has the highest per capita rate in the world of women over 14 killed by their
partners. The numbers are disturbing, and climbing: 107 women were killed by their
intimate partners in a five-year period from 2007 to 2011. The number of women killed by
their intimate partners jumped significantly in 2011, to 30 women killed, up from 19 in 2010.
In 2006, the PRPD reported 23 murders of women at the hands of their partners or spouses,
placing Puerto Rico first on an international list comparing the number of women killed in
each country/territory by their partners per million women over the age of 14.

Of the women killed by their intimate partners from 1991 to 1999, only 17 percent had orders
of protection, a scant 2 percent had orders of arrest against their murderer, and 4 percent
had expired orders of protection. In 2007, 25 percent of the women killed by their partners
had previously reported incidents of domestic violence to the PRPD. Few women are seeking
protection from their abusive partners, in part because they lack faith in a system that is
failing to provide adequate protection to victims.

In addition, the PRPD is failing to ensure that women confronting domestic violence utilize
the legal options available to them, and it is failing to enforce existing protective orders by
arresting abusers who violate orders that are in place.




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In July 2011, during his confirmation hearing before the committee on Public Safety and
Judicial Affairs, the recently-replaced Superintendent of Police, Díaz Colón, was asked
about deaths from domestic violence that have occurred on the island, and he replied that
domestic violence is a private matter and is outside the purview of the PRPD.

Moreover, the PRPD is not adequately responding to or investigating rape crimes, and it is
significantly underreporting these crimes. The PRPD reported that only 39 forcible rapes
were committed in 2010, while the department also reported 1,000 homicides during the
same year. Based on data from police departments around the U.S., we would expect the
rape statistics to be 100 times the figure reported by the PRPD, as other jurisdictions in the
U.S. report about four times as many rapes than homicides.

The number of reported forcible rapes has declined exponentially; from 426 in 1990 to 39
in 2010. While the reported rape rate has declined sharply in the last ten years, from 228
forcible rapes in 2000 to 39 in 2010, the murder rate has seen a sharp increase during the
same time period, indicating that reduced crime is not the cause of the recent suspiciously
low rape statistics.

The remarkable data spread between reported forcible rape and murder is the result of
the PRPD’s failure to follow protocols to respond to, record, or investigate crimes of rape.
Official sources estimate that, in the case of sexual violence, only about 16 percent of rapes
are reported. In their latest study, issued in 2007, the Puerto Rico Department of Health’s
Center for Assistance to Rape Victims estimated that 18,000 people in Puerto Rico, mostly
women and girls, are victims of sexual violence each year.


Total Impunity: Failure to Investigate or Punish Police Brutality

There are numerous contributing factors that are responsible for these deeply-rooted,
wide-ranging, and long-standing human rights abuses—abuses which are both preventable
and predictable. Our research has found that the investigatory, disciplinary, and reporting
systems in place utterly fail to address, and therefore prevent, police abuses. In particular,
we have documented the failure of the following systems: the disciplinary and other
accountability systems, which fail to meaningfully punish officers for misconduct; the
investigatory system, which fails to effectively examine use of force and allegations of police
misconduct; and the reporting system, which fails to collect and track data that could be
used to correct these grave issues.

These systems virtually guarantee impunity: instead of deterring abuses by holding
abusive officers accountable, the PRPD allows officers to escape punishment or any other
consequences, rearming them and returning them to active duty, often to repeat their
offenses. Citizen complaints of brutality, lethal force, and excessive force languish for
years without resolution. Abusive officers rarely are administratively punished or criminally
prosecuted. The PRPD fails to track repetitive conduct by officers who violate the law or
have significant records of complaints from the public. The failure to implement effective



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early warning systems to identify abusive officers and flag high-risk officers likely to commit
abuses has resulted in the avoidable loss of numerous lives.

The investigatory, disciplinary, and reporting systems of the PRPD rubber-stamp the use
of force, cover up abuse by its officers, and encourage a code of silence. We documented a
disciplinary system that retains, protects, and even promotes officers who use lethal and
excessive force. It is a disciplinary system that retained an abusive officer even after he was
labeled a “ticking time bomb” by a police psychologist, to see him later execute an unarmed
man in the street; awards medals of valor to officers involved in a deadly shooting of a
mentally ill man even while the official investigation into their use of force was ongoing; and
reinstated an officer who held the local police chief hostage at gunpoint, rearmed him after
he was arrested eight times, and returned him to foot patrol in a housing project where he
shot and killed an unarmed 18-year-old boy.

We also documented an investigatory system that fails to interview witnesses and ignores
eyewitness accounts that contradict the officers’, as in one case in which an investigation of
the fatal shooting of an unarmed man reported only the involved officers’ account of events
and summarily stated that bystanders were interviewed at the scene, “but they said adverse
things about the officers.”


A Lawless Police Force: Lack of Guidance Governing the Use of Force and Lack of
Oversight, Training and Transparency

The ACLU has identified a number of additional problematic PRPD policies and practices
that contribute to the pattern of police abuse, including lack of guidance governing the use
of force; lack of effective oversight, supervision, and training; failure to collect and track data
that could be used to correct these grave issues; and failure to fully implement a standard
trigger weight that meets U.S. national standards.

PRPD officers perform an essential public safety function, and the ACLU recognizes the
important work performed every day by the department’s officers. However, the PRPD
fails to provide even basic guidance to its personnel on how to discharge their duties in
compliance with constitutional and human rights standards. Until January 31, 2012, the
PRPD had no comprehensive policy on the use of force. Such a policy is standard for police
departments across the United States, and is standard policing practice around the world. To
date, the PRPD has not fully implemented the new policy, and it has not yet trained all of its
personnel in the policy.

The PRPD continues to lack standard protocols governing the use of force that officers are
authorized to use, including guidance on the use of chemical agents, impact weapons, and
“less-lethal” ammunition such as rubber bullets or sting ball grenades. The PRPD also lacks
any protocols on policing protests and large-scale demonstrations, interactions with people
with mental illness, and handling complaints of domestic and sexual violence.




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Existing PRPD policies fall short of constitutional legal standards and U.S. police practices.
For example, PRPD policies on the use of firearms, Tasers, and batons do not incorporate
current legal requirements governing officers’ use of force, do not emphasize alternatives to
physical force, and do not require the use of measures to avoid or minimize the use of force.
The existing policies fail to establish a clear protocol on the levels of force that are permitted
in response to different levels of resistance from suspects. The existing policies also fail
to provide any guidance on types of force other than firearms that may constitute lethal or
deadly force, such as chokeholds, carotid holds, and strikes to the head with batons or other
impact weapons. The existing policies do not even acknowledge that such types of force can
be lethal, a serious omission. In addition, the PRPD’s orders regulating police practices are
not easily comprehensible or accessible to officers, who are not provided with copies of the
policies.

Officers also receive patently inadequate training, insufficient supervision, and minimal
guidance on the legal boundaries of their use of force and other conduct. The PRPD fails to
enforce even the protocols and laws in place to regulate officers’ conduct. Moreover, there
is minimal public oversight and transparency of the PRPD’s policies and practices, including
no effective independent review.

Until February 2011, the PRPD lacked any standard trigger weight, instead leaving all service
weapons at their factory settings of 5.5 and 6.5 pounds, which are substantially lighter than
the standard trigger weights of U.S. metropolitan police departments such as the NYPD,
which requires a trigger weight of 12 pounds on all service weapons. The PRPD had not paid
any attention to the trigger weights of its service weapons until the September 2010 fatal
shooting of an unarmed 22-year-old witness to a robbery who had remained at the scene to
provide police with a statement. In that case, after the gun of one of five officers at the scene
accidentally discharged, another officer began shooting and fired 10 bullets, one of which
fatally struck the young man in the back of his head.

In February 2011, the Superintendent of the PRPD issued an order setting the standard
trigger weight of all PRPD service weapons at 8.5 pounds. However, the Superintendent
ordered that trigger weight springs on service weapons would be changed gradually, and as
of June 2011, the PRPD still had over 9,000 service weapons in use that had not been altered
to the higher standard trigger weight. Sensitive triggers lead to unintentional shootings
during police interactions with civilians and overfiring in which officers shoot more rounds
than they would with firearms with heavier trigger weights. In the mid-1990s the NYPD
increased the mandatory trigger weight for service weapons from 8 pounds to 12 pounds
in order to minimize unintentional shootings. It is essential that the PRPD modify all of its
service firearms to the 8.5-pound trigger weight at a minimum, and ideally increase its
standard trigger weight to bring it in line with police department policy in cities such as New
York and Los Angeles.




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The Path Ahead

The United States Department of Justice (DOJ) opened an investigation into the PRPD in July
2008, and in September 2011 issued its findings in a scathing report, technically termed a
“findings letter.” The DOJ’s investigation focused on the four-year period from 2004 to 2008,
and was expanded to include police response to protests in 2009 and 2010. The DOJ found
a pattern and practice of constitutional violations by the PRPD, including excessive force in
violation of the Fourth Amendment and unreasonable force and other misconduct designed
to suppress the exercise of First Amendment rights, concluding that the PRPD “is broken
in a number of critical and fundamental respects.”1 The superintendent at the time, Emilio
Díaz Colón, who had been in the post for only three months when the DOJ published its
report, responded by rejecting the DOJ’s findings and denying any constitutional violations
by the PRPD. In a court filing, Puerto Rico’s Justice Department subsequently denounced
the DOJ report as unreliable, flawed, and biased.2 On March 29, 2012 Governor Luis Fortuño
named Héctor Pesquera as Superintendent of the PRPD following Díaz Colón’s resignation.
Pesquera, who is the PRPD’s eighth superintendent in 11 years, told journalists in April 2012
that the PRPD does not violate human rights; when pressed he acknowledged that some
individual officers may do so.3

The PRPD has demonstrated it is both unwilling and unable to police itself, and the political
leadership in Puerto Rico has failed to step into the breach. The PRPD has long promised
reforms and publicly stated its commitment to reforming some of its policies, but for the
most part it has not delivered on these promises. Immediately following the publication of
the DOJ’s investigation findings, Governor Fortuño issued a plan outlining a series of planned
reforms, which are superficial at best, and most of which have not yet been enacted in the
nine months since. To its credit, the PRPD has retained a qualified team of experts to assist
them with formulating new policies, which resulted in the issuance of a new general use of
force policy at the end of January 2012. However, Puerto Rico’s new use of force policy falls
short of constitutional and U.S. national standards and is vague and lacks objective criteria
on the use of lethal force by PRPD officers. In addition, most of Governor Fortuño’s and the
PRPD’s promised reforms have not materialized. Moreover, while the issuance of the new
use of force protocol is a necessary first step, the new policy is meaningless without effective
accountability measures on the use of force and adequate training and enforcement.

Since the new use of force policy went into effect, there have been at least five recent
incidents in April and May 2012 of potentially excessive force by PRPD officers that left
one 19-year-old dead, four young men seriously injured with gunshot wounds inflicted by
officers, and one young man with injuries from a beating he sustained from an officer. These
incidents include a police shooting on April 27, 2012 in the parking lot of a shopping center
in Manatí, in which PRPD officer Alfredo Delgado shot two brothers, killing 19-year-old Saúl
Medina Figueroa and critically wounding 21-year-old Adrián Medina Figueroa. The officer
allegedly stopped the young men’s sister for running a red light outside the taco restaurant
where the siblings worked, after which her unarmed brothers and mother became involved
in a verbal altercation with the officer. The officer reported that he tried to use his nightstick




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on the family, but one of the brothers took his nightstick and hit him with it and the other
brother struck him with a pipe from his car. The officer shot 14 times, fatally shooting Saúl in
the abdomen and leg and critically wounding Adrián with three gunshots, including a shot to
his chest. In another recent incident, on May 7, 2012 in Puerta de Tierra, PRPD officer Juan
Nieves Martínez shot unarmed 21-year-old Jovanny Héctor Núñez Morla, allegedly after the
young man punched him in the face. The officer reportedly had stopped the young man for a
suspected traffic violation and shot the young man twice, in his arm and his right side. Both
incidents raise serious questions about the reasonableness of the force used by the officers.
Following these recent incidents, Superintendent Pesquera made troubling remarks to
the press, seemingly justifying the use of deadly force against unarmed assailants who
assault police officers, in which he stated that, “’Any attack against a police officer has to
be repelled with force, and whatever consequence that occurs is going to be the attacker’s
responsibility.’”4

The PRPD requires an overhaul, not merely reform, and certainly not the empty promises
of reform that the PRPD has offered to date. The PRPD needs to address the structural
issues identified in the ACLU’s and DOJ’s reports, and these wide-ranging reforms should
be supervised by a federal court. While the DOJ’s findings are a critical first step, with no
enforcement mechanism to ensure the PRPD adopts the essential reforms recommended by
the DOJ and the ACLU, there will not be change on the ground and lives will continue to be
lost and destroyed by abusive police officers. In order to stop the ongoing police abuse and
translate planned reforms into real change, a court-enforceable and monitored agreement
between the DOJ and the government of Puerto Rico that includes a comprehensive reform
plan is necessary.

Since 2004, the ACLU of Puerto Rico has been documenting numerous cases of police
brutality in Puerto Rico. Between March and September 2011, the national office of the
ACLU conducted fact-finding human rights research in Puerto Rico to further document
allegations of police brutality. This report is based on a comprehensive six-month
investigation, during which the ACLU conducted interviews in Puerto Rico with government
officials and victims of police brutality or their surviving family members or lawyers in
March, April, May, and September 2011. We focused on incidents over a five-year period
from 2007 through 2011, and have continued monitoring incidents, policies, and practices.
We issued a preliminary report of our research findings in June 2011;5 this expanded report
contains our complete findings based on additional field research and documentation of
ongoing police abuse in Puerto Rico, including excessive force incidents that took place as
recently as May 2012.

The scope of this report does not include several additional categories of police misconduct
that are pervasive within the PRPD and raise serious concern, including unlawful searches
and seizures, racial profiling, and unconstitutional stop-and-frisks. In its report, the
DOJ found that the PRPD engages in a pattern and practice of unconstitutional searches
and seizures, an issue that has long been raised by community activists in Puerto Rico.
Additional categories of police abuse that are not documented here, but that warrant further




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research based on cases documented by the ACLU of Puerto Rico and the news media,
include police abuse against the homeless in urban areas (particularly in Aguadilla, San
Juan, and Bayamón) and police abuse against the LGBT community.

Based on our research, including our findings identifying a number of problematic policies
and practices that contribute to the pattern of police abuse, we have formulated clear
recommendations for much-needed reforms. These reforms will not only help to bring
the PRPD into compliance with the constitutions of the United States and Puerto Rico
and human rights laws, but will also help it to combat the public safety crisis it currently
confronts. Constitutional policing is a central component of public safety. Policing practices
that respect Puerto Ricans’ civil and human rights are critical to achieve public confidence in
the police department, an essential element to improving public safety.

The ACLU makes the following key recommendations. A complete list of recommendations is
set forth at the end of this report.

     Develop, revise, and implement comprehensive policies on the use of lethal and
     less-lethal force and encounters with civilians that meet national, constitutional, and
     human rights standards. This should include policies on the discharge of firearms,
     chemical irritants, carotid holds and chokeholds, pressure point techniques, stinger
     or other “less-lethal” rounds, bean bag guns, canines, batons, use of Tasers and other
     conducted electronic devices, physical restraints, and the unholstering and brandishing
     of firearms. This also should include policies on the treatment of protesters and the
     handling of public demonstrations, as well as the treatment of persons with medical
     conditions, persons with mental illness, and juveniles.

     Develop and fully implement comprehensive procedures for investigating allegations
     of police abuse and other civilian complaints. This should include procedures
     requiring that investigators identify, interview, and record statements from all involved
     officers and eyewitnesses. This should also include protocols on the intake of civilian
     complaints to ensure that all civilians wishing to report instances of abusive conduct by
     officers are able to do so.

     Create and fully implement reporting systems adequate to document all uses of
     force by the PRPD, as is standard in mainland U.S. metropolitan police departments.
     Develop and fully implement a use of force reporting policy that includes detailed
     protocols for officer-involved shooting reporting and the preparing and filing of field
     incident reports. Develop and fully implement a policy for reviewing use of force and
     critical incident reports.

     Create and implement fair and expeditious disciplinary procedures to impose
     effective disciplinary sanctions on officers when they fail to follow protocols, including
     disarming officers, removing police officers from duty, and permanently suspending
     them when called for. Reform the internal disciplinary system to periodically review
     officers’ disciplinary files to flag repetitive conduct and assess risk of future unlawful
     conduct.



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  Effectively implement policies by training PRPD officers to follow all applicable policies
  and laws on the use of force, and provide adequate supervision to be sure that use of
  force policies are followed.

  Take measures to address the grave problems with policing of domestic and sexual
  violence. Such measures should include adoption of clear and improved policies on law
  enforcement response, investigation and evidence collection, classification of offenses
  and charging decisions, training of officers, oversight and accountability for police
  misconduct relating to domestic or sexual violence, and response to officer-committed
  domestic or sexual violence.

  Gather and publicly report statistics on the use of force by the PRPD, internal
  investigations initiated and completed, and disciplinary measures taken against police
  officers.
	The legislature of Puerto Rico should create an effective and independent oversight
 body to monitor the PRPD’s compliance with all applicable laws. The oversight body
 should be fully empowered and adequately funded to discharge its mandate, and it
 should be fully independent of the PRPD and the office of the Governor of Puerto Rico.

  The DOJ should enter into a court-enforceable and court-monitored agreement with
  the PRPD. The agreement should include a detailed and court-enforceable plan for
  comprehensive reforms that addresses all of the findings and the recommendations
  contained in the DOJ findings letter and this report.




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     The Puerto Rico Police Department is the second-largest
     police department in the United States. It has been plagued
     by pervasive corruption, domestic violence, and other crime
     within the police force. The high incidence of criminal
     conduct among the PRPD’s ranks is symptomatic of a larger
     institutional dysfunction of the police department’s policing
     and disciplinary systems.




Riot Squad officers in formation while protesting students march on the University of Puerto Rico campus
during the December 2010 student strike. Photo Credit: Andre Kang / Primera Hora (2010)




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II. Background: The Puerto Rico Police Department


The PRPD is the second-largest police department in the country, second only to the New
York City Police Department (NYPD). The PRPD’s over 17,000 police officers police the
island’s approximately 3.7 million residents. With about 4.6 PRPD officers for every 1,000
residents, the ratio of active PRPD officers to residents in Puerto Rico is more than twice
the U.S. national average for police departments policing populations of 250,000 or more.6
The PRPD is divided into 13 police regions: Aguadilla, Aibonito, Arecibo, Bayamón, Caguas,
Carolina, Fajardo, Guayama, Humacao, Mayagüez, Ponce, San Juan, and Utuado.7 Various
tactical units are represented in each region by a division of the unit. There are 80 precincts
island-wide.8

The Governor of Puerto Rico has ultimate authority over the PRPD; he appoints a
Superintendent to administer the PRPD, subject to confirmation by the Puerto Rico Senate.
The Governor approves appointments to senior positions in the PRPD, from inspectors to
colonels.

The PRPD has seen a rotating roster of superintendents over the past decade, with the
police force led by eight different superintendents in 11 years. On March 29, 2012 Governor
Luis Fortuño named Héctor Pesquera as Superintendent of the PRPD following the
resignation of Emilio Díaz Colón. Superintendent Pesquera, who was confirmed to the post
on April 9, 2012, is on extended temporary leave from his position as Assistant Director of
Security for the Port of Miami, and previously worked for the FBI for 27 years, including as
chief of the FBI Miami field office and Special-Agent-in-Charge of the FBI office in Puerto
Rico. Díaz Colón, former Adjutant General of the Puerto Rico National Guard, served as
Superintendent for less than nine months following his appointment on July 6, 2011. Díaz
Colón replaced Superintendent José Figueroa Sancha, a former Assistant Special-Agent-
in-Charge of the FBI’s San Juan Division, who resigned on July 2, 2011. Figueroa Sancha
was preceded by Pedro Toledo Dávila, who served as Superintendent from 1993 to 2001, and
again from 2005 to 2009 following four different Superintendents who served from 2001 to
2005.

The PRPD, originally known as the Insular Police, was created less than a year after the
United States invaded Puerto Rico and took possession of the island as a U.S. territory
at the conclusion of the Spanish-American War in 1898. The Insular Police was officially
created on February 21, 1899, under the command of Colonel Frank Thacher, a U.S. Marine
officer during the Spanish-American War. The police department served as a tool to assert
U.S. colonial power, and during the first decades after its creation, its police chiefs were
Americans appointed by the colonial governors.

Historically, the police department has been implicated in violence and other actions to
suppress dissent. In 1935, the Insular Police killed nearly two dozen nationalists in two




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      incidents known as the Ponce Massacre and the Río Piedras Massacre.9 In 1978, the police
      intelligence division ambushed and killed two young pro-independence activists on a hilltop
      in Cerro Maravilla. In 1987, it was confirmed that for three decades, the police intelligence
      division had kept dossiers on at least 135,000 independence supporters; these files,
      known as carpetas, revealed a systematic pattern of surveillance and harassment of pro-
      independence groups and suspected supporters of Puerto Rican independence from U.S.
      rule.

      The PRPD has long been known for its abusive tactics against independence supporters,
      labor unions, university students, anti-military and environmental activists, and residents of
      housing projects. The Civil Rights Commission of the Commonwealth of Puerto Rico issued a
      special report in 1967 regarding civil rights violations by the PRPD, in which it concluded that
      police violence was common in Puerto Rico.10

                                             In recent years, the PRPD has been plagued by
More Puerto Rico Police                      pervasive corruption, domestic violence, and other
                                             crime within the police force. According to the DOJ,
Department officers are                      more PRPD officers are involved in criminal activity
involved in criminal activity                than in any other major law enforcement agency in the
                                             United States.11 The high incidence of criminal conduct
than in any other major law                  among the PRPD’s ranks is symptomatic of a larger
                                             institutional dysfunction of the police department’s
enforcement agency in the                    policing and disciplinary systems. Over a five-year
United States.                               period from 2005 to 2010, over 1,700 police officers
                                             were arrested for criminal activity including assault,
                                             theft, domestic violence, drug trafficking, and murder.12
     This figure amounts to 10 percent of the police force, or one arrest of a police officer every
     30 hours. According to the DOJ, these arrest rates are significantly higher than comparable
     jurisdictions in the United States.13 For example, the number of PRPD officers arrested
     between 2005 and 2010 is nearly three times the number of NYPD officers arrested in a
     comparable five-year period (the NYPD reported arrests of only 607 officers between 2001
     and 2006), of a police force about twice the size of the PRPD.14

      In October 2010, the FBI arrested 61 PRPD officers as part of the largest police corruption
      operation in FBI history, and additional PRPD officers have since been arrested by the
      FBI. Officers have been convicted of numerous drug and firearm violations. For example,
      nearly a dozen officers of the Mayagüez Drug Division were convicted of planting drugs
      and fabricating drug-related charges against residents of a housing project in 2008. The
      convictions have prompted the review of hundreds of convictions, and it is believed that over
      100 people are still incarcerated and serving sentences as a result of these fabricated cases.

      Moreover, the PRPD has recorded an appalling number of complaints of domestic violence
      by PRPD officers. The PRPD recorded nearly 1,500 domestic violence complaints against
      police officers from 2005 to 2010.15 The actual number of crimes of domestic violence
      committed by officers is likely significantly higher due to underreporting, because survivors



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are unlikely to file and pursue complaints with the same police department that employs
their abusive partner or ex-partner. At least 84 still-active officers have been arrested two
or more times for domestic violence.16 Recently there have been multiple highly publicized
cases in which PRPD officers shot their wives with their service firearms, in some cases
killing their spouses.

The PRPD currently confronts a public safety crisis that includes skyrocketing crime and
a record-breaking murder rate.17 With 1,130 murders in 2011—nearly three violent deaths
per day—the number of murders in 2011 was the highest in Puerto Rico’s history, while the
previous year saw the second-highest number of murders in Puerto Rico’s history. With 22.5
murders per 100,000 people in 2009, Puerto Rico’s murder rate was higher than each of the
50 states, and nearly double the rate of the next highest, the state of Louisiana.18 Based on
the 2010 statistics, Puerto Rico ranks 19th in the world based on the number of murders per
100,000 inhabitants.19

Reducing violent crime represents a daunting and at times dangerous challenge for the
PRPD. Too often, rather than curbing the violence, the PRPD instead contributes to it
through the unwarranted and unjustified use of lethal and excessive force.

Following a series of widely reported police killings over a period of months in 2007 and
sustained public outcry from affected communities and advocates, including the ACLU
of Puerto Rico, condemning the pervasive police violence in Puerto Rico, the Civil Rights
Division of the United States DOJ opened an investigation into the PRPD in July 2008. In
September 2011, the DOJ issued its findings in a scathing report, technically termed a
“findings letter.” The DOJ found a pattern and practice of constitutional violations by the
PRPD, including excessive force in violation of the Fourth Amendment and unreasonable
force and other misconduct designed to suppress the exercise of protected First Amendment
rights, concluding that the PRPD “is broken in a number of critical and fundamental
respects.”20

The superintendent at the time, Díaz Colón, who had been in the post for only three months
when the DOJ published its report, responded by rejecting the DOJ’s findings and denying
any constitutional violations by the PRPD. In a court filing, Puerto Rico’s Justice Department
subsequently denounced the DOJ report as unreliable, flawed, and biased.21 Superintendent
Pesquera told journalists in April 2012 that the PRPD does not violate human rights; when
pressed he acknowledged that some individual officers may do so.22

Immediately following the publication of the DOJ’s investigation findings, Governor Fortuño
issued a plan outlining a series of planned reforms, which are superficial at best, and
most of which have not yet been enacted in the nine months since. To its credit, the PRPD
has retained a qualified team of experts to assist them with formulating new policies,
which resulted in the issuance of a new general use of force policy at the end of January
2012. However, Puerto Rico’s new use of force policy falls short of constitutional and U.S.
national standards and has been criticized by civil rights and human rights advocates and
policing experts as vague and lacking objective criteria on the use of lethal force by PRPD



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officers. In addition, most of Governor Fortuño’s and the PRPD’s promised reforms have not
materialized. Moreover, while the issuance of the new use of force protocol is a positive first
step, without effective accountability measures on the use of force, the issuance of the new
policy does not guarantee that officers will follow it or that officers will be held accountable
when constitutional and human rights violations occur.

If the PRPD is serious about instituting reforms, it faces a significant budgetary challenge, as
the PRPD currently devotes the lion’s share of its resources to the salaries of officers rather
than to the systems required to ensure those officers obey the law. Former Superintendent
José Figueroa Sancha told the ACLU that 93 percent of the PRPD’s $700 million annual
budget is dedicated to wages and salary, with only seven percent of its budget allocated for
all other operations including equipment, technology, and training.23 This budget allocation
leaves a small fraction of the force’s annual budget available to fund much-needed reforms
such as training on protocols governing the use of force and computer technology to record
civilian complaints and track repetitive conduct by abusive officers. The ratio of active PRPD
officers to residents in Puerto Rico is more than twice the U.S. national average, suggesting
that the department may be devoting a disproportionate amount of its resources to hiring
and maintaining a too-large police force rather than putting money into much-needed
reforms. One policing expert who analyzed the PRPD suggested that the department could
effectively function with 13,000 officers instead of the 17,000 officers they currently employ.24

Recent years have seen the increasing federalization of the PRPD. Shortly after the
publication of the DOJ’s report, on September 20, 2011 Governor Fortuño announced a
cooperation agreement between the PRPD, Puerto Rico Department of Justice (PRDOJ),
and federal law enforcement agencies including the FBI and Bureau of Alcohol, Tobacco,
Firearms and Explosives (ATF) expanding the categories of crimes over which federal law
enforcement has jurisdiction. The agreement also included the creation of a joint state and
federal Illegal Firearms and Violent Crimes Strike Force. The cooperation agreement was
widely viewed in Puerto Rico to be part of a recent trend of federalization of the PRPD. One
aspect of the federalization of the PRPD has been the appointment of former FBI officials to
the position of Superintendent; in 14 of the last 18 years, the PRPD has been run by a former
FBI official.

The September agreement implemented a February 2010 Memorandum of Understanding
(MOU) between the PRPD, PRDOJ, and DOJ granting federal law enforcement agencies and
the U.S. Attorney’s Office primary prosecutorial and investigatory jurisdiction over certain
categories of cases of possession or trafficking of controlled substances at points of entry to
the island, carjacking theft of motor vehicles, bank robberies utilizing a firearm or resulting
in death or serious bodily harm, and interference with interstate commerce by robbery or
extortion of over $50,000.25 The MOU also significantly expanded federal jurisdiction over
firearms and weapons cases, granting federal authorities primary jurisdiction over cases
involving any drug trafficking crime or drive-by shooting resulting in death, as well as any
cases when the defendant is a convicted felon or known member of a gang or terrorist
group; when the offense involved an illegally obtained firearm, semiautomatic assault




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weapon, or firearm modified to operate differently than designed (i.e., machine guns or
silencers); and when the offense involved the transporting or receiving of seven or more
firearms.26 The MOU updated and superseded a previous agreement signed in 1993.

Many in Puerto Rico have objected to the recent federalization of the PRPD, pointing to
abuses committed by the FBI in Puerto Rico, including the 2005 extrajudicial killing of
Filiberto Ojeda Ríos, leader of the militant pro-independence group Los Macheteros; and the
February 2006 pepper-spraying and beating of more than 20 journalists trying to cover a
high-profile FBI raid on the home of Liliana Laboy, a prominent political activist associated
with the movement for Puerto Rican independence.27 Prior to becoming Superintendent of
the PRPD, during his career with the FBI José Figueroa Sancha participated in the Filiberto
Ojeda Ríos operation and directed the operation outside Liliana Laboy’s apartment building
(because of the use of pepper spray on the journalists, the operation, known in Puerto Rico
as 444 De Diego, earned him the nickname “Pepper”).




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     Puerto Rico Police Department officers have fatally shot, beaten, or
     Tasered unarmed men, teenagers, the mentally ill, individuals who
     posed no threat to officers or bystanders, and individuals who could
     have been restrained with less force. Police killed at least 21 people
     in 2010 and 2011, including an unarmed boy as young as 14 and a
     man as old as 77.




The funeral of Luis Alberto Santos Figueroa, a 14-year-old fatally shot in the back of the head by Drug Division
officers about two blocks from his home. Photo Credit: Nelson Reyes Faría / Primera Hora (2011)




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III. Shooting to Kill: Unjustified Use of Lethal Force


A series of widely reported police killings over a nine-month period in 2007, one of which
was captured on film, brought to light the ongoing but partially hidden problem of PRPD
officers’ unjustified use of lethal force. Unfortunately, PRPD officers continue to use lethal
force against unarmed civilians28 or civilians who do not pose a risk to the life of an officer
or other civilian, and against civilians who could have been restrained through non-lethal
means.

According to statistics provided by the Puerto Rico
Department of Justice (PRDOJ), PRPD officers killed 21                 Puerto Rico Police
people in 2010 and 2011. The PRDOJ reported that PRPD
officers killed 27 people from 2009 to 2011; more than double          Department officers
the number the PRDOJ recorded in the four previous years,              killed 21 people in 2010
from 2005 to 2008.29 According to statistics provided by the
Special Investigations Bureau of the PRDOJ, officers shot              and 2011.
and killed 12 people in 2010 alone.30

The ACLU documented 28 cases in which PRPD officers are reported to have killed
civilians between 2007 and 2011 (this figure includes shooting deaths, as well as deaths
from beatings, Tasers, and other force). Based on statistics provided by the PRPD, and on
additional cases documented by the ACLU and the DOJ, we have deduced that at a minimum,
PRPD officers killed at least 36 people between 2007 and 2011. Community activists have
pegged the number of civilians killed by police even higher. UPR student researchers
identified 50 people killed by the police between 2006 and 2010, including 17 cases in 2010
alone.31

In a significant number of the cases documented by the ACLU, the facts as reported in
the press or in related criminal or civil litigation suggest that the PRPD’s use of force
was unjustified, avoidable, and/or not necessary to protect the life of an officer or civilian.
In some of the cases, journalists located eyewitnesses who disputed the involved PRPD
officers’ account of events, suggesting that the victims in these cases were actually
unarmed, or had not fired a weapon.

Three of the cases we documented involved the use of lethal force against individuals with
mental illness who perhaps could have been restrained through the use of non-lethal force.
Four of the cases we documented involved the killing of teenagers ranging in age from 14 to
19. Several of the cases include killings by off-duty officers using their service weapons, in
which the off-duty officers were reportedly attempting to effectuate an arrest for presumed
criminal activity. These statistics do not include murders by off-duty officers of their partners
and spouses, an issue that is addressed briefly in section VII of this report, which addresses
the PRPD’s failure to address domestic violence crimes by PRPD officers.




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The most recent police killing documented by the ACLU took place on April 27, 2012 in the
parking lot of a shopping center in Manatí. In that case, PRPD officer Alfredo Delgado shot
two brothers, killing 19-year-old Saúl Medina Figueroa and critically wounding 21-year-old
Adrián Medina Figueroa. The officer allegedly stopped the young men’s sister for running a
red light outside the taco restaurant where the siblings worked, after which her unarmed
brothers and mother became involved in a verbal altercation with the officer.32 The officer
reported that he tried to use his nightstick on the family, but one of the brothers took his
nightstick and hit him with it and the other brother struck him with a pipe from his car.33 The
officer shot 14 times, fatally shooting Saúl in the abdomen and leg and critically wounding
Adrián with three gunshots, including a shot to his chest.34 The brothers’ sister has disputed
the officer’s account that he acted in self-defense.35 The incident raises serious questions
about the reasonableness of the force used by the officer, and the circumstances as reported
in the press suggest that the officer’s use of deadly force could have been avoided.


Table 1: Civilians Killed by the PRPD, Cases Documented by the ACLU, 2007-2011

                                 2007    2008     2009     2010     2011           Total
 Cases documented by
                                  5          7        4        7        5           28
 the ACLU



Table 2: Civilians Killed by the PRPD, 2005-2011

 Category of Cases               2005   2006     2007     2008     2009     2010   2011    Total
 Cases of civilians shot
 and killed by the PRPD,
 as reported by the PRDOJ         3      2        6        1        3        12    N/A      27
 Special Investigations
 Bureau36
 Additional cases of civilians
 shot and killed by the PRPD,     0      0        2        4        1        0     N/A      7
 documented by the DOJ37
 Additional cases of civilians
 killed by the PRPD,             N/A    N/A       0        2        0        0      5       7
 documented by the ACLU38
 Total                            3      2        8        7        4       12      5       41




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The mother of José Alberto Vega Jorge (inset), the unarmed 22-year-old witness to a robbery at a Burger King
who was fatally shot by police. He had remained at the scene to provide police with a statement and after the gun
of one of five officers at the scene accidentally discharged, another officer began shooting and fired 10 bullets,
one of which fatally struck the young man in the back of his head. Photo Credit: Teresa Canino Rivera / Primera
Hora (2010)



a. Reported Killings of Civilians by the PRPD between 2007 and 2011

The following chart details the circumstances of 28 police killings of civilians between
2007 and 2011. Information in some of the following cases is based on publically available
information and news media reports; there are not yet final adjudications of guilt or
innocence in a number of these cases, and in some of these cases criminal and/or civil
litigation is pending. The ACLU is presenting these cases not to accuse or assign guilt to
particular officers, but rather to describe the types of abuses reported by civilians and the
barriers to fully investigate these allegations and hold officers accountable for unjustified
killings. These cases raise serious questions about the lack of transparent, independent,
and accountable mechanisms to investigate police officers who use deadly force.

Because it is difficult to obtain case information except where there was a public scandal or
related litigation, this research relies heavily on cases that have been exposed by local news
media. For each of these cases that emerged in newspaper headlines, there are doubtless
many others. In cases that have not attracted public attention or become scandals in the
media, disciplinary action and criminal prosecution is even less common.

This chart includes two cases of killings by municipal police officers. While these officers
are not officially a part of the PRPD, they are trained with PRPD officers at the University
College of Criminal Justice of Puerto Rico (Puerto Rico’s police academy), and their alleged
crimes are subject to the same investigatory procedure. These two cases are included here
because the municipal police departments of Puerto Rico are plagued by the same problems
of inadequate guidance on their officers’ use of force, impunity for abuses, and inadequate
training that are systemic in the PRPD.


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Table 3: Reported Killings of Civilians by Police, 2007-2011

Reported Victim   Age Date            Description of Incident

Luis Alberto       14   December 9,   An officer assigned to the Drug Division of Vega Baja shot
“Beto” Santos           2011          14-year-old Santos Figueroa in the back of the head about two
Figueroa                              blocks from his home. According to the PRPD’s account of the
                                      incident, approximately seven police agents were conducting an
                                      operation at a suspected drug point in the Brisas de Tortuguero
                                      neighborhood when the boy began to run away and pointed a gun
                                      at them. Drug Division agent Iván Robles Varela shot the ninth-
                                      grade student in the back of the head. Police reported that they
                                      recovered a firearm and drugs on or near Santos Figueroa’s body.
                                      The boy’s family disputed the agents’ account of the incident,
                                      alleging that officer Robles Varela emerged from an unmarked
                                      car dressed in civilian clothing and carrying a gun, and shot the
                                      boy while he ran away in fear as neighbors shouted at the agent
                                      not to shoot. They also maintain that the boy did not possess a
                                      firearm and was not involved with drugs. Santos Figueroa was
                                      pronounced brain dead before dying of his injuries. Following the
                                      opening of an investigation by the Criminal Investigation Corps
                                      (CIC) of the PRPD, the Special Investigations Bureau (NIE) of the
                                      Puerto Rico Department of Justice assumed jurisdiction over the
                                      investigation into the incident. The ACLU was unable to obtain any
                                      further information about the status of the investigation.39



John Doe          30s December 4,     Off-duty PRPD officer Orlando Abreu Flores shot and killed a
                      2011            man whom he said tried to rob the sandwich truck he operated
                                      on Avenida Luis Muñoz Marín in Caguas. Officer Abreu Flores
                                      used his service weapon, shooting the alleged assailant multiple
                                      times on various parts of his body. Officer Abreu Flores reported
                                      that the presumed assailant was armed and shot at him after
                                      he identified himself as a police officer. Five bullet casings were
                                      reportedly found at the scene, all belonging to a .40-caliber
                                      firearm consistent with the officer’s service weapon.40 Press
                                      reports have not disclosed the victim’s name.




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Jaime Amell      24   November    Municipal police officer Roberto Rodríguez Rodríguez shot
Ilaraza Ruíz41        13, 2011    the 24-year-old motorcyclist in the back, killing him, after
                                  pursuing him when he failed to comply with an order to stop.
                                  Rodríguez Rodríguez and another Guaynabo municipal police
                                  officer had attempted to stop Ilaraza Ruíz for speeding, and
                                  based on bullet casings recovered from the scene, it appears
                                  that Officer Rodríguez Rodríguez fired three bullets at Ilaraza
                                  Ruíz. The officers claimed Ilaraza Ruíz was armed and shot at
                                  them three times while driving away on his motorcycle, but the
                                  victim’s girlfriend, Jamelyn González, who was on the motorcycle
                                  with him and witnessed the shooting, reported that he was
                                  unarmed and did nothing to provoke the officers. González told
                                  journalists that she had dropped her helmet on the road and
                                  after they stopped and dismounted, police suddenly started
                                  shooting without provocation. She said they did not hear any
                                  order to stop and did not realize they were being pursued by the
                                  police. According to press reports, no evidence the young man
                                  was armed ever came to light, and all of the weapons and bullet
                                  casings recovered at the scene belonged to the police officers.
                                  Police later publicly claimed that the reason they did not recover
                                  Ilaraza Ruíz’s gun is because it was stolen from the scene. The
                                  municipal police of Guaynabo declined to investigate the killing.
                                  The NIE reportedly opened an investigation into the incident. The
                                  ACLU was unable to obtain any further information about the
                                  status of the investigation.42

Alexander Roja   27   September   Off-duty PRPD officer Oscar Cortés Santiago, assigned to the
Rivera                13, 2011    Domestic Violence Division of Caguas, shot and killed a young
                                  man, presumed to be one of two men who attempted to rob a
                                  Pepe Gangas store in Caguas. According to the officer, he ordered
                                  the young men to stop, and pursued Roja Rivera when he did
                                  not obey his order. According to news reports, Officer Cortés
                                  Santiago, who pursued Roja Rivera on foot, alleges that he shot
                                  Roja Rivera with his service weapon after the hammer of Roja
                                  Rivera’s gun jammed. Roja Rivera reportedly died instantly.43



Rafael Estrada   42   March 9,    An off-duty PRPD officer shot Estrada Berrios three times with
Berrios               2011        his service revolver after Estrada Berrios reportedly tried to rob a
                                  pharmacy in Guaynabo with a toy gun.44




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George Edil Vega   32   September   Vega Mangual, a FURA officer assigned to the Maritime Unit in
Mangual                 30, 2010    Fajardo, was shot by a fellow police officer. The officer fatally shot
                                    Vega Mangual in the back with his Glock service revolver. The
                                    officer claimed afterwards that the incident was an accident, and
                                    that he had pulled out his gun when Vega Mangual asked him
                                    to hand over a tool known as a pistola de tiempo while the two
                                    were doing mechanic work together on a car outside a residence
                                    in Luquillo. Eyewitness accounts reportedly contradicted the
                                    shooting officer’s account. News reports indicate that the officer
                                    had repeatedly been disarmed in the past because of multiple
                                    violations, but had been rearmed with a service firearm following
                                    a psychiatric evaluation. The officer was subsequently charged
                                    with second-degree murder, and convicted of fourth-degree
                                    negligent homicide.45



William Malaret    77   September   The elderly Malaret Pagán was shot when Drug Division officers
Pagán                   29, 2010    entered his house in Ponce to serve and execute a search warrant
                                    to look for drugs. When a knock on the family’s door at 6:15
                                    a.m. was not answered, police entered the home with force and
                                    Malaret Pagán reportedly shot at them once. Police then shot
                                    back at the elderly man four times, hitting him in the face and
                                    chest. After searching the home, no drugs were found. Neighbors
                                    suggested that the police confused Malaret Pagán’s house with
                                    the house next door, where neighbors believed a drug dealer
                                    lived. Local press reported that the confidential information
                                    that led to the issuing of the warrant indicates a “large” man,
                                    in his late 30s, was using the residence to sell illegal narcotics,
                                    a description that does not match the 77-year-old elderly man.
                                    The police had executed a search at a neighboring home before
                                    entering Malaret Pagán’s. According to that neighbor, the police
                                    had not presented him with a search warrant prior to searching
                                    his home, and when questioned about Malaret Pagán’s house,
                                    he had explained that an elderly man lived there and it was not a
                                    drug point.46


José Alberto       22   September   PRPD officer Abimalet Natal Rosado shot the unarmed 22-year-
Vega Jorge              25, 2010    old bystander in the back of his head. As the witness to a robbery
                                    at a Burger King in Altamira, Vega Jorge had remained at the
                                    scene to provide police with information and was not a suspect.
                                    Natal Rosado, one of five officers at the scene, reportedly
                                    began shooting after hearing another officer’s gun accidentally
                                    fire. According to a forensic ballistics expert, Officer Natal
                                    Rosado fired 10 bullets, one of which struck Vega Jorge in the
                                    head. Police at the scene did not call an ambulance to provide
                                    emergency medical services. Vega Jorge was brought to a
                                    hospital over an hour after the shooting; ambulance response
                                    time in the area would have been under 10 minutes. Natal
                                    Rosado, a rookie officer who reportedly had been on active
                                    duty for only a month following 8-10 months of training in the
                                    police academy according to the then-Superintendent, was
                                    subsequently charged with second-degree murder.47



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Jirón Suero        19   August 21,      Three agents of the Special Operations Division of San Juan shot
Pinales                 2010            and killed the teenage Dominican immigrant. The agents were
                                        responding to an early-morning shooting during a party at El
                                        Coquí, a cafeteria/bar in Río Piedras. Suero Pinales was leaving
                                        the establishment and heading towards a bus stop when police
                                        arrived and ordered him to stop. According to the police officers,
                                        the teenager pointed a gun at them, and they fired at him. Four
                                        civilians were wounded from the gunfire inside El Coquí, one of
                                        whom suffered a punctured lung and was in critical condition
                                        after the incident. Over 20 bullet casings were recovered inside
                                        the cafeteria/bar, and a revolver and a pistol were reportedly
                                        recovered on the street outside.48

Luis Mártir        36   July 30, 2010   Two Carolina municipal police officers responded to a call from
Chévere49                               Mártir Chévere’s daughter, who requested their assistance
                                        with her mentally ill father, who she said was threatening her
                                        and her mother. When police arrived at the family’s home, the
                                        schizophrenic man wielded two machetes, demanding that they
                                        leave. The family reportedly told the officers that Mártir Chévere
                                        was schizophrenic and begged them not to hurt him. According
                                        to press reports, when Mártir Chévere hit the officers’ patrol car
                                        with a machete, the officers exited their vehicle and he then cut
                                        one of the officers on her arm and head. Both officers responded
                                        by firing their firearms simultaneously, fatally striking Mártir
                                        Chévere seven times in front of his family. Martír Chévere’s
                                        sister, Wanda Mártir, criticized the police’s actions in a letter to
                                        the newspaper Primera Hora, challenging why the officers did
                                        not seek reinforcement when they learned that they would have
                                        to intervene with a person with mental illness. She pointed out
                                        that the officers shot her brother in the chest and jaw, but not in
                                        the legs, and asked why they shot to kill rather than immobilize
                                        him. She also questioned why the Carolina municipal police
                                        department did not provide its officers with Tasers for use in
                                        situations when officers have to immobilize people without killing
                                        them. Charges were not brought against the officers.50



Michael Martínez   24   May 8, 2010     Martínez Travieso was shot in the back by an officer assigned to
Travieso                                the Drug Division of Humacao. The officer, who was off-duty at
                                        the time, reportedly chased the victim in his pick-up truck and
                                        shot him with his service weapon.51




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Luis L. Pérez      56   March 26,      Pérez Feliciano, a Vietnam Veteran with schizophrenia and
Feliciano               2010           paranoia, was shot multiple times by one of three police officers
                                       responding to a call from his wife, who reportedly sought
                                       assistance getting her husband committed to a psychiatric
                                       institution because she believed he was experiencing a psychotic
                                       break. According to the officers’ account of events, Pérez
                                       Feliciano was armed when they arrived, and a struggle over his
                                       gun ensued, during which Pérez Feliciano discharged his gun,
                                       hitting agent José Romero Quiñones in the forearm. The officer’s
                                       partner, Sergeant Heriberto Acevedo Olavarría, shot at the
                                       victim four times in various parts of his body, killing him. Pérez
                                       Feliciano’s wife and two daughters disputed the police officers’
                                       version of events, which they said was false. According to his
                                       wife, there was no struggle over the gun and both policemen
                                       drew and fired their guns before her husband fired a shot; she
                                       also reported that police disallowed her to approach her husband
                                       and try to calm him. One year after the killing, Romero Quiñones
                                       and Acevedo Olavarría were awarded the Gold Medal of Valor by
                                       Governor Fortuño and then-Superintendent Figueroa Sancha,
                                       although the NIE investigation into their use of lethal force had
                                       not yet concluded.52

Franklin Cáceres   31   October 2009   Cáceres Osorio, an undocumented immigrant from the Dominican
Osorio                                 Republic and father of three, was reported to have fallen from a
                                       second story window to the ground after police entered his home
                                       in Santurce. His family alleges that the police threw him to the
                                       ground after beating him. Police reportedly delayed calling for
                                       emergency medical assistance, and as a result an ambulance
                                       did not arrive until after he had died. Police also reportedly
                                       neglected to call the Homicide Division or the department of
                                       forensics, as is the police practice when dealing with a dead body.
                                       Instead, his family reported that they had to call a funeral home to
                                       have the body removed. No forensic investigation ever took place
                                       at the crime scene. While the autopsy report provided by Puerto
                                       Rican authorities to Cáceres Osorio’s widow claimed his death
                                       was caused by cocaine, an autopsy performed upon repatriation
                                       of his body to the Dominican Republic concluded that the cause
                                       of his death was beating and blunt force trauma. The Dominican
                                       Committee of Civil Rights (Comité Dominicano de Derechos Civiles)
                                       has labeled his death a hate crime. According to the Dominican
                                       Committee of Civil Rights, which conducted an investigation into
                                       the case and worked closely with Cáceres Osorio’s widow, the
                                       organization located a witness not interviewed by police who says
                                       he saw police beat Cáceres Osorio. According to the Dominican
                                       Committee of Civil Rights, there are no records of the incident in
                                       police department files.53

Alvin Delgado      27   December       Delgado Camacho reportedly was killed by Tactical Operations
Camacho                 27, 2009       Division officer Rigollot Colón. Colón shot the 27-year-old 15
                                       times in the billiards hall El Terrible. Colón reportedly continued
                                       to fire at Delgado Camacho after he was already on the floor.
                                       Witnesses reported that the officer did not like something that the
                                       victim said while playing pool.


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Heriberto Marcial   44   August 17,    A PRPD transit officer shot and killed Marcial Hernández after
Hernández                2009          stopping him for a traffic violation in Mayagüez. According to
                                       a Puerto Rico Department of Justice press release, Marcial
                                       Hernández reached for a weapon as he was being handcuffed and
                                       shot at the officer, who shot and killed him. According to press
                                       reports, Marcial Hernández had shot and killed a man in front of a
                                       bakery earlier in the day, but the transit officer who subsequently
                                       shot Marcial Hernández did not know of the earlier incident at the
                                       time he stopped the man for speeding.54

Ramón Luis          23   July 25,      According to the officers involved, two armed and masked
Martínez                 2009          men entered a sports bar in Villalba and announced a robbery.
Rodríguez                              Three armed PRPD officers assigned to various police divisions,
                                       including the Tactical Operations Division (DOT) of San Juan and
                                       the Homicide Division of San Juan, happened to be in the café at
                                       the time. According to the officers, they identified themselves as
                                       police and unholstered their service weapons. The officers say
                                       that Martínez Rodríguez then pointed a gun at one of the officers,
                                       who shot him in his head, chest, and hand. Martínez Rodríguez
                                       did not discharge his weapon, which reportedly was found at the
                                       scene. The other presumed assailant fled, and one of the officers
                                       reportedly shot at him as he was fleeing but did not strike him.55



José Luis           19   November 4,   On election night, in response to noise complaints from neighbors
“Goldo” Irizarry         2008          in the Colinas neighborhood of Yauco, five PRPD officers arrived
Pérez                                  at a party where revelers were celebrating the election results.
                                       Irizarry Pérez attempted to intervene when the police officers
                                       harassed and clubbed his father. According to Irizarry Pérez’s
                                       relatives who witnessed the attack, some of the officers, including
                                       Ángel Torres Quiñones, clubbed the unarmed teenager to death
                                       with a nightstick, beating him repeatedly in his head, face, and
                                       thorax. Also according to Irizarry Pérez’s family, at least one of
                                       the officers allegedly stood by and watched. The teenager was
                                       pronounced dead on arrival at the hospital. The police officers
                                       reportedly claimed that the family was throwing bottles or rocks,
                                       but witnesses present at the party dispute this. According to
                                       Irizarry Pérez’s family, the PRPD refused to identify the officers
                                       involved in the teenager’s killing, and the family only learned the
                                       names of the officers when the NIE and FBI subsequently initiated
                                       an investigation. Also according to the family, the PRPD failed to
                                       provide them with information about the disciplinary status of the
                                       officers involved. Only one of the officers, Ángel Torres Quiñones,
                                       was charged for his role in the killing; he was subsequently
                                       acquitted of second-degree murder. A judge found cause to arrest
                                       another of the officers for presentation of false documents,
                                       because of redactions he allegedly made to the complaints filed
                                       concerning the incident, and the other officers involved were
                                       not charged. Irizarry Pérez’s family filed a civil suit against the
                                       officers in April 2011.56




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Diego Alberto      35   August 31,   Delgado Ferré was shot and killed by police at a gas station in
Delgado Ferré           2008         Saint Just, where he was washing his wife’s car. Two officers
                                     assigned to the Drug Division of Carolina reportedly were
                                     preparing for an anti-drug operation in the area when, according
                                     to them, they saw two suspicious-looking men. According to the
                                     officers, when they approached Delgado Ferré he pulled out a gun,
                                     and they shot and killed him.57

Víctor Manuel      29   August 5,    In Las Piedras, a PRPD officer assigned to the DOT of Humacao
Sanabria                2008         shot and killed Sanabria Martínez, who was suspected of
Martínez                             committing a robbery. PRPD officers reportedly ordered Sanabria
                                     Martínez to stop, but the 29-year-old man fled on foot. One of
                                     the officers reportedly shot him in the back of his head as he ran
                                     away. A senior PRPD officer publicly defended the officers’ actions,
                                     telling the press that “’A person that is going to assault is going
                                     to kill and is going to do whatever. The policeman did his job.’”
                                     The shooting officer was subsequently charged with first-degree
                                     murder.58

Antonio            31   June 29,     PRPD officers in Río Piedras Tasered Rodríguez Bonet, a
Rodríguez Bonet         2008         homeless man, who died as a result of the Tasering. Officers
                                     assigned to the Special Operations Division (DOE) had arrested
                                     Rodríguez Bonet for a suspected robbery, and applied a Taser
                                     to him while taking him into custody. Rodríguez Bonet was
                                     transferred to a jail cell, where he began convulsing and died an
                                     hour-and-a-half later.

Carlos Alberto     41   June 6,      In Bayamón, PRPD officers shot and killed Santiago Berrios, who
Santiago Berríos        2008         was suspected of committing a robbery.

Marcos Montes      38   April 28,    Officers shot and killed Montes Muñiz, who was suspected of
Muñiz                   2008         committing a robbery and reportedly had a blade or similar
                                     knife-like weapon. The officers were responding to a call from a
                                     homeowner in Mayagüez who believed an intruder was trying to
                                     gain access to his home. The officers shot Montes Muñiz in the
                                     heart, killing him.59

Carlos William     55   April 1,     In San Lorenzo, a PRPD officer shot and killed Carrasquillo
Carrasquillo            2008         Rodríguez, who was known to have mental illness. He was
Rodríguez                            reportedly holding a knife. Carrasquillo Rodríguez’s family
                                     had called the authorities, seeking assistance controlling the
                                     schizophrenic man. According to his family, when police arrived
                                     they approached him in the outdoor gated area where he was
                                     sitting, and instead of attempting to calm him, they beat him with
                                     a baton. The family also stated that Carrasquillo Rodríguez did
                                     not pose a threat to public safety when police arrived, as he was
                                     in an enclosed area. Carrasquillo Rodríguez reportedly pulled
                                     out a knife after the beating, and one of the officers shot him 13
                                     times. According to the family, the PRPD never informed them
                                     of the results of the investigation into Carrasquillo Rodríguez’s
                                     killing. Ten months after the killing, a municipal judge in Caguas
                                     found there was no cause to charge the shooting officer with
                                     second-degree murder.60


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Jorge Luis       28   October 4,   PRPD officers shot the unarmed 28-year-old eight times, seven
Polaco Jiménez        2007         in the back while he was in police custody. Polaco had smashed
                                   his car against the building where his ex-girlfriend worked in
                                   Carolina when Drug Division police officers reportedly shot him
                                   once in his front left shoulder and took him into custody. Polaco
                                   was taken away by PRPD officers, ostensibly to get the young man
                                   immediate medical assistance at a hospital located 10 minutes
                                   away. He arrived at the hospital dead-on-arrival one-and-a-half
                                   hours later, with seven bullet wounds to the back in addition
                                   to the single gunshot wound to his front shoulder. Police later
                                   claimed they acted in self-defense, but a private investigator
                                   hired by Polaco’s mother found that he was unarmed and only
                                   had a dollar and his house keys in his pocket. As described in
                                   more detail in the case study below, the police investigation of
                                   Polaco’s killing was perfunctory and wholly inadequate: police did
                                   not interview eyewitnesses to the incident and did not provide a
                                   report of their investigation to Polaco’s mother, who filed multiple
                                   complaints with the PRPD but received no response other than
                                   to be told that the investigation was closed. To date, the officers
                                   have not been charged with a crime or subject to disciplinary
                                   measures for their role in the shooting.61


Luis Andrés      25   August 15,   PRPD officer Adrián Cardoza Cardoza shot and killed Rodríguez
Rodríguez Maya        2007         Maya during the execution of a search warrant in Cabo Rojo.
                                   Police were conducting a raid related to the search for illegal
                                   arms when Rodríguez Maya reportedly resisted the entry of four
                                   PRPD officers who sought to search his home. According to the
                                   officers, Rodríguez Maya fired a shot that hit the ceiling of his
                                   home, and one of the officers responded by shooting Rodríguez
                                   Maya twice, killing him. Witnesses reported that upon their
                                   arrival, the police officers did not identify themselves and did
                                   not knock on the door. An investigation by the NIE found that
                                   Rodríguez Maya fired the first shot, and that he did so under the
                                   influence of cocaine.62


Miguel Cáceres   43   August 11,   On August 11, 2007, Cáceres Cruz, a 43-year-old father of three,
Cruz                  2007         was helping to direct traffic in Humacao as part of a scooter
                                   club that was providing vehicular escort for a party. Tactical
                                   Operations officer Javier Pagán Cruz shot the unarmed man
                                   four times, the fourth to his head when he was face down on the
                                   ground, bleeding from the shots to his arms and chest. The three
                                   involved PRPD officers, their superiors, and the PRPD homicide
                                   investigator attempted to cover-up the murder and claimed that
                                   the officers had acted in self-defense, alleging that Cáceres Cruz
                                   had attempted to grab officer Pagán Cruz’s gun. A video filmed
                                   by a bystander clearly showing the murder was subsequently
                                   released. The case, described in more detail in the case study
                                   below, prompted a massive public outcry and exposed a number
                                   of the long-term problems that have plagued the PRPD.




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Nelson Santiago    21   August 4,      A PRPD officer shot and killed 21-year-old Santiago Rivera,
Rivera                  2007           the son of a PRPD officer, following a fight involving several
                                       civilians at a youth festival in Las Piedras. After supposedly
                                       becoming involved in a scuffle with police, a PRPD officer
                                       reportedly shot him six times when he was lying on the ground.
                                       When Santiago’s father arrived at the scene, police originally
                                       refused to allow him to approach his son, on the grounds that the
                                       area was closed for investigation. Santiago’s father eventually
                                       gained access and found his son bleeding from multiple bullet
                                       wounds, and discovered officers had closed the area without
                                       providing Santiago with medical assistance. Another officer
                                       present, Javier Pagán, who would go on to shoot and kill Miguel
                                       Cáceres Cruz a week later, reportedly told Santiago’s father not
                                       to bother assisting the boy, as there was “’one less criminal on
                                       the streets.’” The shooting was witnessed by Javier Pagán and
                                       another PRPD officer, neither of whom informed their supervisor
                                       or any other government officials of what they had seen.63


Christopher        N/A April 10,       Police stopped Rojas Miranda for speeding in Toa Baja. He
Rojas Miranda          2007            reportedly appeared to be disoriented and hallucinating, and the
                                       officers allegedly beat him before arresting and detaining him.
                                       Rojas Miranda subsequently died in a jail cell. According to news
                                       reports, an independently performed autopsy found that his death
                                       was caused by the beating, not a cocaine overdose as the officers
                                       had alleged.64




Not included in the figures and chart above are cases of lethal force by law enforcement
agents assigned to the Special Investigations Bureau (NIE) of the Puerto Rico Department
of Justice. Like PRPD officers, NIE agents are trained at the University College of Criminal
Justice of Puerto Rico (Puerto Rico’s police academy), and their alleged crimes, including
allegations of unjustified use of lethal force, are subject to investigation by the PRPD. The
July 2011 killing of three young men by a NIE agent raises concerns about the training
provided to NIE agents concerning the boundaries of lawful use of force and the PRPD’s
handling of cases of use of lethal force by agents assigned to the NIE.

On July 17, 2011, Ángel Fontánez Torres, a NIE agent and bodyguard for the Attorney
General of Puerto Rico, shot and killed 24-year-old Jesús Emanuel González Cardona and
brothers Jean Carlos Palomares and Víctor Manuel Palomares, age 25 and 28 respectively.65
Fontánez Torres reportedly shot at the young men 14 times with his service weapon while
he was off-duty; a ballistics examination reportedly determined that the young men’s guns
had not been fired.66 One of the men died of bullet wounds to the head and chest, another
of six bullet wounds on different parts of his body, and the third of four bullet wounds to his
pelvis, back, chest, and shoulder.67 According to the agent’s account of the incident, he was
outside a business in Santurce with his wife when the three armed young men attempted



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to rob them at gunpoint; the agent reported that the young men had taken some of their
possessions when he unholstered and fired his service weapon. According to a neighbor who
told reporters he witnessed the incident, Fontánez Torres shot one of the men in the head
after he was already shot in the chest and lying on the ground, and dragged another of the
men on the ground before shooting him in the neck.68 Family members reported that the
young men had injuries consistent with blows to the face.69 The mother of González Cardona,
who did not die at the scene, told press that she was not notified of the incident until the next
day, and that her son had a black eye, injuries on his nose, and lacerations on his arms and
elbows, consistent with the dragging account.70 The Homicide Division of the CIC conducted
an investigation, which included a reenactment of the shootings but no interviews with
eyewitnesses, and concluded that the agent acted in legitimate self-defense.71 The San Juan
prosecutor’s office declined to bring criminal charges against the agent.72


b. Case Study: Miguel Cáceres Cruz

The police shooting of Miguel Cáceres Cruz exposed a number of the many problems that
have plagued the PRPD for years, and which continue to plague the police department.
Because the shooting was caught on video by a bystander, the involved officers’ cover-up of
the execution-style killing was exposed and the incident provoked a public outcry against
police abuse in Puerto Rico. The tragic killing of Miguel Cáceres clearly demonstrates
several of the institutional failings of the PRPD that contribute to the systemic abuses
committed by its officers. These failings include the failure to effectively investigate incidents
including officers’ lethal use of force, the failure to track repetitive conduct and flag officers
at high risk of committing abuses, the failure to discipline officers who commit abuses, and
the general culture of impunity that pervades the police force.

On August 11, 2007, Cáceres, a 43-year-old father of three, was helping to direct traffic in
Humacao as part of a scooter club that was providing vehicular escort for a quinceañera
party, a Latino rite of passage similar to a sweet sixteen.73 PRPD officers Javier Pagán
Cruz, Carlos Sustache Sustache, and Zulma Díaz de León were driving by, stopped, and
ordered Cáceres to move his motorbike because he was allegedly obstructing traffic.
Tactical Operations officer Pagán exited the police vehicle, put on his bulletproof vest, and
approached Cáceres.74 The two had a verbal exchange, and officer Díaz told Cáceres he was
under arrest. Cáceres walked backwards, with his hands up, and officer Pagán grabbed him,
punched him, and wrestled him to the ground.75 Officer Pagán continued to punch Cáceres,
who was on the ground and tried to protect himself by grabbing onto Pagán’s leg.76 Cáceres
accidentally touched Pagán’s holster as he was trying unsuccessfully to get up, and Pagán
continued to punch him.77 As they struggled, Pagán accidentally shot himself in the leg; he
then unholstered his gun and shot Cáceres at close range.78 A crowd had formed and was
yelling and screaming at the police agents, but officers Sustache and Díaz prevented them
from coming to Cáceres’s aid.79

After the first shot, Cáceres’s body fell to the side. Officer Pagán then fired at Cáceres three
or four more times while the man was lying on the ground, shooting him in the back and the



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     head at very close range.80 The last shot was fired execution-style in the back of his head,
     when Cáceres was lying motionless face-down on the ground and bleeding from the shots
     to his arms and chest.81 The officers left Cáceres bleeding on the sidewalk and drove away
     without notifying central command that a civilian had been shot.82

     Another set of officers later arrived at the scene and found Cáceres dying on the sidewalk;
     they transported him to the hospital, where he was pronounced dead.83 Two eyewitnesses
     to the shooting told one of these officers, Lieutenant Luis Rodríguez, what had happened.
     Lieutenant Rodríguez subsequently prepared a report of what he had been told.84

                                        The three involved PRPD officers, their superiors, and
At the time he shot and                 the PRPD homicide investigator attempted to cover-up
                                        the murder.85 The three involved officers’ initial report
killed Miguel Cáceres,                  claimed that the officers had acted in self-defense, and
                                        that Cáceres had resisted arrest and attempted to grab
officer Pagán was
                                        officer Pagán’s gun.86 In their reports, the line supervisors
the subject of seven                    relied on the account of events provided by the involved
                                        officers.87 A PRPD homicide investigator appointed
disciplinary complaints,                to investigate the killing did not record the names of
five of which remained                  witnesses present at the killing who related a version
                                        of events different than the version told by the involved
unresolved at the time                  officers.88 The PRPD homicide investigator’s preliminary
of the killing and dated                report consisted only of statements from officer Sustache,
                                        officer Díaz, and the single witness who corroborated the
back as far as nine years               involved officers’ account of the incident.89 The homicide
                                        investigator wrote, “Also, various persons at the scene
earlier.
                                        were interviewed, but they said adverse things about the
                                        officers.”90

     However, unbeknownst to the officers, a bystander had surreptitiously filmed the incident
     and released the video, which exposed the PRPD officers’ and supervisors’ cover-up.91 The
     video clearly showed officer Pagán standing over Cáceres and shooting him in the head
     while he was lying face-down, and it was widely disseminated by the media, provoking
     massive public outrage. If there had not been a video, there most likely would have been no
     accountability for Cáceres’s murder.

     On August 14, 2007, Pagán was charged with murder. Pagán was convicted of first-degree
     murder and weapons violations, and was sentenced to 109 years in prison; Sustache and
     Díaz were acquitted on all charges.92 A civil suit filed by Cáceres’s widow, Evelyn Ramírez
     Lluveras, and their three children against the PRPD Superintendent and supervisors was
     dismissed in December 2011 on the ground that their negligent actions did not rise to
     the level of deliberate indifference, while the family’s suit against Pagán was allowed to
     proceed.93 They intend to appeal the decision.

     At the time he shot and killed Cáceres, officer Pagán was the subject of seven disciplinary
     complaints, five of which remained unresolved at the time of the killing and dated back


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as far as nine years earlier.94 These complaints included multiple complaints of assaults
against civilians, a 1999 complaint filed by a supervisor for insubordination, a complaint for
falsifying a police report, and a complaint for refusing to attend to a citizen attempting to file
a complaint.95 Also among the complaints against him was a 1999 complaint for domestic
violence in which Pagán allegedly physically attacked and threatened his intimate partner
with a firearm.96

Pagán’s disciplinary file revealed that he had been assessed by police psychologists as a
“ticking time bomb,” and he had two recommendations of expulsion from two different police
superintendents.97 Notwithstanding his disciplinary history, when the second recommended
expulsion was pending, Pagán was promoted to the Tactical Operations Division of Humacao,
to work in a specialized and elite group within the division, called the Special Response
Team.98 The two expulsion recommendations were lowered to suspensions as a result of
an internal disciplinary hearing by the Commission on Investigations, Processing, and
Appeals (Comisión de Investigación, Procesamiento y Apelación, or CIPA).99 Pagán served
his suspension from the PRPD from August 23, 2006 to October 22, 2006, returning to
work about nine-and-a-half months before killing Cáceres.100 Pagán’s 44-officer unit was
supervised by only two sergeants, one of whom had been on leave for weeks at the time of
Cáceres’s murder.101 When Pagán was finally expelled he had two civilian complaints against
him pending, both of which had been filed eight years earlier.102

Moreover, both officers Pagán and Sustache had witnessed the police killing of a young
man, Nelson Santiago, one week earlier and had not been interviewed about the killing they
witnessed.103 They also were aware that the officers involved in that unjustified killing had
enjoyed complete impunity, and in fact had not even had their service weapons taken after
the killing. In that case, Nelson Santiago, son of a PRPD officer, was shot and killed during
a youth festival in Las Piedras. When Santiago’s father arrived at the scene, police officers
originally refused to allow him to approach his son, on the grounds that the area was closed
for investigation. Santiago’s father eventually gained access and found his son bleeding
from multiple bullet wounds, and discovered officers had closed the area without providing
Santiago with medical assistance. Officer Pagán, who would go on to shoot Cáceres one
week later, reportedly told Santiago’s father not to bother assisting the boy, as there was
‘’one less criminal on the streets.’”104 Niether Pagán nor Sustache informed their supervisor
or any other government officials of what they had witnessed.105


c. Case Study: Jorge Luis Polaco Jiménez

The police killing of Jorge Luis Polaco Jiménez, a 28-year-old Black man extrajudicially
executed by police assigned to the Carolina Division of Drug, Narcotics, and Vice on October
4, 2007, similarly exposes several systemic problems that plague the PRPD: the failure to
adequately investigate police shootings of civilians, the failure to hold responsible officers
accountable for unlawful use of lethal force even in cases where force was obviously
unjustified, and the failure of the PRPD’s internal disciplinary system to flag officers at risk
for abusive conduct.



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A hospital record of Jorge Luis Polaco Jiménez showing the location of his gunshot wounds. PRPD officers shot
the unarmed 28-year-old eight times, seven in the back while he was in police custody. The investigation into
his killing was closed without interviewing witnesses or examining forensic evidence, and the responsible police
officers were never brought to justice. Photo Credit: Courtesy of Ruth Jiménez de Jesús



Polaco had smashed his car against the building where his ex-girlfriend worked on Avenida
Campo Rico in Carolina when Drug Division police shot him once in his front left shoulder
and took him into custody.106 Polaco was taken away by PRPD officers, ostensibly to get the
young man immediate assistance at a hospital located a 10-minute drive away. He arrived
at the hospital dead-on-arrival one-and-a-half hours later, with seven bullet wounds to the
back in addition to the single gunshot wound in his front shoulder.107

Since that day, Polaco’s mother, Ruth Jiménez de Jesús, has been tirelessly seeking both
justice and the truth of what happened to her son. The police investigation of Polaco’s
killing was perfunctory and wholly inadequate: police did not interview eyewitnesses to the
incident and did not provide a report of their investigation to Polaco’s mother.108 Jiménez de
Jesús filed multiple complaints with the PRPD, but received no response other than to be
told that the investigation was closed.109 After perseverance she eventually obtained autopsy
documents, including a drawing indicating the locations of the gunshot wounds on her son’s
body.

Polaco’s mother continued to seek out the details of her son’s killing, and returned to
the scene where her son was initially shot and taken into custody in the hope of finding



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a witness. She told the ACLU, “I went every day, every afternoon, so I could shed some
light on what happened because the investigation was closed.”110 She hired a private
investigator, who found that her son was first shot in his front left shoulder at about 7:00
p.m., shortly after which Jiménez de Jesús received a call from police stating that her son
had been brought to the local police station.111 The investigator located an eyewitness never
interviewed by the PRPD who saw officers shoot her son in the shoulder and subsequently
load him into a patrol car.112

According to the private investigator’s findings, the
other seven gunshot wounds to Polaco’s back were later            “If my son broke the law
inflicted after he had been loaded onto the agents’ patrol
car. Although the Carolina hospital was located only a            he belongs in a jail cell,
10-minute drive from the location where police took Polaco
into custody, police agents delivered Polaco to the hospital
                                                                  not a cemetery.”
one to one-and-a-half hours later, at 8:35 p.m., dead on
arrival.113 Police had claimed they acted in self-defense, but
the private investigator found that Polaco was unarmed and only had a dollar and his house
keys in his pocket; the officers were wearing bulletproof vests and carried firearms.114

The police officers involved in Polaco’s arrest and killing were never subjected to any
disciplinary measures, and the ACLU has documented the involvement of one of the two
involved officers in a recent police beating of 62-year-old Julio Cirino in his home that left
him unconscious and hospitalized for a blood clot in his brain and other injuries. The officer,
Isaac Joel Pizarro Pizarro, was later shot and killed in an unrelated incident in December
2011. The other officer is now reportedly working for U.S. Border Patrol.

Moreover, the ACLU of Puerto Rico recently obtained a memo on PRPD letterhead by a police
psychologist, dated one year before the officer shot Polaco, stating that one of the officers
implicated in Polaco’s shooting should not be rearmed. This suggests that the PRPD failed
to disarm the high-risk officer, a pervasive problem that we documented in other cases, as
detailed in Section VIII of this report.

Jorge Polaco’s mother Ruth told the ACLU, “My wish is that the guilty pay, that those
responsible pay their due, that they end up in jail. If I killed someone, I would be in jail,”
adding, “If my son broke the law he belongs in a jail cell, not a cemetery.”115 She says she is
still seeking justice, and cannot rest until she knows the truth of what happened to her son.
She told the ACLU,

       “I have never had any peace or tranquility. I have continued searching and
       searching to learn what happened to my son that day.… This pain that I have,
       it is so enormous. And my pain and misery is worse because the police never
       did an investigation…. I’ve always wondered where they took him and what
       they did to him during that hour-and-a-half. What I need to know is: what
       happened?”116




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     Puerto Rico Police Department officers assigned to tactical
     units regularly use excessive force while on routine patrols
     and at checkpoints in predominantly low-income, Black, and
     Dominican communities. During encounters with civilians in these
     communities, officers routinely use excessive force or resort to force
     unnecessarily and inappropriately.




Dominican immigrant Joel Félix was brutally beaten by police while he was walking home alone one night. The
officers left him dying on the sidewalk. He required emergency life-saving surgery because of internal bleeding
and organ damage to his spleen and liver caused by the police beating. Photo Credit: ACLU (2011)




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IV. Police Brutality against Low-Income, Black, and
Dominican Communities


PRPD officers assigned to tactical units regularly use excessive force while on routine
patrols and checkpoints in predominantly low-income, Black, and Dominican communities.
During encounters with civilians in these communities, officers routinely use excessive force
or resort to force when it is unnecessary and inappropriate. PRPD officers routinely use
aggressive tactics that disproportionately target racial minorities and the poor. Young men
who live in predominantly low-income, Black or Dominican communities reported to the
ACLU that PRPD officers subject them to constant harassment and intimidation. Instead of
using de-escalation techniques, officers use force as a substitute for community policing.

Police use excessive force including beating with batons, kicking, punching, throwing on the
ground or against walls and objects, chokeholds, and shooting with firearms. In the cases
documented by the ACLU, police inflicted injuries including: a broken jaw, cracked or lost
teeth, bone fractures, internal bleeding, severe contusions, abrasions, lacerations, organ
damage, organ failure, traumatic brain injury, paralysis, brain death, and death. At the time
of officers’ use of force in the cases documented by the ACLU, victims were not resisting
arrest or were already restrained, unarmed, and posed little or no risk of harm to officers or
bystanders. The ACLU documented cases in which police severely beat individuals already
restrained in handcuffs, and in some cases police did not arrest victims after injuring them,
merely leaving them broken and bleeding on the street or in their homes.

Excessive use of force is rampant. According to data provided by the PRPD’s Auxiliary
Superintendency for Professional Responsibility (Superintendencia Auxiliar de
Responsabilidad Profesional, or SARP), which oversees the internal administrative
investigations of PRPD officers, civilians filed at least 1,768 complaints against officers for
excessive or unjustified force and assault from 2004 to August 2010.117 These numbers are
most surely low and do not accurately represent the extent of the problem: as detailed in
Section VIII of this report, the ACLU’s research shows that civilians regularly elect not to
report police abuse because of a lack of faith in the investigatory and disciplinary system;
because of widely-known impunity for police abuse; and because of fear of retribution for
filing complaints of civil rights and human rights violations.

Excessive force is routine among police officers in multiple tactical units of the PRPD.
Based on the ACLU’s research, we have determined that particularly problematic units
include the Tactical Operations Unit (Unidad de Operaciones Tácticas, or UOT), whose work
is carried out by a Tactical Operations Division in each of the 13 police regions (División de
Operaciones Tácticas, or DOT), colloquially known as the Riot Squad (Fuerza de Choque); and
the Drug, Narcotics, Vice, and Illegal Weapons Bureau (Negociado de Drogas, Narcóticos y
Control de Vicios y Armas Ilegales, or NDNV), which is represented in each of the 13 police
regions across the island by a Division of Drug, Narcotics, and Vice (División de Drogas,



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Narcóticos y Control de Vicios), commonly known as the Drug Division (División de Drogas).
Also problematic is the Specialized Tactical Unit (Unidad de Tácticas Especializadas, or UTE),
commonly known as the Group of 100 (Grupo de Cien), an elite unit of officers grouped into
multidisciplinary teams drawn from several different police units including drug, traffic,
stolen vehicles and the UOT, to combat the drug trade in Puerto Rico. Other specialized
tactical units also routinely use extreme force.


a. Excessive Force against Low-Income Communities

PRPD officers assigned to tactical units frequently commit abuses during raids in public
housing projects (caseríos or residenciales públicos) in urban neighborhoods and other
low-income communities. For years low-income community leaders and members have
decried the PRPD’s frequent harassment and intimidation of residents at check-points set
up by PRPD officers in their communities, as well as raids in which PRPD officers ostensibly
searching for weapons and drugs conduct warrantless searches of multiple homes and
verbally threaten residents, in some cases physically attacking residents, destroying their
belongings, or arresting them without cause.

For example, on October 25, 2010, PRPD officers, including officers assigned to the Joint
Rapid Action Force Unit (División de Fuerzas Unidas de Rápida Acción, or FURA), raided the
Villa Esperanza public housing complex in San Juan with police cruisers and helicopters.118
Residents of the public housing complex later reported that PRPD officers verbally
threatened and harassed residents, and arrested some residents without cause. On April
18, 2009, according to residents of the Candelaria public housing project in San Juan,
PRPD officers entered the public housing complex and pushed, hit, and insulted residents
indiscriminately.119 Similarly, residents of the Las Gladiolas public housing complex in San
Juan reported that PRPD officers conducted an abusive drug raid on the complex that did not
yield any arrests, after which they carried out what residents called a police occupation of
the area.120

PRPD officers assigned to the Division of Drug, Narcotics, and Vice frequently commit
abuses during so-called anti-drug operations. In one case documented by the ACLU, Drug
Division officers savagely beat unarmed 28-year-old Mauricio Alejandro Castillo Shaw. On
April 29, 2010, PRPD Drug Division officers pounded on the door of Castillo Shaw’s home,
and when he opened the door, approximately 20 Drug Division officers entered and informed
him they had an order to enter, although they did not show him a warrant at any time.121 The
officers immediately handcuffed him before searching his house. According to Castillo Shaw,
after he was handcuffed with his arms behind his back, four of the officers pushed him
against the wall, threw him against the ground, and hit his face against the ground, breaking
his two front teeth and breaking his jawbone.122 The officers then lifted him by his handcuffed
wrists and began punching him and striking him with batons while he was still handcuffed.123
Castillo Shaw told the ACLU, “They lifted my head, and I could feel that my mouth was full,
and I realized it was full of blood. Blood was running down my face and pouring out of my
mouth.”124



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                                                                          “They lifted my head,
                                                                          and I could feel that
                                                                          my mouth was full,
                                                                          and I realized it was
                                                                          full of blood. Blood
                                                                          was running down
                                                                          my face and pouring
                                                                          out of my mouth.”

Drug Division officers savagely beat unarmed Mauricio Castillo Shaw in his home. After handcuffing him, they
smashed his face against the ground, breaking his jawbone and shattering his two front teeth. They then punched
him and struck him with batons while he was still handcuffed. Photo Credit: ACLU (2011)



The officers then searched the house. Castillo Shaw says that he was subsequently released
without charge or citation, and police did not find any drugs or weapons, but he reports that
police did find a firearm, marijuana, and drug paraphernalia at a home located five houses
away from his.125 That day Drug Division officers arrested 18 people from different residences
in the community. As part of the same operation, Drug Division officers reportedly beat at
least two other young men in their homes in a manner similar to the attack on Castillo Shaw.
Castillo Shaw required emergency medical treatment for his injuries, and he saw these two
men at the hospital being treated for their injuries.126

Castillo Shaw filed a complaint with the PRPD that same day, in which he verbally provided
detailed information about the incident and provided photos taken of his substantial injuries
while he was in the hospital. He did not know the name of the officer who had beaten him,
who had not identified himself. He says that the written complaint prepared by the officer
who attended him did not contain any of the detailed information that he had provided, and
failed to mention that the officers had broken his jawbone. He told the ACLU, “The complaint
didn’t include anything that I said. It just said ‘Report of Incident,’ but it didn’t say how they
broke my face. It simply wasn’t the version of events that I told them.”127 One week later, on
May 7, 2010, PRPD officers entered Castillo Shaw’s home and told him he was under arrest.
He was retroactively charged with two counts of possessing controlled substances and one
count of possessing illegal weapons, based on the operation conducted one week earlier.
He told the ACLU, “I think personally that they brought charges against me because I made
the complaint. The only other people who had charges brought against them were the other
two men who were beaten. They were charged on the same day as me.”128 Castillo Shaw has
heard nothing about the status of his complaint.




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Castillo Shaw believes the criminal case against him may not proceed because the PRPD
officers involved in the operation claim that all videos and photos taken by police during the
operation have been erased. Castillo Shaw told the ACLU, “All the photos of that operation
taken by police have been erased because they prove the police are lying. I am sure there
must be photos of the police beating me.”129

In another incident, on February 23, 2011, police officers conducted an operation in the
community of Sector Miñi-Miñi in Loíza, during which 10 armed PRPD officers entered the
home of 62-year-old Julio Cirino and brutally battered and kicked him in the head and ribs
in front of his daughter, rendering him unconscious.130 The officers claimed to be looking
for weapons and drugs but never presented a warrant to search their home.131 Cirino,
who was unarmed and had merely been talking with a neighbor when police arrived, lost
consciousness as a result of the beating and had to be transported from the scene by
ambulance.132 According to his daughter, he subsequently had to be hospitalized for a blood
clot in his brain and other injuries inflicted by the police officers.133 The ACLU of Puerto Rico
interviewed Cirino’s daughter, who witnessed the incident and says her father did not resist
or struggle with the police in any way.134 Cirino’s daughter initially filed a civilian complaint
with the PRPD denouncing the attack on her father, but the family subsequently decided not
to continue with the complaint.135

More recently, the ACLU of Puerto Rico has documented numerous cases of police abuse in
La Perla, one of Puerto Rico’s oldest and largest low-income communities, built in the World
War II-era in San Juan. In June 2011, PRPD officers conducted an abusive and violent raid
on residents of La Perla. In August 2011, the ACLU of Puerto Rico conducted public hearings
in which community residents denounced assaults, illegal searches, baseless arrests, and
harassment by PRPD officers. La Perla resident Rafael Ortíz told the ACLU, “Nowadays
[the police] break down doors and windows and conduct illegal searches, claiming they
are looking for a suspect.”136 Ortíz reported that after the June 2011 raid, police officers
inspected baby carriages and students’ book bags without warrants or legal authority.137
Tania Amigón, another resident, told the ACLU that on June 24, 2011, several officers
entered the community and clubbed people on the street. She said, “At least five women and
two children were injured then.”138 Amigón added, “I don’t feel any safer when [the police]
are around. As a matter of fact, I feel safer when they are not.”139


b. Excessive Force against Afro-Puerto Rican Communities

The ACLU documented multiple cases of unjustified police violence against residents of
Loíza, a predominantly Afro-Puerto Rican municipality. According to Census statistics
from 2010, the municipality is predominantly Afro-Puerto Rican, with nearly 65 percent of
residents identifying as Black. The municipality also is predominantly low-income, with 67
percent of the population living below the poverty line and a median household income of
$8,962, according to 2006 Census statistics.




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The ACLU interviewed 20-year-old Luis Ayala Rivera, a young Black man living in Villa
Cañona, an Afro-Puerto Rican community in the municipality of Loíza. He witnessed police
assigned to the Tactical Operations Division shoot his unarmed 22-year-old brother, José
Amaury Ayala Rivera, in the head on a Saturday night in September 2010 while the two were
returning home from a party.140 Ayala told the ACLU, “I saw it all. They told him to stop and
he began to run, and they shot at him. The officer fired two shots. The first missed its mark
and the second struck my brother in the head. Then the officers made a barrier and would
not let anyone pass to get to my brother and help him. They said he was dead and wouldn’t
let me approach him, but I could see he was moving and still alive.”141 The brain injuries
Ayala’s brother sustained from the gunshot wound have left him paraplegic and confined to a
wheelchair for the rest of his life.142

According to Ayala, his family filed an administrative complaint
with the PRPD but received no response.143 The family later          “The abuse will repeat
filed a civil lawsuit against the PRPD for monetary damages,
and accepted a $90,000 settlement offer. He said, “We didn’t         itself—in nine months,
have any other witnesses. They offered $90,000 and we
                                                                     one year, the police
accepted it because we are poor. They took advantage of the
fact that we didn’t have witnesses. It’s just too sad.”144 Ayala     will do it again, and our
says no criminal charges were brought against the officer,
who is still on active duty with the PRPD. Ayala told the ACLU,
                                                                     tears will be someone
“The abuse will repeat itself—in nine months, one year, the          else’s tears.”
police will do it again, and our tears will be someone else’s
tears.”145

Ayala told the ACLU that PRPD officers are a near-constant presence in his community, and
they frequently harass young men. He said, “You can’t walk around on the streets in peace;
almost no one dares to go around. Some of my friends have been victimized by the police
recently. No one can be at peace in my neighborhood.”146 He added,

       “The [police’s] racism is very, very, very bad against our community. It’s
       terrible what is happening to us. The police do their work, but they don’t do
       their job as they should. If people are gathered at a business or a party in
       our neighborhood, everyone minding their own business and not breaking
       the law, the police will come and injure people without any reason. It’s police
       brutality without any reason or justification. Where I live, the police think
       everyone is a drug trafficker, but that’s not how it is. The police come in with
       violence, guns drawn, shooting and beating everyone. The police need to think
       differently, not to just assume that everyone in my community is bad.”147

Other Black residents of Villa Cañona reported ongoing police aggression, harassment,
and intimidation. Evelyn Rivera, a single parent of two, one of whom is afflicted with severe
cognitive deficiency, told the ACLU that PRPD officers have repeatedly beaten and pepper-
sprayed her severely developmentally disabled 27-year-old son, Edgar Pizarro Rivera.148




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According to Evelyn Rivera, police have seized and beaten her son with nightsticks while he
rides around the neighborhood on his bicycle on numerous occasions between 2007 and
2008, and again in 2011. He suffered bruising from these attacks, including bruising around
his genitals, and is now terrified to play outside. During the attacks on her son, who has a
mental capacity of a five-year-old, police have repeatedly used racist language that suggests
that the attacks are at least partially racially motivated.149 Evelyn Rivera witnessed one
police attack on her son during which PRPD officers called her son “a dirty negro,” and she
has witnessed officers use the same language against other residents of her community.150
Rivera filed three complaints concerning police abuse against her son, and received no
response to her first two complaints, and merely received a letter stating that the complaint
had been “archived” without any explanation.151 Rivera told the ACLU, “I don’t believe in the
police complaint system. They wouldn’t take any of my complaints seriously. I have never
had confidence in the police, and every day I trust them even less.”152


c. Excessive Force and Other Police Abuse against Dominican Immigrants and Puerto
Ricans of Dominican Descent

Dominican community leaders, the ACLU of Puerto Rico, and other civil rights advocates
have for many years denounced discriminatory policing practices including incidents of
extreme police abuse motivated by national origin in several communities known to be
predominantly inhabited by Dominican immigrants and people of Dominican descent,
including the Santurce sector of San Juan, Puerto Rico. According to Dominican community
leaders, PRPD officers target communities that are known to be predominantly Dominican,
and officers also target individuals who physically appear to be Dominican or who are
identifiable by their accent when they speak. In these cases, officers often use racial epithets
and xenophobic slurs relating to their Dominican origin, indicating that these PRPD officers
are motivated by racial or ethnic bias.

The spokesperson of the Dominican Committee of Civil Rights (Comité Dominicano de
Derechos Civiles), José Rodríguez, told the ACLU that he has been documenting cases of
police brutality against Dominican immigrants and Puerto Ricans of Dominican descent
over the past 15 years.153 According to Rodríguez, the Dominican Committee of Civil Rights
has documented 26 police killings of Dominican immigrants between 2000 and 2011.154
He also reported that PRPD officers routinely search the homes of Dominican immigrants
without warrant or permission, and ask individuals who appear to be Dominican for identity
documents and proof of immigration status without reasonable suspicion or legitimate law
enforcement purpose.155

Puerto Rico press reports have similarly reported that the PRPD discriminatorily targets
Dominican immigrants and routinely subjects them to warrantless searches of their homes
without permission.156 According to these press reports, PRPD officers routinely demand
identity documents and proof of immigration status from Dominican immigrants, and when
these civilians refuse to provide evidence of citizenship or lawful permanent residency,
PRPD officers arrest them without cause or issue baseless citations that carry heavy fines.157



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One of the cases documented by the Dominican Committee of Civil Rights is the October
2009 police killing of Franklin Cáceres Osorio, an undocumented immigrant from the
Dominican Republic and father of three.158 Cáceres Osorio was reported to have fallen from
a second story window to the ground after police entered his home in a predominantly
Dominican community of Santurce.159 His family alleges that the police threw him to the
ground, and that he did not fall by accident. Police delayed calling for emergency medical
assistance, and as a result an ambulance did not arrive until after he had died. Police
neglected to call the department of homicides or the department of forensics, as is the
custom when dealing with a dead body. Instead, his family had to call a funeral home to
have the body removed. No forensic investigation ever took place at the crime scene. While
the autopsy report provided by Puerto Rican authorities to Cáceres Osorio’s widow claimed
his death was caused by cocaine, an autopsy performed upon repatriation of his body to the
Dominican Republic concluded that the cause of his death was beating.160 The Dominican
Committee of Civil Rights has labeled his death a hate crime. According to the Dominican
Committee of Civil Rights, which conducted an investigation into the case and worked closely
with Cáceres Osorio’s widow, located a witness not interviewed by police who says he saw
police beat Cáceres Osorio.161 According to Rodríguez, there are no records of the incident in
police department files.162

Another incident documented by the Dominican Committee of Civil Rights is the September
12, 2010 assault and mass arrest of about 75 Dominican immigrants who were participating
in or watching a cockfight in Río Piedras.163 According to the Dominican Committee of
Civil Rights, a group of about 10 police officers assigned to the Drug Division entered the
building without a warrant and began shooting in the air “like cowboys.”164 The officers
reportedly demanded to see the spectators’ immigration documents and arrested all of
the young Dominican men present at the cockfight.165 According to Rodríguez, when family
members came to the police station to look for the men who had been arrested, PRPD
officers demanded as much as $300 from each family in exchange for releasing and not
deporting them.166 According to the Dominican Committee of Civil Rights, PRPD officers
beat and handcuffed one young woman named Stefany Bello, and told her, “Shut up, you
damned Dominican.”167 Bello later told journalists that police slapped her and claimed
her immigration documents were false when she asserted that she is a documented
immigrant.168

The ACLU documented numerous cases of police brutality committed by PRPD officers in
the course of an August 2009 government attempt to forcefully evict the residents of Villas
del Sol, a squatter community comprised mostly of indigent families of Dominican origin.
Police officers violently attacked members of the community, which mainly consisted of
female heads of households and children, by beating, pepper-spraying, and Tasering them,
and in some cases tossing women over concrete barriers. One former resident of the
community, Laura Mota, told the ACLU that during the first attempted forced eviction on
August 4, 2009, Riot Squad officers doused her face with pepper spray, then pulled her by
her hair, threw her over a chest-high cement barrier, punched her, dragged her, and kicked
her with their boots.169 Mota says that she had merely shouted at police that they should



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                                                                    Riot Squad officers
                                                                    doused Laura Mota’s
                                                                    face with pepper spray,
                                                                    pulled her by her hair,
                                                                    threw her over a chest-
                                                                    high cement barrier,
                                                                    punched her, dragged
                                                                    her, and kicked her.

During the attempted forceful eviction of a predominantly Dominican squatter community, police violently
attacked residents, including Laura Mota. Photo Credit: ACLU (2011)




leave and denounced them for the violence they were using against other members of the
predominantly Dominican community, and that she was not resisting or threatening police in
any way, and indeed was so weakened by the initial pepper spraying that she was incapable
of taking any action against the police.170

Mota also witnessed police drag, kick, punch, and pepper-spray her eight-months-pregnant
friend Maritza de la Cruz, rendering her unconscious, and she saw police pepper-spray and
beat Maritza’s five-year-old son with nightsticks.171 Mota also witnessed police kick a man
in the back and Taser him eight times while he screamed, “They’re going to kill me!”172 Mota
says, “That screaming still haunts me to this day. He had foaming coming out of his mouth
and blood all over his face.”173

Mota told the ACLU that the police used racial and ethnic epithets throughout the violent
attempted eviction operation and during the subsequent police occupation of the community
over the next year-and-a-half, until the final eviction of the community in December
2010.174 According to Mota, police repeatedly told residents, “Goddamned Dominicans,”
“Go back to your country,” “We should have killed you,” and when a 20-year-old Dominican
woman required medical treatment for an epileptic seizure, an officer who refused to call
an ambulance said, “One Dominican less.”175 Mota told the ACLU, “It was hard listening to
those racist remarks all the time.”176 Between August 4, 2009 and December 31, 2010, PRPD
officers also frequently pulled people over as they were driving out of the community and
demanded to see their green cards, not their licenses, as a form of baseless harassment
targeting Dominican immigrants living in Villas del Sol.177

The ACLU also documented the cases of two young Dominican men brutally beaten by police
in separate incidents in Santurce. In both cases the young men were unarmed and required
lifesaving surgery for their injuries. In late May 2009, when Dominican immigrant Joel



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Félix was 24 years old, he was walking home alone just after midnight following a Saturday
evening out with friends.178 As he walked under a bridge he saw about six to eight PRPD
officers, who exited their patrol car and shined flashlights in his eyes. One of the officers
immediately told him to put his arms around his back, and they handcuffed him without
telling him the reason for stopping and handcuffing him. The officers then savagely beat
him with their fists and gloves and kicked him with their boots. He fell to the ground and lost
consciousness. Félix says that the officers surely knew that he is a Dominican immigrant, as
he has an identifiable Dominican accent.179

Félix woke up in a hospital bed, flat on his back and in extreme pain. The police officers had
apparently abandoned him on the side of the road, and had used his cell phone to call his
sister and tell her that he was lying on the ground. It took his sister an hour to find him, and
he initially did not want to seek treatment at the hospital because he was terrified that the
police officers would come looking for him.180 However, he was in such severe pain that he
could not sleep or eat, and he allowed his mother to take him back to the hospital.181 There, a
doctor told him that he needed emergency surgery immediately because of internal bleeding
and organ damage to his spleen and liver caused by the police beating.182 The doctor told him
that he would die without surgery, and would have died if he had delayed seeking medical
assistance any longer. Félix was hospitalized for a full month, and had to pay for all of his
medical expenses.183

Félix filed a complaint with the PRPD while in the hospital, but he was so terrified of police
retribution if he proceeded with the complaint that he dropped it after PRPD officers
stopped by his home. Because the officers had not identified themselves during the attack,
had not filed an incident or arrest report, and had shone their flashlights directly into his
eyes, making it impossible for him to see their faces, Félix was unable to identify any of the
responsible officers.184 Félix wanted to file a civil lawsuit against the PRPD for monetary
damages, but he says that he was unable to afford to pay a lawyer for the legal fees, which
cost a minimum of $5,000 to commence work on the case.185

Félix told the ACLU, “Now, when I see a group of police I feel nervous and leave the area.
When one police officer comes while you’re alone on a corner and he hears that you’re
a Dominican, they use brutal force, thinking that we can’t do anything against them.
When they’re in a group, that’s when they are even more abusive.”186 He added, “There is
substantial racism against Dominicans, because there have been many cases of police
abuse against Dominicans. Many times the police stop Dominicans for something simple,
like not wearing a seatbelt, and they intimidate and harass us.”187




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     The Puerto Rico Police Department frequently and systematically
     uses excessive force against protesters. Officers indiscriminately
     used a toxic form of tear gas, pepper spray, batons, rubber bullets,
     sting ball grenades, Tasers, carotid holds, and painful pressure point
     techniques on protesters.




Riot Squad officers in formation on the University of Puerto Rico campus while students march in protest. An
officer in the foreground holds a riot gun that fires aluminum canisters of tear gas. Photo Credit: Gerald López-
Cepero / Primera Hora (2010)




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V. Billy Clubs versus Speech: Excessive Force against
Protesters to Suppress Speech and Expression


Since 2009, the PRPD also has regularly used excessive force against protesters. Even as
police crackdowns on the Occupy movement have brought attention to the problem of police
abuse against protesters elsewhere in the United States, the PRPD has failed to address
its systematic use of force against protesters. Officers have routinely used excessive force
to suppress First Amendment-protected activity, indiscriminately using chemical agents
such as pepper spray and a toxic form of tear gas, batons, rubber bullets and rubber
stinger rounds, sting ball grenades, bean bag bullets, Tasers, carotid holds, and pressure
point techniques on protesters. Police have regularly used excessive force in violation of
protesters’ First Amendment right to freedom of speech, expression, and assembly, as
well as their Fourth Amendment right to be free from unreasonable searches and seizures.
These police practices also violate protesters’ human rights to free speech, expression, and
peaceful assembly, and the strict prohibition on torture and cruel, inhuman, or degrading
treatment under international law.

The PRPD has regularly responded to largely peaceful protests by deploying scores of
officers assigned to Tactical Operations Units (Unidad de Operaciones Tácticas, or UOT),
colloquially known as the Fuerza de Choque (literally translated as Strike Force) or Riot
Squad. When responding to protests, Riot Squad officers typically wear full riot gear,
including padded body armor, helmets with visors, combat boots, and plastic shields. They
are customarily armed with long crowd-control batons; aerosol pepper spray canisters;
tear gas riot guns, rubber bullet guns, and/or pepper-ball guns; and firearms with live
ammunition. Riot Squad officers are visually threatening and imposing; tall and muscled,
Riot Squad officers are a minimum height of 5’10” according to PRPD regulations. The
Riot Squad frequently works closely with the Specialized Tactical Unit (Unidad de Tácticas
Especializadas, or UTE), commonly known as the Group of 100 (Grupo de Cien), an elite
unit of officers grouped into multidisciplinary teams drawn from several different police
units including drug, traffic, stolen vehicles, and the UOT. Officers assigned to the Criminal
Investigation Corps (Cuerpo de Investigaciones Criminales, or CIC) also were frequently
deployed to protests.

The ACLU documented numerous instances of police abuse against protesters at locations
that are traditionally the site of public protest in Puerto Rico, including outside the
Capitol Building, the Supreme Court of Puerto Rico, the Governor’s mansion, and the
Government Development Bank for Puerto Rico, and on the campus of the University of
Puerto Rico (UPR). Many of these incidents were captured on video and camera. In the
cases documented by the ACLU, as a result of the PRPD’s excessive use of force, numerous
protesters required and received medical treatment for blunt and penetrating trauma,
contusions, head injuries, torn ligaments and sprains, respiratory distress, and second-
degree burns from chemical agents.



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In remarks on the House floor in February 2011, Representative Luis V. Gutierrez addressed
the U.S. House of Representatives to draw attention to the PRPD’s attacks on peaceful
protesters:

       “I want to talk to you today about a part of the world where the rights of
       citizens of all walks of life to protest and speak their minds is being denied,
       with clubs and pepper spray. A part of the world where a student strike led
       the university to ban student protests anywhere, anytime on campus, and
       where, when the students protested the crackdown on free speech, they were
       violently attacked by heavily armed riot police…. What faraway land has seen
       student protests banned, union protesters beaten, and free speech advocates
       jailed? The United States of America’s colony of Puerto Rico.”188

Despite the widespread use of violence on protesters during several of the incidents
documented by the ACLU, including the June 30, 2010 incident at the Capitol and the May 20,
2010 incident at the Sheraton Hotel fundraiser, few protesters were arrested during these
incidents. The dearth of arrests following these incidents, and the scant number of arrests
during other incidents that were supported by probable cause, indicates that protesters were
not threatening public safety and the use of force was excessive and neither necessary nor
justified.

In other instances involving UPR student protesters, particularly during the April to June
2010 and December 2010 to February 2011 student strikes, the ACLU documented baseless
mass arrests of UPR students to put an end to their protests, thereby suppressing their
speech and expression. A very small fraction of these arrests of student protesters was
supported by probable cause. Student activists report that about 200 UPR student protesters
have been arrested, some of whom have been arrested multiple times, but prosecutors
have pursued charges in only approximately 17 of these cases. In case after case, student
protesters were arrested and held for hours in a police cell, only to have a court find no
probable cause to support the arrest. Ironically, in some of the isolated instances in which
students did apparently break the law by breaking windows of cars on campus, the students
were not arrested despite police presence at the scene.

The ACLU has identified several categories of excessive force that were utilized by police
in the incidents we documented: indiscriminate use of chemical agents including tear
gas and pepper spray; indiscriminate use of batons; uncontrolled and unregulated use
of carotid holds and pressure point techniques; inadequately regulated use of “less-
lethal” ammunition such as rubber bullets, plastic bullets, rubber stinger rounds, sting
ball grenades, and bean bag bullets; and inadequately regulated use of conducted-
energy devices such as Tasers. These tactics were unnecessary, unreasonable, and
unconstitutional. In addition, the ACLU documented several instances in which police groped
and sexually harassed female student protesters.




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a. Chilling Effect on Constitutionally Protected Speech and Expression

PRPD’s excessive use of force and baseless mass arrests of
protesters has had a chilling effect on First Amendment-             “If we bring our posters
protected protest. Numerous university students and labor
union leaders and members reported to the ACLU that                  outside the Capitol and
they have ceased protesting, or significantly reduced their          they pepper-spray and
protesting, because of fear that they will again be subjected to
police violence and baseless arrest. A number of these self-         beat us, then what can
described activists, who have participated in past protests
                                                                     we do? We don’t have a
on numerous occasions, told the ACLU they no longer feel
safe participating in demonstrations. They said they fear that       freedom of expression.
the PRPD will again use excessive and unnecessary force
to suppress their demonstrations, and they are reluctant to          What do I do with the
express their political beliefs in public and risk retaliation       papers that say we have
by the PRPD. The PRPD has also openly recorded student
protesters with video cameras, and PRPD officers have made           a right to freedom of
clear to students that their activities are personally being         expression?”
tracked by the PRPD. Indeed, PRPD officers often will address
student activists by name, instilling in the students a fear
of retribution. Students reported that these tactics intimidate them, and have led some to
abandon or significantly scale back their attempts to engage in protected First Amendment
activities.

All of the protesters interviewed by the ACLU told us that they believe the PRPD’s use of
force against them is designed to suppress their speech and expression, and is specifically
directed at those with viewpoints that are critical of the current administration and its
policies. Without exception, all of the concerned citizens, community leaders, university
student activists, and labor union leaders and members we interviewed told us that they
feel the police have targeted them because of the viewpoints they have sought to express,
suggesting that the police are unconstitutionally discriminating against protesters based
on their viewpoints. Labor union leader Luisa Acevedo Zambrano, who was subjected to
excessive force by police on numerous occasions when she was lawfully protesting, told the
ACLU that she views the police crackdown on protesters as a “strategic violence against
those who confront the government.” She explained,

       “In our opinion, the reality is that the civil rights for the men and women
       workers in Puerto Rico have declined tremendously in the recent years. They
       don’t actually allow public expression, and not just of the men and women
       workers, but students, women, journalists—in general terms, all sectors
       that could present some kind of dissent. This has eroded our rights and we
       have been pressured into not talking or to make public statements saying the
       reality of what’s happening in Puerto Rico.”189




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UPR student Shariana Ferrer Nuñez told the ACLU, “The message of the beatings and
repression is that you can’t talk to the press and you can’t demonstrate, because you are
critical of us, because you will criticize the government. Where is the real space for us? If we
bring our posters outside the Capitol and they pepper-spray and beat us, then what can we
do? We don’t have a freedom of expression. What do I do with the papers that say we have a
right to freedom of expression?”190

In the DOJ’s report of the findings of its investigation into the PRPD, the DOJ found that the
force and other misconduct used against protesters was explicitly “designed to suppress
the exercise of protected First Amendment rights.”191 The DOJ concluded, “The frequency
and severity of excessive force by PRPD against individuals engaging in protected speech is
designed to chill speech in violation of the First Amendment.”192


b. Indiscriminate Use of Toxic CN Tear Gas

In responding to entirely peaceful or largely peaceful protests, police routinely and
indiscriminately fired aluminum tear gas canisters at protesters from riot guns or “less-
lethal launchers,” a type of firearm that physically resembles a rifle grenade launcher and
is used to fire less-lethal ammunition. Police also launched tear gas from helicopters,
and video footage and photographs show thick clouds of tear gas engulfing protesters.
Tear gas causes intense pain, burning and irritation to the eyes, mouth, throat, lungs and
skin. Protesters reported experiencing temporary blindness, difficulty breathing, chest
tightness, shortness of breath, wheezing, coughing, and/or a choking sensation from tear
gas exposure. Some protesters told the ACLU that they suffered eye, nose and throat pain for
days; others reported suffering wheezing, throat irritation and coughing for weeks after they
were tear gassed.

UPR student protester Roberto Morales described the effects of tear gas: “You can’t get a
full breath of air, you can’t fill your lungs completely. And at the same time your lungs hurt a
lot…Your skin is on fire, and you’re coughing, mucus flows everywhere and tears are all over
your face. You can’t open your eyes because of the pain.”193

The ACLU learned that the PRPD used substantial amounts of Chloroacetophenone, or CN
tear gas, on protesters.194 CN tear gas is a toxic form of tear gas that is not used by most
law enforcement agencies because of its toxicity. Law enforcement agencies in the United
States generally stopped using CN tear gas in the late 1950s and early 1960s, and replaced
it with other less toxic chemical agents. A former PRPD Auxiliary Superintendent reported
to the ACLU that the PRPD prohibited the use of CN tear gas as of January 31, 2011, and
the department intended to destroy the 1,000 cans of CN tear gas still in its inventory.195 The
PRPD now uses Chlorophenyl-methylenepropanedinitrile, or CS tear gas, a more potent but
less toxic form of tear gas.

Exposure to large doses of tear gas or exposure for periods of over an hour can cause
blindness, glaucoma, long-term breathing problems, serious chemical burns to the throat



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and lungs that can lead to death, and respiratory failure that can result in death. Individuals
with asthma or other lung conditions are at higher risk of death from tear gas exposure.
Tear gas can be fatal to healthy individuals who inhale higher doses, particularly in enclosed
spaces. Many cities in the United Kingdom and continental Europe no longer use tear gas in
protests because of the risk they pose.

CN tear gas can be lethal, and the primary cause of death following CN inhalation is from
pulmonary damage. U.S. Army medical research reported multiple deaths from CN
inhalation, including the death of a prison inmate exposed to CN gas in his cell; the death
of a man who locked himself in a room of his house during an altercation with police, who
launched a CN grenade in his room; and three other cases in which CN inhalation—in one
case exposure for only 10 minutes—was found to be the cause of death.196 Medical studies
conducted on rats, guinea pigs, and dogs have discovered that the animals that died from CN
inhalation suffered pulmonary congestion, edema, emphysema, tracheitis, bronchitis, and
bronchopneumonia.197 The animals that died because of CN inhalation suffered congestion
of alveolar capillaries, alveolar hemorrhage, excessive secretions in the bronchi and
bronchioles, and acute inflammatory cell infiltration of the trachea, bronchi, and bronchioles.

According to U.S. Army medical research, CS tear gas can cause prolonged airway
dysfunction and is associated with the development of reactive airways disease syndrome
in some individuals. Although no deaths attributed to CS gas have been reported, medical
researchers have concluded that exposure to the agent could result in death by inflicting
pulmonary damage leading to pulmonary edema.198


c. Indiscriminate Use of Pepper Spray

Police have also routinely and indiscriminately doused protesters with pepper spray from
aerosol canisters, at point-blank range just inches from protesters’ faces, directly into
protesters’ eyes, noses, and mouths. Protesters told the ACLU that police sprayed them so
thickly with pepper spray that they were covered in the orange liquid, which poured down
their faces and bodies, temporarily blinding them and causing excruciating pain that in some
cases lasted for days.

Pepper spray is a potent inflammatory agent, and it causes temporary blindness and an
excruciating burning sensation in the eyes, face, and skin that can persist for days; irritates
and damages eyes, membranes, bronchial airways, and the stomach lining; amplifies
allergic sensitivities; and inflames the airways, causing swelling and restriction.199 Pepper
spray is banned for military use overseas by the Chemical Weapons Convention, which
prohibits the use of “any chemical which through its chemical action on life processes can
cause death, temporary incapacitation or permanent harm to humans or animals.”200

Pepper spray also can cause death. A 1995 ACLU of Southern California report found that
pepper spray was associated with multiple deaths in California, finding that about one in
every 600 people sprayed with pepper spray by California police officers died.201 Most who



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died had pre-existing conditions like asthma, but “these findings suggest that pepper spray
may be a serious complicating factor when it is used on people with cardiovascular or
cardiorespiratory disease—individuals police might not be able to recognize readily in an
emergency situation.”202 Pepper spray use has been suspected of contributing to a number
of deaths that occurred in police custody, and in the mid-1990s, the DOJ cited nearly 70
fatalities linked to pepper-spray use.203

Pepper spray poses a risk to people with asthma and other respiratory conditions, and can
cause respiratory failure.204 With repeated exposures, studies have also found there can
be permanent damage to the cornea.205 A 1993 U.S. Army study found that pepper spray’s
active ingredient “is capable of producing mutagenic and carcinogenic effects, sensitization,
cardiovascular and pulmonary toxicity, neurotoxicity, as well as possible human fatalities.”206
A 2004 paper on the health hazards of pepper spray, written by health researchers at the
University of North Carolina and Duke University, reported that pepper spray could “produce
adverse cardiac, respiratory, and neurologic effects, including arrhythmias and sudden
death.”207


d. Indiscriminate Use of Batons

Police have also routinely struck, jabbed, and beat protesters with 36” straight-stick metal-
tipped batons, used as a blunt impact weapon specifically for riot control. Riot squad officers
struck protesters with two-handed jabs and single-handed strikes in which officers raised
the batons over their heads to hit protesters with maximum impact. In numerous cases riot
squad officers even chased after fleeing protesters and struck them in the head, back, and
shoulders from behind. These baton jabs and strikes caused head injuries and multiple
contusions to countless protesters, many of whom bore clear marks of the size and shape of
batons on their backs and chests.

In September 2007, the then-Superintendent of the PRPD created a committee to conduct an
external evaluation of the problems of police violence and corruption in Puerto Rico. Called
the External Evaluating Committee on the Police of Puerto Rico (Comité Evaluador Externo de
la Policía de Puerto Rico), it released reports of its findings in December 2007 and May 2008.
The External Evaluating Committee found that “[t]he indiscriminate use of batons in total
disregard of existing regulation…has occasioned totally unjustified, multiple, and serious
injuries to citizens.”208


e. Uncontrolled and Unregulated Use of Carotid Holds and Pressure Point Techniques

Officers have also used painful carotid holds and pressure point techniques intended to
cause pain to passively resisting protesters by targeting pressure points on protesters’
carotid arteries, under their jaws, near their necks, their ears, or directly on their eyeballs
and eye sockets. Officers also dug their fingers deep underneath students’ ears and above
their jaws, forcibly lifting and dragging them by exerting extreme pressure on these sensitive



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Left, police pepper-spray student protesters on the University of Puerto Rico campus during the April 2010 stu-
dent strike. Right, a PRPD officer shoots rubber bullets at student protesters. Photo Credit: Cubadebate (2010)




points. Pressure point tactics not only cause excruciating pain, but they also block normal
blood flow to the brain and can be potentially fatal if misapplied. In some cases these
pressure point techniques have caused student protesters to lose consciousness.

The PRPD used these techniques on students passively resisting arrest. In the cases
documented by the ACLU, police used these tactics on students engaged in sit-ins who did
nothing more to resist arrest than to link arms and cross their legs. Police officers also used
these cruel, painful techniques on some students even after they had already been securely
handcuffed or otherwise restrained by the PRPD. In the cases documented by the ACLU
these pressure point techniques were utilized exclusively by PRPD officers assigned to the
CIC.


f. Inadequately Regulated Use of “Less-Lethal” Ammunition: Rubber Bullets,
Sting Ball Grenades, and Bean Bag Bullets

On multiple occasions the PRPD has fired rubber bullets and other “less-lethal” ammunition
such as sting ball grenades and rubber stinger rounds at protesters. Rubber bullets typically
consist of a metal bullet shell coated in rubber; other variations that have been used by
the PRPD include plastic bullets, rubber buckshot rounds commonly known as sting ball
grenades or stinger rounds, and bean bag bullets that consist of a cloth pouch containing
about 40 grams of lead shot. These projectiles are designed to deliver a painful blow that
incapacitates; they are launched from guns at high velocity to induce severe pain by blunt
trauma.




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Rubber bullets and related types of “less-lethal” ammunition can cause severe blunt
and penetrating injuries, and can be lethal if shot in the head or at close range.209 In
October 2004, a 21-year-old college student was killed when Boston Police shot a plastic
bullet loaded with pepper spray in her eye while attempting to disperse a crowd after the
Red Sox World Series victory. Rubber bullets have been linked to numerous deaths and
serious injuries of protesters in Northern Ireland and Israel and the Occupied Palestinian
Territories.210

In a seminal 2002 study of the Israeli military’s use of rubber bullets published by The
Lancet, medical researchers concluded, “Inaccuracy of rubber bullets and improper aiming
and range of use resulted in severe injury and death in a substantial number of people. This
ammunition should therefore not be considered a safe method of crowd control.”211 Because
of documented deaths and severe injuries, the South African police banned the use of rubber
bullets on protesters in January 2012, and the European Commission issued a directive
banning the use of rubber bullets in all European Union countries by the end of 2012.212


g. Inadequately Regulated Use of Tasers

In at least one incident involving a peacefully protesting and unarmed UPR student who was
already restrained and face-down on the ground, the PRPD gratuitously and unnecessarily
used a conducted-energy device (CED) on a protester. CEDs, also known as electronic
control devices or Tasers, discharge a high-voltage, low-amperage jolt of electricity. They
work by firing twin metal barbs that emit a 50,000-volt charge into an individual, causing
the individual to collapse from loss of muscular control. Tasers can inflict serious, and even
fatal, injury. Risks of CED use to the human body include cardiac arrhythmia, changes to
blood chemistry, impaired respiration, disruption of the central nervous system, burns and
increased risk of accidental injury.213

In the case documented by the ACLU, detailed below in the subsection covering police abuse
against protesters at the political fundraiser at the Sheraton Hotel, a PRPD officer applied
the Taser to the protesting student, José “Osito” Pérez Reisler, multiple times. According
to Pérez Reisler’s lawyer, Enrique G. Juliá Ramos, the officer shocked Pérez Reisler six or
seven times with the Taser, on the young man’s hips and back. Juliá Ramos told the ACLU
that Pérez Reisler had to be hospitalized for days, during which he was evaluated by a doctor
who concluded that he could have died as a result of the Taser, because he suffers from a
medical condition that could be exacerbated by the Taser.214

The PRPD does not provide adequate guidance to its officers on the use of CEDs. According
to the DOJ’s report of its investigation findings, the PRPD’s order governing use of CEDs, GO
2008-2, is seriously deficient.215 The order does not specify any legal standard for the use of
CEDs, and it does not specify any factors that should be considered when determining when
it is appropriate to use CEDs, such as the subject’s level of resistance or the severity of their
suspected crime.




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Most problematic, the PRPD’s order governing use of CEDs does not acknowledge that
CEDs can be lethal, instead mischaracterizing them as “non-lethal” weapons. According
to Amnesty International, 334 people in the United States died after being shocked by
a CED in 2001-2008.216 Medical examiners and coroners in the United States cited CED
exposure as the cause or contributing factor in over 50 of these deaths.217 The two most
likely predictors of whether a subject will die after CED shock are if the person is shocked
multiple times or for an extended duration, and if the person’s heart is unusually stressed,
either by recreational drug use, a preexisting heart condition, or the placement of the CED
barbs across or near the heart. In Amnesty International’s review of autopsy reports from
post-CED deaths, they found that 43 percent of decedents were shocked in the chest, and 52
percent had cardiovascular disease.218

Tasers can cause a fatal heart arrhythmia, especially in vulnerable populations, such as
those with preexisting heart conditions, those whose hearts are already compromised by
drug use, and thinner people who have a lower skin-to-heart distance. Likewise, situational
factors such as dart placement near or across the heart, and multiple Taser exposures,
can increase the risk of arrhythmia. Further, at least one study, in a peer-reviewed forensic
engineering journal, found that CEDs actually discharged far more powerful current than
Taser International has acknowledged, and that a Taser shock is powerful enough to cause
fatal heart disrhythmias.219


h. Groping and Sexual Harassment of Female Protesters

Several female university students reported to the ACLU that police officers had groped their
breasts and genitals while arresting them. At least two of these incidents have been caught
on camera. UPR student Victoria Carro Robledo told the ACLU that when she was arrested
outside the Capitol Building on January 27, 2011, after she was handcuffed with her arms
pinned behind her back in plastic straps, a PRPD officer grabbed her by her breasts as he
moved her from one police van to another.220 Another UPR student told the ACLU that a
police officer groped her around her breasts, thighs, and pubic area while he arrested her.221

UPR Master’s student Adriana Mulero publicly denounced the PRPD officer who grabbed
her breasts and thighs while arresting her on campus on January 19, 2011. Eyewitnesses
reported that although it was apparent that the PRPD officer could have easily carried
her by her waist, he carried her with one hand on her breast and one hand on her crotch.
Mulero told The Nation magazine that when she was arrested on a subsequent occasion, “[S]
everal of them attacked me by squeezing my neck, saying, ‘This is the one who complained
about grabbing her breast!’ and they called me a whore. That hurt even more than when
they hit me.”222 Another UPR student, Yaritza Figueroa, told the ACLU that on February 9,
2011, she witnessed 10 to 12 Riot Squad officers surround a female student, throw her
on the ground, and call her “whore.”223 When Figueroa tried to assist the young woman,
an officer said, “’She’s just a bitch, a whore, arrest her,’” after which the officers arrested
Figueroa.224 The officers beat Figueroa and threatened her that she “would have to suffer the




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consequences because I was going to be in their territory,” meaning a jail cell.225 Figueroa
was subsequently released without charge.

Several female UPR students also told the ACLU that PRPD officers sexually harassed
them while they were going about their daily lives on campus, including while walking to
and from classes, during the period when police occupied the campus from December
2010 to February 2011. Yaritza Figueroa reported that police blew a kiss at her and other
female students in early February 2011.226 Other students reported that PRPD officers made
flirtatious remarks and sexual comments (piropos) to female students, who found those
remarks to be intimidating. At least one student reportedly was followed by a PRPD officer
into a women’s bathroom in a school building.

Carro Robledo told the ACLU that she and two other students filed a complaint with the
Women’s Advocate Office (Oficina de la Procuradora de las Mujeres), and returned to follow
up on the complaint a month later, but never heard another word from the office. In Carro
Robledo’s case, she was able to identify the officer who grabbed her breasts, but to her
knowledge no action was taken to discipline the officer. She said, “There is no repercussion
for them, no change” in their behavior.227 Carro Robledo says that the PRPD must take
action to ensure PRPD officers handle female arrestees appropriately, explaining, “If the
police know that they are intervening with female students, then they need a protocol on
how to arrest women. There are ways to prevent certain situations, with proper training and
protocols.”228


i. Psychological Trauma Caused by Police Abuse against Protesters

Numerous UPR students told the ACLU that they are suffering psychological trauma caused
by police abuse against them. Students described experiencing recurring nightmares
of police abuse, intrusive thoughts, uncontrolled crying, fear of police and other men in
uniform, general distrust of men, and other signs of significant psychological trauma.
Several students also reported that they required and received psychological counseling,
therapy, or psychiatric treatment for trauma caused by police abuse they suffered while
protesting.

For example, UPR student Rachel Hiskes, who was pepper-sprayed and beaten by police at
the Capitol Building on June 30, 2010, said that what happened to her changed her life and
robbed her of her piece of mind. She added,

       “What are my damages? Nothing that wears a visible pricetag. How does one
       quantify how gender and institutional violence by government officials and
       political repression by the intelligence community affect the psyche? How
       can I explain how seeing big men in uniform makes me afraid? How getting
       pulled over by the cops in a state and continent far away from Puerto Rico
       almost makes me break down? How can it be that I relate to men differently




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       now, because one has laid his hands on me in a way that had never happened
       before. Now I have a hard time trusting the good intentions of those in
       government and uniform, because I know from first-hand experience the
       violence and criminal behavior they are capable of, I don’t want to even be
       around them…. To this day I can’t think or talk about the 30th of June without
       getting choked up.”229

UPR law student Gamelyn Oduardo, who was beaten and arrested by police on January 13,
2011 while he peacefully marched said, “At times when I go to sleep, I see a mob of about
300 police officers, running towards me and on top of me.”230 UPR student Mariana López
Rosado described suffering “nightmares of torture” and “nightsticks in my dreams,” adding,
“There is no way to forget what has happened to us.”231

During a public town hall meeting convened by the ACLU at the
UPR School of Law, the ACLU heard testimony from numerous              “Now I have a hard
students who came forward to describe the police abuse they
had suffered. Throughout the event, many of the students               time trusting the
who were gathered in the lecture hall, which was packed to
                                                                       good intentions of
capacity, cried or otherwise were visibly upset by the events
being recounted by their classmates, and some students told the        those in government
ACLU that there is a need for further study into the psychological
trauma caused by the systematic police violence on their
                                                                       and uniform, because
campus.                                                                I know from first-
Other protesters abused by police at locations other than the          hand experience the
UPR campus also described suffering psychological effects              violence and criminal
of the police violence they suffered. High school student Elisa
Ramos, a 17-year-old protester attacked by police when she             behavior they are
peacefully protested outside the Capitol Building with her mother
                                                                       capable of.”
on June 30, 2010, told the ACLU, “I have had many nightmares of
the police beating my mom. Sadly, I will live my whole life with
the memory of this horrible experience.”232




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     In responding to entirely peaceful or largely peaceful political
     demonstrations at locations that are traditionally the site of public
     protest in Puerto Rico, police have systematically used excessive
     force to suppress constitutionally protected speech and expression.
     The PRPD has regularly responded to protests by deploying
     scores of Riot Squad officers in full riot gear, who routinely struck
     protesters with batons, sprayed protesters with pepper spray
     at close range, fired tear gas indiscriminately, and used painful
     pressure point techniques on passively resisting students.




Riot Squad officers on the steps of the Capitol Building pepper-spray protesters during the June 30, 2010 mass
public protest. Photo Credit: Andre Kang / Primera Hora (2010)




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VI. Documented Cases of Police Abuse against Protesters


The following is a detailed description of the incidents of police abuse against protesters
documented by the ACLU, including documented incidents of police violence against
protesters at the Capitol Building on June 30, 2010 and January 27, 2011; against protesting
students and union leaders and members outside a political fundraiser at the Sheraton
Hotel; against protesting union leaders and members at other locations, including
outside the Governor’s Mansion, the Supreme Court of Puerto Rico, and the Government
Development Bank for Puerto Rico; and against protesting students at the UPR, including an
incident on Avenida Universitaria, and numerous incidents during the April to June 2010 and
December 2010 to February 2011 student strikes.

To document the following incidents, the ACLU interviewed victims of police violence,
eyewitnesses, and lawyers representing victims; and reviewed complaints and other legal
documents filed by victims, television and print news reports of the incidents, and video
footage and photographs that captured these events as they occurred.

Immediately following is a brief explanation of the background causes of the wave of
protests that engulfed the island, including recently imposed fiscal austerity measures
and the closure of legislative sessions to the press and public while bills concerning those
controversial measures were under debate by Puerto Rico’s legislature.


a. Background Causes that Prompted the Wave of Protests

In a nationally televised address, on March 3, 2009 Governor Fortuño unveiled his Fiscal and
Economic Recovery Plan, the centerpiece of which was the Governor’s promise to reduce
Puerto Rico’s annual public expenditures by more than two-billion dollars in fiscal year 2010.
In order to do so, the government of Puerto Rico decided to fire roughly 30,000 government
employees at a time when Puerto Rico was already battling a surging unemployment rate
that until then had hovered around 15 percent. More conservative estimates pegged the
number of layoffs at almost 19,000—roughly 14 percent of Puerto Rico’s public workforce.

To cut expenditures, the Declaration of Fiscal Emergency and Omnibus Plan for Economic
Stabilization and Restoration of the Puerto Rican Credit Act, which in Puerto Rico is more
popularly known as La Ley Pública 7 or Law 7, relied on a series of proposals that allowed the
government to suspend collective bargaining and other labor laws that had previously barred
the unjustified firing of public employees.233 Another important measure of Law 7 included
legalizing public-private alliances, which authorized the government to outsource public
services to private corporations. In addition, Law 7 stipulated a redirection of tax revenues
that previously contributed to the General Fund, 9.6 percent of which are earmarked for the
UPR’s annual budget, in effect resulting in a budget cut for the university.




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Just days after the Governor appeared on television, the Puerto Rican Congress approved the
Fiscal and Economic Recovery Plan, paving the way for Governor Fortuño to sign it into law
on March 9, 2009. From the time of its first announcement, Law 7 engendered considerable
opposition, especially from union leaders and members, and ultimately also from university
students, setting off a series of protests across the island that lasted more than two years.

In April 2010, after the University of Puerto Rico (UPR) announced that it planned to impose
an $800 “stabilization fee,” popularly known as the cuota (quota), to make up for Law
7-related budget cuts, opposition to Law 7 intensified on UPR campuses. The fee increase,
which was in effect a tuition increase, came on the heels of Certification 98, a Board of
Trustee’s resolution limiting the university’s tuition waiver program to students who did not
benefit from government funded programs such as Pell Grants.

Because the so-called “stabilization fee” represented a 50 percent increase in tuition
for the public university over the previous school year, it meant that a significant portion
of the student body could no longer afford to go to college. The tuition increase and
Certification 98 were both wildly unpopular among students, a significant portion of whom
immediately rallied against these and other measures enacted by the administration.
Students’ opposition to these policies and the university administration’s ongoing refusal to
meet with the Negotiating Committee elected to represent the students before the UPR’s
administration prompted students to launch a series of protests on the Río Piedras campus.
The Río Piedras campus is UPR’s main campus, and serves about 20,000 of the public
university’s 65,000 students.

UPR students’ protests included a 48-hour walk-out in April 2010, a 62-day student
strike from April to June 2010, a student strike from December 2010 to January 2011,
and protests outside the Capitol Building in June 2010 and January 2011. These protests
included peaceful sit-ins, actions of civil disobedience in which students sat with their arms
linked, chanting and holding placards, marching through the campus, distributing leaflets
outlining the students’ grievances and demands, and painting political messages on campus
sidewalks and streets.

On June 21, 2010, an accord reached between students and the UPR administration to end
the students’ April to June 2010 strike was ratified by all campuses of the UPR. Immediately
after, Puerto Rico’s legislature approved a number of measures that were unpopular with
many students, including an increase in the number of members of the Board of Trustees
of the UPR, which many student activists opposed because they perceived it as a move to
pack the Board of Trustees for politically-motivated reasons. Students viewed this and other
measures as being contrary to the accord.

On June 24, 2010, a photojournalist was expelled from the legislative chambers, and the
following day, the President of Puerto Rico’s Senate, Thomas Rivera Schatz, ordered the
complete closure of legislative sessions to the press corps and the public. The closure of the
legislative sessions provoked a massive public outcry, and prompted a series of lawsuits,
including one brought by members of the press and another brought by a Senator from



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an opposition party.234 The closure of the legislative session was particularly unpopular
because at the time the Puerto Rico legislature was debating controversial budget changes
of intense interest to public workers and UPR students who would be affected by the bills
under discussion. Because of the public outcry, on June 29, 2010, the day before the end of
the legislative session, Senator Schatz issued a notification permitting access to the Senate
chambers, but limiting press access to the Senate to only press who had secured advance
permission to interview members of the Puerto Rico legislature and possessed verified
credentials. The Capitol Building itself remained open to the public.


b. Documented Incidents of Police Abuse against Protesters at the Capitol Building

i. First Protest at the Capitol

Various concerned citizens and groups, including UPR students and labor union leaders and
members, planned protests at the Capitol Building (Capitolio) on June 30, 2010 to protest the
final day of the controversial legislative session, during which Puerto Rico’s legislature was
to conduct final arguments on legislation to carry out the proposed budget cuts. Protesters
planned to gather outside the Capitol Building to protest the legislation under debate, the
public’s and press’s expulsion from the legislative session in the previous days, the mass
lay-offs of public workers under Law 7, the decision to expand the UPR Board of Trustees,
and UPR policies that would threaten the ability of many students to financially afford and
attend the public university. A group of UPR students also planned to read a proclamation
inside the Capitol Building outlining their grievances, which included police abuse against
student protesters at the university.

Officers assigned to the UOT (Riot Squad) and UOE (Group of 100) gathered inside the
Capitol Building before any citizens had attempted to protest. Colonel Leovigildo Vázquez,
Auxiliary Superintendent for Field Operations for the PRPD, was also observed inside
the Capitol Building before protesters gathered. The Superintendent of the PRPD at the
time, José Figueroa Sancha, was also present inside the Capitol throughout the operation,
but negotiators and legal observers of the Puerto Rico Bar Association report that the
Superintendent remained inaccessible to them.235

Student and independent journalists from alternative media, including IndyMedia, Rumbo
Alterno, Onda Alterna, and Radio Huelga arrived at the Capitol Building at approximately
3:00 p.m. These journalists intended to observe the final day of the controversial legislative
session, and planned to report on the session afterwards by preparing print and radio media
reports.

As the student and independent journalists attempted to enter the Capitol Building, they
were able to enter only as far as the portico before they were stopped by an un-uniformed
guard who denied them entry. The student and independent journalists identified themselves
as members of the press, but they did not have the opportunity to show their press
credentials, which some of the journalists carried with them. At that time, there was no



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      PRPD perimeter or other indication that access to the Capitol was prohibited or restricted
      in any way. The student and independent journalists observed members of the traditional
      press inside the Capitol, and perceived that they were being denied entry because of their
      viewpoints as members of the alternative media.

      Their efforts thwarted, four of the student and independent journalists improvised a peaceful
      sit-in at the interior entryway vestibule of the Capitol Building. Riot Squad officers who were
      already in formation in the rotunda of the Capitol then swarmed the student and independent
      journalists. Without warning, and without giving the student and independent journalists an
      opportunity to leave on their own volition, Riot Squad officers began to pummel, strike, and
      push the journalists with batons.

      The Riot Squad officers pepper-sprayed the student journalists at close range, and kicked,
      pushed, and beat them with batons before throwing them out onto the Capitol’s concrete
      exterior stairs. Among these journalists was Rachel Hiskes, then a UPR graduate student
      in social work who also worked as a journalist for Rumbo Alterno, a digital newspaper.
      Riot Squad officers pepper-sprayed Hiskes in her eyes, ears, neck, face and on her back,
      burning her skin, eyes and throat. As Hiskes attempted to get up off the floor, a Riot Squad
      officer struck her back with the full length of a baton, striking her so forcefully that she was
      propelled across the room. The Riot Squad officer then struck her across her side and arm,
      striking her so violently that she lost both of her shoes.

                                The officer continued to strike Hiskes with a baton, striking her
“I was in shock, and            across her neck and throwing her down the marble steps at the
                                entrance to the Capitol, even as she was still blinded and unable
couldn’t believe what           to breathe because of the pepper spray. She told the ACLU, “I
                                was hurled down the stairs of the Capital building at a literal
I was witnessing and
                                breakneck speed. I was barefoot, blinded by pepper spray, and
experiencing in such            my feet splayed out in front of me, barely able to keep up with
                                the tumbling force of my body as it lurched precariously forward.
violence.”                      I knew if I fell, these marble stairs would crack my bones or
                                head…. I was in shock, and couldn’t believe what I was witnessing
                                and experiencing in such violence.”236 Hiskes suffered extreme
     pain and bruising on several parts of her body. She experienced a persistent stinging
     and burning from the pepper spray, and her attempts to wash off the pepper spray only
     intensified the burning. Hiskes was never arrested or charged with any crime.

      Also among the student journalists was Shariana Ferrer Nuñez, also a correspondent for
      Rumbo Alterno who was present to document the legislative session.237 As she was sitting
      with her hands in the air, Riot Squad officers approached her from behind and began
      kneeing her in the back and pepper-sprayed her directly in her face. She told the ACLU, “I
      couldn’t breathe. I couldn’t stand it. I wanted to leave, but they had surrounded us.”238




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Riot Squad officers also pepper-sprayed Reverend Juan Ángel Gutiérrez Rodríguez, an
observer for Amnesty International, directly into his eyes and on other parts of his body,
causing him to curl up in a fetal position, roll around on the floor, and cry out in excruciating
pain. As Reverend Gutiérrez Rodríguez lay on the ground wailing in pain, covering his face
with his hands and jacket, Riot Squad officers proceeded to kick him and brutally beat him
with batons.

Representative Carmen Yulín Cruz Soto, a legislator in the House of Representatives
belonging to the minority Popular Democratic Party (Partido Popular Democrático, or PPD),
attempted to intervene and was also attacked by a Riot Squad officer, who hit her so hard
with his baton that he tore a ligament in her arm. Representative Yulín told the ACLU that
she witnessed two Riot Squad officers hitting and pepper spraying the student journalists,
hitting one woman so hard “that her chest was bouncing up and down.” Appalled, she tried
to intervene: “I said ‘don’t touch her,’ I pulled my ID card out and said, ‘I am an elected
member of Congress.’”239 She remembers that one of the Riot Squad officers then turned
to her and said, “‘Carmen Yulín, this is for you.’”240 At that, one group of Riot Squad officers
circled Representative Yulín and the independent and student journalists from behind, and
another group of Riot Squad officers circled them from the front, leaving them surrounded
by a circle of officers inside the vestibule.

Two members of the security of the House of Representatives tried to assist Representative
Yulín by dragging her away from the Riot Squad officers as they struck her with batons
across her arms and back. The Riot Squad officers then sprayed Representative Yulín and
the student and independent journalists with pepper spray, spraying the students directly
in the face mere inches from their eyes, nose, and mouth. Because most of the doors
of the vestibule were closed at that point, the clouds of noxious pepper spray filled the
air. Representative Yulín, who suffers from severe asthma, felt her throat close and had
difficulty breathing because of the pepper spray, and notes that if the PRPD officers had
pepper-sprayed her as heavily as they did the students, “I could have died.”241 Representative
Yulín recalls that throughout the attack on her and the journalists, the Riot Squad officers
kept shouting, “Formation! Formation!”242 She received emergency medical treatment at
the Capitol infirmary, including injectable cortisone and oxygen because the pepper spray
had caused her trachea to close. Doctors also concluded that the baton blows had torn a
ligament in her left arm and caused multiple bruises on her legs, right ankle, and right
ribcage. While she was in the Capitol Building infirmary, she witnessed bloodied students
and journalists receiving emergency medical treatment.

Outside the Capitol, the group of students who planned to deliver the proclamation to the
legislature also tried to peacefully enter the Capitol Building, and the students were forcibly
repelled by the Riot Squad. Riot Squad officers hit several of these students with batons
on their faces, heads, arms, backs, and other parts of their bodies. Several of the students
tumbled down the marble stairs as a result of the Riot Squad using their batons to push,
strike, and jab them indiscriminately. Several of the students required medical treatment as
a result of the assault.




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As news spread about the protest at the Capitol Building and the media began to broadcast
images of police beating demonstrators as well as images of bloodied protesters being
assisted by paramedics, the size of the protest swelled. Thousands of citizens gathered near
the Capitol Building to join in the protest. Many of these protesters gathered in the public
plaza (plazoleta) across from the steps of the Capitol and other areas adjacent to the Capitol
Building.

After kicking and shoving the protesters off the Capitol Building’s steps, the Riot Squad
created a perimeter around the public plaza that leads to the front steps of the Capitol,
blocking off the only clear area for demonstrators to gather, and forcing demonstrators
to spill over into the side parking lots. The public plaza is a traditional public forum where
demonstrations take place frequently without incident, and has been used for years by
people seeking to exercise their First Amendment rights.

Once in the parking lots, the demonstrators continued their peaceful protest, holding
placards and chanting. After approximately two hours of peaceful protest, a police officer
approached the crowd and, using a megaphone, asked them to cooperate in moving cars
out of one of the parking lots. The police officer did not order the crowd to disperse, nor give
them instructions about where to move, or even give them warning about the consequences
of not “cooperating.” At this point, the PRPD had also mobilized the mounted police units
and the Group of 100.

Protesters remained in place and continued peacefully chanting, at which point the Riot
Squad began to move towards them. After a small number of protesters threw small
objects, such as water bottles, the Riot Squad and Group of 100 charged the crowd, striking,
pushing, pepper-spraying and jabbing students, union members, and other citizens
indiscriminately. Officers fired tear gas canisters from riot guns, in some cases aiming the
aluminum projectiles at protesters. A low-flying police helicopter sprayed tear gas from
above, blanketing protesters in noxious fumes. The majority of students, union members,
journalists, and other citizens were attempting to disperse and did not pose a threat to the
police or the public. Student Shariana Ferrer Nuñez described the tear gas that engulfed
her and other protesters: “It began with a really big, toxic cloud. It entered my lungs and I
felt that I was going to die—it’s grabbing your lungs and you can’t breathe. That is the most
horrible sensation I’ve ever felt. I started spitting, including spitting blood, and my eyes were
watering. I had a panic attack, freaking out that I couldn’t breathe.”243

Among those attacked by police were Betty Peña Peña, a ninth-grade schoolteacher and
community activist, and her 17-year-old daughter Elisa Ramos Peña, a high school student.
Betty had brought her daughter to the protest as a lesson in democracy; she explained, “As
a mother, I feel this responsibility to teach my children that when something is wrong in
our country, we must raise our voice.”244 Elisa explained, “It is an honor for us, the value of
standing up and using our voices to defend our Puerto Rico, and the feeling of saying, ‘No, I
will not let you destroy my Puerto Rico; I will not allow anyone to walk all over me, walk all
over my neighbor, walk all over my colleagues.’”245




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                                                                       “I never, I never
                                                                       thought I’d live
                                                                       through such an
                                                                       experience, and that
                                                                       my daughter would
                                                                       live through an
                                                                       experience like this—
                                                                       so, so horrible.”

Betty Peña Peña and her 17-year-old daughter Eliza Ramos Peña were attacked by Riot Squad officers while they
peacefully protested outside the Capitol Building. Police beat the mother and daughter with batons and pepper-
sprayed them.


Betty and Elisa arrived at about 4:45 p.m. and joined protesting professors from the
University Professors’ Association (Asociación de Profesores Universitarios de Puerto Rico,
or APPU). The crowd around them was singing and chanting slogans. They saw a number
of UPR students bleeding from injuries inflicted by police earlier, and witnessed a line of
Riot Squad officers push the students from the public plaza and into an adjacent parking
lot. Betty and Elisa had been protesting for about one hour and 45 minutes when they saw a
low-flying helicopter approach and douse them with tear gas. Betty, who has a respiratory
condition, could not breathe and looked for a place not choked with tear gas, but was
blocked by the line of Riot Squad officers.

They heard an officer with a megaphone order the crowd to move, but he gave no orders
about where they should stand instead and he did not order them to disperse. Within
seconds, without giving the crowd time to respond, a wall of Riot Squad officers began to
attack the protesters with batons and pepper spray. Betty explained what happened next:

        “Without waiting for an answer or nothing, they started. We were all surprised
        because then came the pushing, the batons, and Elisa received a blow, and
        she falls under a car, and then I receive another blow… I was trying to lift
        her up and they continued their onslaught, beatings, trampling, pulling…
        when all of a sudden, they drag Elisa. They were saying, ‘Grab her, grab her,
        you’re going to jail.’ I lose my flip flops, I drop everything, I try to go to her,
        to throw myself on top of her to prevent the police from harming her. Then I
        see that the police keep hitting, giving blows, raising the batons at her, and
        then at that moment, they come and they spray me with pepper spray on my
        face. For a few minutes, I fainted, because I couldn’t breathe. I felt my whole
        being was burning and it was a feeling like everything, everywhere inside
        me was burning… I had lost sight of Elisa…it may have been 20, 25 minutes,



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       when I later found her. I really couldn’t breathe; it was something that was
       truly unbearable. I never, I never thought I’d live through such an experience,
       and that my daughter would live through an experience like this—so, so
       horrible.”246

They fell below a vehicle, and police continued to beat them even while they were lying on the
ground. Betty threw herself on top of Elisa in an attempt to protect her from the Riot Squad’s
blows, and police continued to strike the mother and daughter with batons. Elisa explained,
“I wasn’t feeling well, I was dizzy, suffocating, and…I felt so bad and I thought I was going
to die. At that moment, I thought...that she was already dead, and all I could think of was
getting out of there to go and get my mom. All I could think of was getting away, and I said,
‘Oh my God, Lord, help me.’”247

Betty and Elisa were badly affected by the tear gas and pepper spray. Elisa suffered a
hematoma on the right side of her head, and Betty suffered a contusion from one of the
blows. Betty was unable to speak for a week because of the chemical agents police used on
her, and experienced difficulty speaking for a full year afterwards.

Betty told the ACLU, “Living in the United States with the right to free expression, I never
thought this would happen when we try to protest. The Capitol Building is the house of the
people. It is an open house, and to close it is a blow to democracy.”248 Elisa said, “At no point
in my life did I think that this would happen. In years of going to marches and strikes with my
mom nothing like this has ever happened. The government wants people to stay quiet, and
to stop protesting. I was raised by someone who knows her rights, so I know my rights, and
I will continue to express myself because this is my country, and it is important to do so for
the next generation, to carry Puerto Rico into the future.”249

Police also pepper-sprayed and pushed a legal observer for the Puerto Rico Bar Association,
lawyer and Bar Association president Osvaldo Toledo.250 Toledo was one of nine legal
observers, identified by yellow jackets. Toledo witnessed Riot Squad officers throwing
students down the stairs of the Capitol and pushing protesters across the public square. He
subsequently observed police beating protesters with batons, and witnessed one officer hit
a student directly in the head with a baton. When Toledo went to assist an injured student,
officers sprayed pepper spray in his face and pushed him. According to Toledo, the Riot
Squad’s actions seemed planned, and despite his and other legal observers’ efforts to speak
with the police, PRPD officers refused to talk or negotiate with the legal observers and
protesters. Although police later claimed students were throwing rocks at police, Toledo
reports that he did not see a single rock.251

Lieutenant Juan D. Vargas unholstered his firearm and pointed it at protesters; a photograph
captured the lieutenant with his gun unholstered. Some protesters reported that they heard
gunfire and believed the lieutenant had fired his gun; then-Superintendent Figueroa Sancha
later stated that the PRPD was unable to determine whether the gun had been fired because
ballistics tests were inconclusive. Lieutenant Vargas had recently been promoted to the rank
of Lieutenant despite a proven history of past violence against citizens, and his disciplinary



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file reportedly revealed he had more than two dozen complaints filed against him during his
career with the PRPD.

At this point, the Riot Squad, Group of 100, and mounted police split the crowd into three
groups and began to herd one group toward the ocean, while chasing another group on
horseback into Old San Juan, and forcing a third group of protesters to flee toward the El
Condado area of San Juan. Meanwhile, helicopters were shooting tear gas at the terrified
protesters who were attempting to escape. The terrified citizens, many of whom were
blinded by pepper spray and tear gas, were forced to run into oncoming traffic and pell-mell
through the streets in an attempt to escape the police violence. Many of the incidents that
day were captured on video and camera.252

Lawyer Hans Perl-Matanzo, who was present because some of the student activists had
asked for attorneys to be on hand, told the ACLU, “There were points where I seriously
considered that I might die. And I am not exaggerating. The Riot Squad police pushed me
back so hard that I fell 10 to 15 feet back. I lost my shoe. They imposed a perimeter and
pushed us away. The Riot Squad risk more lives than they are supposed to be protecting.”253

The protesters were so scared that they would be subjected to further police violence that
many contacted friends or relatives who lived within walking distance and took refuge in
their homes. Even several hours after they had been forcefully expelled from the Capitol
complex, many of them were still afraid to go home. One student, Xiomara Caro, hid at a
friend’s home in Old San Juan, terrified to be caught by the Riot Squad. She remained there
late into the night, unable to leave out of fear that the Riot Squad or other PRPD officers,
who were still roaming the streets, would target her for her role as a student leader and beat
her or arrest her for no reason.

Dozens of citizens were injured by police that day, a
number of whom required treatment for injuries at local        “It felt like we were walking
hospitals. Those injured included university and high
school students, journalists, attorneys, legal observers,      through a battleground
professors, and tourists. According to Rachel Hiskes,          with all the wounded there,
who sought medical attention for injuries caused by
the PRPD, “Burned in my brain is the image of one of           people with black eyes,
the students from the National Students Negotiating
                                                               everyone coughing, bloodied
Committee with his shirt bloodied from a head wound
that was still spouting blood. It felt like we were walking    faces and limbs that seemed
through a battleground with all the wounded there,
people with black eyes, everyone coughing, bloodied
                                                               unreal.”
faces and limbs that seemed unreal. We went looking for
an ambulance, and there really was none.”254

Afterwards, then-Superintendent Figueroa Sancha, who had been present at the Capitol
Building during the incident, publicly defended and justified the officers’ use of force.
Figueroa Sancha stated that he was directly responsible and “assumed full responsibility”



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for the use of chemical agents against protesters, stated that he “gave all of the instructions
personally today,” and he warned citizens that if faced with similar protests, his response
would be the same, “today, tomorrow…and next month.”255 Lieutenant Vargas, the officer
who unholstered and brandished his service firearm, was temporarily suspended with pay
following the June 30, 2010 incident; it is believed he is the only PRPD officer to have been
suspended as a result of the events of that day.

Student Rachel Hiskes told the ACLU that the police attack on her at the Capitol changed
her life and robbed her of her piece of mind, and she found the Superintendent’s public
statements particularly disturbing:

        “I was so affected I could not resume my normal activities….. And long after
        the burn from the pepper that lasted several days was the anguish of being
        a victim. I went to a psychiatrist, went to the doctor, took steps that made
        me feel better. But seeing the Police Superintendent on TV saying that he
        was responsible for all the orders, and that his response would be the same
        today, tomorrow, next month and next year shook me. His pointing finger and
        piercing eyes seemed to burrow under my skin, and I felt like he was after
        me, or people like me, the political dissidents and civil protesters as well as
        the alternative media that covered them.”256

Despite the widespread use of force, only two individuals were arrested for alleged damage
to a police vehicle; they were released after a judge found no probable cause.257 A Special
Commission of the Puerto Rico Bar Association (Comisión Especial Sobre Fiscalización del
Estado Actual de los Derechos Constitutionales) was created to investigate the events at the
Capitol. On July 8-9, 2010, the Special Commission conducted public hearings, during which
it recorded declarations from 48 people involved in the incident. The Special Commission
issued a preliminary report on July 12, 2010, concluding that the PRPD committed numerous
civil rights violations.258 The DOJ concluded in its report on the PRPD, “[I]t is evident that the
use of excessive force against protesters was directed at chilling speech and intimidating
protesters, rather than protecting public safety or restoring order.”259


ii. Second Protest at the Capitol

On January 27, 2011, UPR students organized a second demonstration outside the Capitol
Building. The Riot Squad was already in formation, blocking the steps to the Capitol, when
the student protesters arrived. The peaceful demonstration began with student leaders
reading a proposed bill that would create a scholarship fund for students unable to afford the
$800 tuition increase. After reading the bill, the students conducted a protest in the public
plaza adjacent to the north steps of the Capitol, where students chanted and held placards.
Notwithstanding the fact that the protest was peaceful and taking place in a location that
is traditionally a site of public protest in Puerto Rico, PRPD officers forcibly removed the
students after allowing them to protest for some period of time.




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PRPD officers used painful pressure point techniques on passively resisting student protesters, in which officers
targeted protesters’ carotid arteries, under their jaws, near their necks, their ears, or directly on their eyeballs.
Photo Credit: left, Indymedia (2011); right, Desde Adentro (2011)


The students then moved onto Avenida Constitución, directly behind the Capitol complex,
and some students began a sit-in on the public street, partially blocking traffic, while others
continued to chant and hold placards. As soon as the smaller group of students began their
sit-in at the Avenida Constitución, police officers began arresting those engaging in the sit-in
one by one. The police never advised the students where they should move, and never told
them they could protest in another location, but rather merely ordered them to “get out.”260

PRPD officers assigned to the CIC used painful pressure point techniques to carry out
the arrests on the passively resisting students, who were merely peacefully resisting by
linking arms and crossing their legs. As police officers disbanded one group of students,
other students would start a new peaceful sit-in a different part of the street. Using the
same harsh pressure point techniques as they had employed in earlier protests, the PRPD
painfully targeted the students’ most sensitive body parts—their eyes and eye sockets, their
necks including the area beneath their jaw and their carotid arteries, and their ears—to
move the students and then arrest them. In some cases, the police continued to apply the
pressure point techniques after students were handcuffed.
Police officers used these pressure point techniques on
dozens of students that day, many of whom were severely             “It was a torture tactic.
injured as a result. Some of the students experienced such
a significant loss of blood flow to the brain that they lost
                                                                    They would put pressure
consciousness. Police arrested 36 students.                         on our neck and our jaws,
Among the student subjected to the pressure point                                   stopping the blood flow
techniques was UPR student Zulee Aguilar, who was                                   to our heads… It is a pain
passively resisting arrest. CIC officers pressed on her neck,
jaw, and eyeballs, causing an “indescribable pain.”261 She                          that is so terrible—
briefly lost consciousness. She explained, “It was a torture
                                                                                    I couldn’t stand it.”
tactic. They would put pressure on our neck and our jaws,



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stopping the blood flow to our heads… It is a pain that is so terrible—I couldn’t stand it. He
kept pressing farther and farther up my face, then he started pressing against my eyes. I
started to lose conscience. He was huge, and he never even tried to put on the handcuffs,
but it would have been easy. I felt both a tremendous pain and a terrible fear, and indignation
that they are doing all this because I am defending education in my country.”262 She felt pain
for days after she was removed from the civil disobedience line.263 Student Shariana Ferrer
Nuñez said, “I heard the screams of pain and torture of my comrades and I knew I was next.
The two CIC agents had their hands on my neck and their fingers behind my ears. I started
screaming because I couldn’t breathe—it is an asphyxiation technique. One officer was on
my back, then he twisted my arms and cuffed me, but backwards so my wrist was bent back
painfully.”264

Police officers also used batons on the students participating in the sit-in and stepped on
their ankles while arresting the students. One student was not only arrested using painful
pressure point techniques that cut off his circulation, but he was also choked and dragged
several feet with a baton used by a police officer as a neck restraint. A PRPD officer grabbed
UPR student Victoria Carro Robledo’s breasts while moving her from one police van to
another after her arrest; her arms were handcuffed behind her back with plastic straps
when the officer grabbed her by her breasts.265

After the police had arrested and removed the students participating in the sit-in, the Riot
Squad then formed long chains and advanced on the larger group of students who were
peacefully chanting, waving flags, and holding up placards in support of their cause. Police
pushed these students with large plastic body shields, indiscriminately sprayed them with
pepper spray, indiscriminately launched tear gas canisters from tear gas guns, fired rubber
bullets and sting ball grenades at them, and beat them with batons. Some students reported
that PRPD officers fired rubber bullets directly at them, in some cases shooting students in
the back as they ran away. Some students suffered identifiable blunt impact wounds on their
chests and backs from the rubber bullets. UPR law student Ricardo Olivero said, “There was
a huge chain of Riot Squad officers in a line, barricading the area by shooting rubber bullets
and tear gas.”266

UPR student Amada Garcia told the ACLU, “They wouldn’t let us go. We were looking for a
way to leave, but they kept pushing us, and shooting, shooting, shooting tear gas…We were
20 students, with 40 Riot Squad officers behind us and 20 Riot Squad officers in front of
us. We kept running, all the way to the park, and they pursued us. We continued running
because we didn’t feel safe.”267 She added, “I felt that if they saw me they could kill me.”268
Garcia fled with some students to a public park, and about 10 mounted police on horses and
40 to 60 Riot Squad officers chased the students away, even though they had long abandoned
their protest and were merely sitting in the park.269

Police indiscriminately fired so many tear gas canisters that a nun exited a nearby parochial
school and chastised the officers for firing tear gas “with no warning or precaution” near the
school’s classrooms and basketball court, where children were playing.270 Multiple students
required medical treatment for tear gas inhalation and other injuries. Riot Squad officers
chased students as far as Puerta de Tierra, a substantial distance from the Capitol Building.


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c. Police Abuse against Protesting Students and Union Leaders and Members at the
Sheraton Hotel

On May 20, 2010, as the student strike at the UPR approached its fourth week, about 200
UPR students and labor union leaders and members gathered at the Sheraton Hotel to
protest a fundraising event at which Governor Fortuño was a guest. As the demonstrators
peacefully formed a picket line and chanted slogans on the other side of the street from the
side entrance of the hotel, the UOT (Riot Squad) and UOE (Group of 100) arrived but later
unexpectedly dispersed.

Soon thereafter, and as PRPD officers stood by and watched, a group of students entered
the hotel lobby, which was open to the public. The officers did not attempt to prevent the
students from entering the hotel lobby or tell the students that they were not allowed to do
so. The students entered the lobby because they wanted the Governor to see their picket
line. Inside the lobby the students again peacefully formed a picket line, held signs, and
began to chant. Suddenly, and with no advance warning, the Riot Squad burst into the
lobby and indiscriminately began to beat, push, kick, and pepper-spray students and other
protesters. Outside, standing near each of the hotel’s doors, PRPD officers blocked the exits
and struck students with their batons as they attempted to exit the lobby, in some cases
using their baton as bats to strike the students.

Police pepper-sprayed and clubbed a leader of the Office and Professional Employees
International Union, AFL-CIO, CLC of Puerto Rico (OPEIU), Iram Ramírez, who had entered
the hotel lobby in order to help students escape safely. An officer struck him in the back
with a baton. He witnessed police drag students by their feet, back into the lobby when they
attempted to leave.

Several police officers tackled UPR student José “Osito” Pérez Reisler, forcing him to the
floor, and at least two officers climbed on top of him and forced his face to the ground.
One of the officers then repeatedly Tasered him after he was restrained and incapacitated.
According to Pérez Reisler’s lawyer, Enrique G. Juliá Ramos, the officer shocked Pérez
Reisler six or seven times with the Taser, on the young man’s hips and back. When police
tackled him, Pérez Reisler was unarmed and had merely been peacefully holding a poster
stating “I am a graduate student and I support the strike.” Video footage capturing the
incident clearly shows that Pérez Reisler posed no threat and was already lying on the floor
face-down when he was Tasered.271 Juliá Ramos told the ACLU that Pérez Reisler required
hospitalization for days, during which he was evaluated by a doctor who concluded that he
could have died as a result of the Taser, because he suffers from a medical condition that
could be exacerbated by Tasering.272 Pérez Reisler was not charged with a crime.

Col. José A. Rosa-Carrasquillo, then Associate Superintendent of the PRPD and second-
in-command of the police department, kicked Pérez Reisler in the genitals while he was
incapacitated on the ground and being held down by at least two PRPD officers. Photographs
published by news media captured this unwarranted assault.




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Left, injuries inflicted by police on student protesters at the Sheraton Hotel political fundraiser, including a stu-
dent with a bloody wound caused by a beating with a baton and a student with bruising from baton blows on his
back. Right, the police Tasering of student José Pérez Reisler, who was unarmed and had merely been peacefully
holding a poster. Source: Indymedia (2010)



Outside the hotel, other protesters, including many labor union leaders and members,
were still picketing on the public street. Suddenly, PRPD officers corralled these protesters
and started to forcefully push them away from the hotel. As they did so, the police
indiscriminately pepper-sprayed, jabbed, hit, and shoved protesters with their batons even
as the demonstrators were trying to peacefully and quickly leave the area.

Video footage captured the officers using excessive force against numerous protesters who
had already been dispersed from the lobby and posed no threat or danger to the PRPD or
bystanders. The video footage clearly shows Riot Squad officers striking fleeing students in
the back with long riot-control batons, raising the batons over their heads and bringing them
down on students’ shoulders and backs, and in some cases chasing the dispersing students
and striking them repeatedly.273 Riot Squad officers also pushed the student protesters,
threw them to the ground, kicked them, punched them, and pepper-sprayed them at close
range. Officers also indiscriminately fired aluminum canisters of tear gas from riot guns at
the crowd of protesters, and video footage captures the canisters arcing through the air and
exploding around the protesters.



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The Riot Squad officers then attacked the union leaders and members who were peacefully
picketing outside the hotel, on a little-trafficked side street and on the sidewalk across the
street from the hotel. A Riot Squad officer pepper-sprayed and used a baton to hit Luisa
Acevedo Zambrano, President of the Central Workers Federation (Federación Central de
Trabajadores, or FCT), Local 481 of the United Food and Commercial Workers International
Union (UFCW). Acevedo Zambrano had been peacefully picketing with other union leaders
and members outside the Sheraton Hotel when she witnessed the Riot Squad attack the
student protesters inside the hotel. The Riot Squad officers then exited the hotel and started
beating, pepper-spraying, and tear-gassing the peacefully protesting union leaders and
members. Acevedo Zambrano explained, “When the police and the strike force came out…we
were on the street, and the strike force simply jumped on us…This entire force went towards
those who were participating in the picket line.”274

Acevedo Zambrano tried to ask the officers what was happening and why they were being
attacked, and Riot Squad officers sprayed pepper spray directly into her eyes and face and
struck her with a baton on the neck. The blow caused Acevedo to fall on the street, smacking
her skull on the ground. While she was on the ground a PRPD officer kicked her in the
shoulder. Other labor union leaders and members tried to rush to her aid, to prevent police
from trampling and pepper-spraying her as she lay helplessly on the ground. She explained,

       “Immediately, the police Riot Squad sprayed pepper spray on my face, directly
       into my face and eyes, just steps away from me. My face was completely
       bathed in pepper spray—I was completely blind, it is such a horrible thing.
       When I turned around they hit me on the neck with a baton on the neck, and I
       fell to the ground. They did not allow any of my comrades, who were with me
       at the time, to help me up or give me first aid, and anyone who approached
       would get sprayed with in their face so they could not do it. I was being kicked
       while on the ground… They threw blows indiscriminately, used their batons,
       tear gas and pepper spray to all of the participants who were on the street,
       and we didn’t have anything to do with what was happening inside the lobby of
       the hotel.”275

Acevedo’s throat swelled and she had trouble breathing because of the pepper spray,
and required emergency medical treatment at a hospital. She had a swollen bump on her
head, a bruise on her arm and elsewhere on her body, and cuts to her knees and elbows.
Her glasses were cracked. At the hospital doctors removed her clothes and cleaned off
the pepper spray, provided first aid to assist her to breathe, and took x-rays. Because the
baton blows were so severe, she had to remain hospitalized until nearly midnight. Acevedo
continued to have trouble speaking for some time as a result of being pepper-sprayed at
such close range. One year later, she required an MRI and a CT scan of her neck and cervical
vertebrae because she had ongoing problems caused by the baton blows.276

José Rodríguez Báez, President of the Puerto Rican Labor Federation (Federación de
Trabajadores de Puerto Rico, or FTPR) of the AFL-CIO, was pepper-sprayed and injured so
badly that he required emergency medical treatment at a hospital. Rodríguez Báez told



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the ACLU, “When we tried to help our fallen comrades, we were pepper sprayed at short
distance.”277 Likewise, Manuel Perfecto, President of the General Union of Workers (Unión
General de Trabajadores de Puerto Rico, or UGT), Local 1199 of the Service Employees
International Union (SEIU); Eric Sevilla, another leader of the UGT Local 1199; and John
Vigueras, a leader of the of the FTPR, also were beaten and pepper-sprayed by police.

The PRPD detained only four individuals at the Sheraton Hotel; two were released without
charge and prosecutors declined to prosecute the other two.278 One student, for example,
was held for at least nine hours, but was never charged. Although video footage and
photographs of the incident were widely reported in the Puerto Rico press and clearly
depicted PRPD officers using excessive force, then-Superintendent of police Figueroa
Sancha called the police officers “heroes” in subsequent public remarks.


d. Documented Incidents of Police Abuse against Protesting Union Leaders and Members
at Other Locations

Law 7 was so unpopular among labor unions that on May 1, 2009, an estimated 20,000
protesters joined the Frente Amplio de Solidaridad y Lucha’s call for a work stoppage
and marched outside Puerto Rico’s Labor Department to protest the law’s passage.
Subsequently, labor union leaders and members participated in multiple protests advocating
Law 7’s repeal.

According to Luisa Acevedo, President of the FCT Local 481, the PRPD’s forcible suppression
of labor unionists’ protests began in earnest in September 2009. She explained, “From
around the month of September, which is when the largest layoffs began, the police
deployed the Riot Squad against the workers, and there were many activities where we
were assaulted by the Riot Squad…The police practice was to always be present and try to
intimidate and punish all of those on the picket lines or protesting…At all of the activities,
the Riot Squad was there trying to intimidate us and to try to prevent us from making public
announcements about the injustices that were being committed. The police were very
consistently doing this at all of our activities.”279


i. The Governor’s Mansion

On September 29, 2009, four days after Carlos Garcia, the chairman of the Reorganization
and Fiscal Stabilization Board, announced that the government planned to fire 16,970
government employees, in addition to the over 8,000 workers who had been fired earlier in
the year, labor union leaders and members participated in a public demonstration outside
the Governor’s Mansion, known as La Fortaleza. Labor union leaders and other groups have
conducted demonstrations and acts of civil disobedience at the same location in the past,
without incident.




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At approximately 8:00 a.m. that morning, about 30 labor union leaders and members
gathered near one of La Fortaleza’s side entrances and set up a “protest camp” on
pedestrian-only Calle Fortaleza, a small side street located outside the Governor’s Mansion.
The protesters chanted and held placards. At no point did the protesters block car traffic
or interfere with pedestrian traffic; in fact, early morning commuters were able to use the
sidewalk to walk around the protesters. In a show of resolve, a group of four demonstrators
chained themselves to two small posts flanking the cobblestoned street, while the remaining
union members continued to hold placards and chant. When the PRPD arrived, a group of
union leaders explained to the officers that the four protesters who had chained themselves
together would not resist if the police tried to arrest them.

Within minutes the PRPD mobilized the Riot Squad. As was customary when responding to
public protests, the Riot Squad officers wore full riot gear, including padded body armor,
helmets with visors, crowd-control batons, and plastic shields. Upon their arrival, without
adequately giving the protesters an opportunity to move out of the way, the Riot Squad
immediately began to shove, strike, and jab the protesters with their batons, aiming for the
chest, head, stomach, arms, and legs, until they wedged the protesters up against a concrete
barrier that separates La Fortaleza from the main street. Those who fell back against the
barrier were unable to move and were trampled on by the Riot Squad.

Even as the protesters tried to move back, they were pushed and beaten by the Riot Squad
wielding their batons. Although the officers had been notified that four protesters were
chained to each other and to the posts were thus unable to move, the Riot Squad officers hit
these protesters repeatedly with their batons and kicked them with their boots.

Several protesters sustained serious injuries, including bruises and contusions, as a result
of the Riot Squad’s use of force. One police officer, for example, hit Iram Ramirez, a leader
of the OPEIU of Puerto Rico, over the head with his baton as Ramirez tried in vain to plead
with police officers to let a reporter who had fallen to the ground regain her footing and avoid
being trampled by the Riot Squad. Another police officer struck Luisa Acevedo Zambrano,
President of the FCT Local 481, in the breast with a baton.

None of the protesters was arrested. José Rodríguez Báez, President of the FTPR, told
the ACLU, “There was no reason to send in the Riot Squad,” adding, “[Our protest] was
completely nonviolent and our plan was to offer no resistance. We wanted to call attention
[to our demands] without committing any illegal act...We tried to find a place where we
wouldn’t impede the flow of traffic and we could show ourselves in front of the government,
to express ourselves to the seat of government, and for those reasons we chose that
place.”280 He explained, “The Riot Squad was very aggressive…. They kept pushing and hitting
us with their batons, cleaning the area of us.”




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                                                                   “There hasn’t been any
                                                                   bridge of communication
                                                                   with the government in
                                                                   the last two years. No
                                                                   communication of any
                                                                   kind; not in the streets,
                                                                   not in the courts, and
                                                                   not in the legislature.”
Union leaders Luisa Acevedo and José Rodríguez Báez, who suffered baton blows and pepper-spraying at close
range while peacefully protesting outside the Governor’s Mansion and a political fundraiser at the Sheraton
Hotel. Photo Credit: ACLU (2011)



ii. Government Development Bank for Puerto Rico

On September 25, 2009, union leaders organized a lunchtime protest attended by hundreds
of union members and government employees on the day that the second round of Law
7-related layoffs of public workers was expected to be announced. The protest took place
outside the Government Development Bank for Puerto Rico (Banco Gubernamental de
Fomento para Puerto Rico) in Minillas, at a time when the Board of Economic and Fiscal
Reconstruction (Junta de Reconstrucción Económica y Fiscal) was meeting to approve the
layoffs of 16,970 public workers. The group peacefully protested and chanted slogans
including “Workers united will never be defeated” and “Struggle yes, surrender no.”
A smaller group of union leaders also sought an interview with the president of the
Government Development Bank.

PRPD officers, including members of the Riot Squad, surrounded the protesting unionists
and pushed them with batons. Police formed a barricade around the public building, and
forcibly prevented the protesters from entering the government complex. No protesters were
arrested.


iii. The Supreme Court of Puerto Rico

On February 12, 2010, approximately 100 labor union leaders and members protested
outside the Supreme Court of Puerto Rico, which had declared Law 7 constitutional. The
labor union leaders and members were demonstrating against the ruling, as well as the
recent packing of the Supreme Court with three additional justices appointed by Governor
Fortuño. The unionists and workers picketed and marched in front of the entrance to
the Supreme Court complex, about 50 or 60 meters from the building itself. They did not
approach the stairs or the lobby of the courthouse.

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Police intercepted the picket line, refused to allow them to enter the exterior gates of the
Supreme Court complex, and ordered them to leave and “get out of here.”281 Police pushed
the protesters with batons and forcibly prevented the protesters from approaching the
exterior gates.282 Union leader Federico Torres Montalvo later told the press, “The only path
that remains to us is this one, the street, and we had advised the police not to provoke us, to
allow us to do our peaceful protests, because we were going to reach the doors to the Capitol
Building, to the Governor’s Mansion, and wherever necessary.”283 Luisa FCT Local 481 leader
Acevedo Zambrano told the ACLU that after the police forced them to abandon their protest
outside the Supreme Court, “More than indignation, I felt frustration. The police, they don’t
let us express ourselves. You feel impotence that you can’t even express yourself about what
is happening, because they won’t let you. There hasn’t been any bridge of communication
with the government in the last two years. No communication of any kind; not in the streets,
not in the courts, and not in the legislature.”284


e. Documented Incidents of Police Abuse against Protesting Students at the University of
Puerto Rico

i. Avenida Universitaria

In the early morning hours of August 21, 2009, the first weekend after the semester began,
police attempted to arrest a man, reportedly for drinking an alcoholic beverage on Avenida
Universitaria, a street near the UPR campus where university students frequent bars, cafes
and restaurants. When students gathered to verbally protest the police’s actions, more than
100 UOT agents belonging to the Division of San Juan arrived at the scene. They were armed
with batons, pepper spray, and tear gas, and indiscriminately attacked the students. Police
beat the students with nightsticks, fired tear gas canisters at them, and pepper-sprayed
them. Officers arrested five people, but dropped most of the cases because there was no
probable cause to support the arrests.285

Later, students gathered inside the fenced courtyard of a UPR college dormitory, Torre
Norte, and began to chant, “Abusers!” (“¡Abusadores!”) at the police nearby. The students
were not throwing objects or posing any threat. Suddenly and without warning, the officers
pointed a riot gun directly at the protesting students and fired a tear gas canister, striking
student bystander Michelle Padrón Gauthier, who was peacefully standing in the courtyard
of the residence hall where she lived. The canister severely injured her leg, slicing through
her pants and inflicting a deep wound in her thigh. She was wounded so severely that she
fell to the ground and was unable to walk. Officers continued to shoot tear gas canisters
at the group of protesting students, preventing other students from assisting her. Police
also blocked emergency vehicles from approaching the area, including an ambulance that
was called to assist her. Padrón Gauthier, a college athlete who had a sports scholarship
to attend the UPR, was confined to a wheelchair for about a month because of the injury,
after which she required a cane to walk, and was unable to complete the semester and
graduate as planned. She required emergency medical treatment and ongoing physical
and psychological therapy, and she has a four-centimeter-deep hole in her thigh. Padrón



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Gauthier filed a lawsuit against the PRPD for damages, and her lawyer said, “She is trying to
continue on with her life, but it is not easy.”286


ii. April to June 2010 Student Strike

On April 13, 2010, as a response to students’ call for action, the UPR General Student
Council held a General Assembly of Students at the UPR’s Río Piedras campus. The student
General Assembly approved a motion to create a Negotiating Committee to represent the
students before the UPR’s administration and also resolved to enact a 48-hour walk-out
if the administration did not heed their concerns. After numerous attempts to negotiate
with administration officials, on April 21, 2010 the General Student Council announced the
beginning of the 48-hour walk-out.

UPR administrators and officials continued to refuse to meet with the Negotiating
Committee. As a result, on April 23, 2010, the General Student Council announced the
beginning of an indefinite student strike. The strike grew in size and support, and by early
May, 10 of the 11 UPR campuses had joined the strike. Almost three weeks later, the student
General Assembly rejected a proposal introduced by university administrators, voting instead
to continue the strike.

Students set up a temporary camp at the center of the Río Piedras campus. Students
gathered to chant and hold placards against Law 7, the tuition increases, and various UPR
administration policies. Almost immediately after the second vote extended the strike,
the Riot Squad seized control of the main campus gates, limiting any means of ingress or
egress to the UPR campus. The Riot Squad blocked parents, professors, students, and other
supporters gathered outside the campus from passing anything—even food and water—to
students who the police had barricaded inside.

The strike lasted 62 days on the Río Piedras campus. Throughout the strike, police
surrounded and guarded the gates at the Rio Piedras campus. During that period, on
multiple occasions the Riot Squad used force and chemical irritants against student
demonstrators, student bystanders, and supporters including parents of students. PRPD
officers repeatedly struck with batons, hit, shoved, and pepper-sprayed students protesting
near the university gates and students who tried to enter the Río Piedras campus via
campus gates.

On April 23, 2010, recent law school graduate Hans Perl-Matanzo was beaten by Riot Squad
officers at the principal gate leading to the campus museum and library. The Riot Squad
officers were blocking the gate and not permitting students to enter the campus. Perl-
Matanzo, who was acting as a legal representative for the students, approached the officers
to say that a group of law students wished to enter the campus to protest and exercise
their right to speech and assembly.287 Perl-Matanzo told the Riot Squad officers that he
would enter the campus, and they could arrest him if they thought he was breaking a law.
He took only a single step toward the university gate, and two Riot Squad officers threw



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him to the ground and hit him with batons with six or eight strong dagger-type blows to his
chest and ribs.288 They kicked him once or twice once he was on the ground, and a third Riot
Squad officer pushed him with his baton. The blows caused Perl-Matanzo’s lung to partially
collapse and left him with painful bruises and inflammation on his chest and ribs; he
subsequently lost consciousness and required emergency medical treatment.289

On May 14, 2010, when student José “Osito” Pérez Reisler attempted to enter the UPR
gates, officers grabbed him, threw him to the ground, kicked him, beat him with fists and
nightsticks, handcuffed him, and pepper-sprayed his face at close range. At no time did
Pérez Reisler resist arrest. Officers held him for around nine hours but did not charge him
with a crime. At the time the police stopped and detained him, Pérez Reisler was carrying
a laptop containing the electronic version of his draft Master’s thesis; police confiscated his
bag and laptop upon taking him into custody and claimed no knowledge of the laptop when
Pérez Reisler was released. Pérez Reisler never recovered his laptop or his thesis from
police.

Also on May 14, 2010, one or more PRPD officers beat one student’s father, parole officer
Luis Torrez, in the face with a nightstick when he attempted to bring food to his son and
other students to show his support for the strike. Torrez customarily brought food to the
students while on his way to work, and although he saw police officers during each visit to
the perimeter of the Río Piedras campus, no officer ever informed him he could not bring
food to the protesting students. When he arrived to the campus gates on the morning of May
14 at about 7:30 a.m., he saw approximately 30 PRPD officers, led by a Sergeant of the UOT.
The Sergeant grabbed Torrez by his sweater and threw him to the ground, and while he was
on the ground he felt the officer or officers hit him in the face twice, breaking his glasses.
Officers then lifted Torrez and threw him to the ground before handcuffing and arresting him.
Torrez sustained a head wound that bled down his face, scratches on his wrist, and a foot-
long contusion of the shape and size of a police baton. He was detained in a cell for an hour-
and-a-half before police transported him to the emergency room of the Río Piedras hospital,
where he received emergency medical care, including a cranial X-ray. Police returned Torrez
to a cell until 6:00 p.m., when they permitted him to leave. He was never charged with any
crime, nor did police inform him of the reason for his arrest and detention. Torrez missed 15
days of work because of his injuries.290

Incidents such as these were common throughout the student strike. Indeed, UPR students
reported that they read postings by several self-identified PRPD officers on Facebook stating
that they were excited to have an opportunity to beat students and put an end to the student
demonstrations.


iii. December 2010 to February 2011 Student Strike

In December 2010, just as the second semester was getting underway at UPR, students
continued their campaign against the $800 fee increase, which was due to come into effect in
January 2011. That same month, Governor Fortuño declared in a televised appearance that



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Police arrest a student on the University of Puerto Rico campus. The ACLU has documented baseless mass ar-
rests of UPR student to put an end to their protests. A very small fraction of these arrests of student protesters
was supported by probable cause. Photo Credit: Andre Kang / Primera Hora (2011)



protests by extreme leftists would no longer be tolerated on the campus. His Chief of Staff,
Marcos Rodríguez Ema, declared in a televised interview that students and professors who
dare protest will be removed and get their asses kicked (“vamos a sacarlos a patadas”).

On December 13, 2010, the Chancellor of the UPR Río Piedras campus, Ana Guadalupe,
issued a 30-day ban on all First Amendment activity, including protests and group activities
anywhere on the university campus and asked Commonwealth government for assistance
in enforcing the ban. Chancellor Guadalupe extended the resolution banning protests on
the university campus, set to expire on January 13, 2010, for an additional 30-day period,
ending on February 13, 2010. After the second protest ban expired, Chancellor Guadalupe
reactivated the resolution on February 25, 2010 for a third 30-day period. The university
administration also limited any protest to small designated areas located outside the
campus, called “free speech zones” (áreas de libre expresión). A group of four students filed
suit for injunctive relief, challenging the ban on protest and other expressive activities as an
unconstitutional restriction on freedom of speech and expression, but both the lower court
(Tribunal de Primera Instancia) and the Court of Appeals (Tribunal de Apelaciones) denied
injunctive relief.291

Students told the ACLU that the designated “free speech zones” outside the campus made
it impossible for them to communicate their message. Students said that the “free speech
zones” were too small and completely surrounded by police. Until the Chancellor’s protest
ban and the recent police crackdowns, protesting UPR students have customarily marched
through the campus, within earshot of fellow students, alerting students to their message
and thereby gathering supporters along the way. Student Zulee Agular explained, “That area



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is not near the students who would hear us and would participate with us. We can’t raise
the consciousness of students inside the campus if you are outside. Also, no professors or
university administration officials—the people we wanted to direct our message to—could
hear or see us from that area.”292

Student protesters planned and executed a peaceful two-day walkout on December 7 and
8, 2010, during which private security contractors used violence against students. Guards
recruited by Capitol Security, a private security firm contracted by the university, patrolled
the campus, some bearing knives, sticks, pieces of wood, pipes and other objects they had
picked up around the campus. These hired guards had little or no training and bore no
identification badges. One student told the ACLU he witnessed about five of the security
officers savagely beat one student with sticks and kick him, injuring him so badly he had to
be hospitalized.293 A line of police outside the perimeter of the campus reportedly witnessed
the security officers savagely beat the student, but did not intervene.294 A video purportedly
of students breaking the windows of a security van was aired by local television news
channels.

Prior to the student walk-out, during the early morning hours of December 6, 2010, the
UPR administration had the various gates to the Río Piedras campus dismantled, removed,
or welded open, in an attempt to prevent student strikers from blocking other students’
access to the campus. After the student walk-out, the PRPD took over the campus, actually
occupying the inside of the campus itself. Some students estimated the number of police
officers who entered the campus that day at more than 300. This marked the first time in
over 31 years that the PRPD had entered and occupied the UPR Río Piedras campus, which
has been a traditional forum for student protest. The police presence on the campus ended a
longstanding Non-Confrontation Policy promulgated by the Academic Senate, which banned
PRPD police presence inside the campus, and was enacted following incidents of police
abuse against protesters including the fatal shooting of a UPR student by police over three
decades earlier.

On December 14, 2010, student leaders announced the beginning of another indefinite
student strike, passed by a majority of students at a General Assembly of Students held
by the General Student Council. Police were constantly present on the campus during the
strike: officers patrolled all around the university on foot, in police cars and SUVs, on police
motorcycles, and in golf cart-type vehicles; multiple mobile police units were stationed in
each of the parking lots on campus; and approximately twenty PRPD officers were stationed
at each gate to the campus. Some students estimated that there were 200 to 400 police
on the campus at any given time during the strike. Students told the ACLU that they felt
constantly threatened by the officers, who often harassed them. Student Gabriela Camacho
reported that one officer warned, “’The streets are dark and one day the press won’t be
there.’”295

Throughout the strike, the students organized peaceful marches and demonstrations both
on and off the campus. The locations of students’ protests included the gates of the UPR Río
Piedras campus, on side roads inside the campus, inside and outside the buildings of the



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                                         various schools (facultades) and administrative buildings
“In effect, it was a                     of the campus, and on the streets and sidewalks outside
                                         the campus. On some occasions the students would enter
prohibition of expression                the buildings of the various departments to peacefully
anywhere, by students                    march and chant, as student protesters have historically
                                         done for years on the campus. Starting on January 19,
specifically. There was                  2011 they also began to stage sit-ins, in addition to their
nowhere we could express                 usual marches. Despite the fact that the vast majority
                                         of these marches and demonstrations were entirely
ourselves. If we were                    peaceful and lawful, Riot Squad officers would attack the
                                         student demonstrators almost daily with tear gas, pepper
inside the campus, we
                                         spray, batons, sting ball grenades, and rubber bullets.
couldn’t protest. And once               Furthermore, during the second student strike, the PRPD
                                         used mass arrests without cause to intimidate students
they chased us outside                   and prevent them from engaging in protected speech.
they would prevent us
                                        The student protesters started the strike with a march on
from protesting. So we                  December 14, 2010, during which they sang and chanted
couldn’t.”                              slogans, and carried posters with messages such as “No
                                        to the quota!” (“¡No a la cuota!”) and “Get out police!”
                                        (“¡Fuera policía!”). While the students peacefully marched,
    Riot Squad officers would form a solid wall, advance on the students, and use batons,
    plastic riot shields, tear gas guns, and pepper spray to forcibly drive the students out of
    the university campus and into the “free speech zone” outside the campus. Student leader
    Xiomara Caro Díaz explained, “We would march through the university, and the police would
    say we can’t protest—they had a megaphone with an amplifier and would say you can’t
    protest in the university. Then the lines of Riot Squad officers would physically push us out
    of the campus, but then when we got out they would continue to prevent us from protesting,
    even outside the gates.”296 She added, “In effect, it was a prohibition of expression anywhere,
    by students specifically. There was nowhere we could express ourselves. If we were inside
    the campus, we couldn’t protest. And once they chased us outside they would prevent us
    from protesting. So we couldn’t.”297

      Thereafter, throughout the strike, whenever the students tried to protest on the campus,
      the Riot Squad would forcibly drive them off campus. The Riot Squad officers would fire
      aluminum tear gas canisters from tear gas guns that looked like grenade launchers,
      firing indiscriminately at the crowd of protesting students, and they would jab and strike
      at students with batons and spray them with aerosol cans of pepper spray. UPR student
      Roberto Morales explained, “It was really, really frustrating. You are in your university and
      you’re not doing anything illegal at all, and the police are threateningly and violently forcing
      you out of your university…Every single time we marched, they would form their lines and
      drive us out of the university. We never were able to continue protesting.”298

      Students organized a large, peaceful march on December 15, 2010, from the university
      campus to the Jardin Botánico, a building where the UPR President’s office and other central



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administration for the university is located, and which commonly has been the site of
student protests in the past. Outside the Jardin Botánico, the students organized a picket on
the Carretera Número Uno street, which blocked traffic. More than 100 Riot Squad officers
arrived and less than five minutes later, the students abandoned their picket and marched
back toward the campus to avoid being attacked by the police. As the student protesters
approached the campus, they turned onto the Avenida Universidad street, where they saw a
huge wall of hundreds of Riot Squad officers advancing toward them. Terrified, the students
started walking backwards toward the university gates with their arms linked, and a group of
UPR professors ran out and formed a human chain to protect the students from harm.

On December 20, 2010, the sixth day of the strike, students began a peaceful march at the
Natural Sciences building, where they chanted, sang, and held posters. Riot Squad officers
again attacked the student protesters, jabbing and striking them with long metal-tipped
batons, fired tear gas canisters at the students, and arrested students who were peacefully
marching and chanting slogans. One Riot Squad officer threw student Amada Garcia against
a wall, breaking her camera and causing a bloody wound on her finger, and told her, “If
you’re not quiet, I’ll throw you outside [of the university].”299 Garcia was unable to bend two
of her fingers for two months and has a scar on her finger from the injury she sustained that
day.300

PRPD officers told the students they had to leave because they were violating the regulation
banning protests on campus, and then violently forced the student protesters off campus.
Students trying to flee the police violence ran into the Plaza Universitaria building located
across from the entrance to the campus. There, Riot Squad officers corralled the student
protesters, beat them with batons, violently grabbed them and threw them to the ground,
and launched tear gas canisters that created a dense cloud of tear gas that engulfed them.301
A number of students suffered injuries. Seventeen students were arrested during the
incident, and a judge found cause for arrest in only eight of these cases.

On the morning of January 12, 2011, a group of 15 students entered the Humanities
building to hand out flyers stating “There is no reason to maintain the quota; we demand
real dialogue” (“No hay razones para mantener la cuota; exigimos diálogo real”). The students
knocked on the door of classrooms and asked professors for permission to address their
classes for three minutes and distribute the flyers. Approximately 30 PRPD officers,
including CIC officers, arrived. The CIC officers gave the students a one-minute warning to
leave the building. The students immediately started to walk downstairs to exit the building,
and 30 seconds after the warning, the officers violently arrested the students. Student
Roberto Morales told the ACLU that while he was walking down the stairs to exit, two
officers grabbed him, one grabbing his back and the other grabbing his shirt, violently threw
him to the floor face-down, and handcuffed him tightly and painfully with plastic restraining
straps.302 The officers then pulled him to his feet by yanking him by his arms, which were
pinned behind his back. Student Manuel Ortiz told the ACLU that the officers arrested him in
a similarly violent manner, and PRPD officers continued hitting him even after he raised his
hands to show he was not resisting.303 Officers jabbed one student with the metal tip of his
baton, and beat another with a baton.



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The officers arrested nine of the student leafleters and one student who was merely going
to the bathroom during class and sobbed while the officers arrested her. At the Hato Rey
Oeste police station, officers did not know the names of the arresting officers nor the basis
for the arrest. The students were held in a cell for eight hours before being released without
explanation. The students were not given any food while in the cell, and when one of the
female students complained she was hungry, an officer grabbed his crotch and told her,
“’You can eat this.’” One of the students required treatment at a hospital and had to wear a
sling on his arm because of the baton blows he received. None of the students received any
citation, and none was charged with any crime.

On January 13, 2011, the date the university began to process the $800 fee increase, a large
group of students protested outside Plaza Universitaria, the administrative building housing
the offices to process payments. The students held banners stating “No to the quota!” (“¡No
a la cuota!”), posters with slogans such as “Get out police” (“Fuera policía”), and homemade




Injuries inflicted by police on UPR students during the February 9, 2011 student paint-in. Below left, police use
excessive force to arrest a student during the peaceful protest. Photo Credit: Lower left, Indymedia (2011); right
and upper left, ACLU (2011)



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shields of wood and plastic, some stenciled with “To defend the UPR” (“A defender la UPR”).
Riot Squad police violently dislodged the students with tear gas, pepper spray, and batons.
Students suffered injuries, including one female student who suffered a split brow from a
baton blow.

The students then tried to peacefully march through the Río Piedras campus while chanting
slogans. Riot Squad officers continued to pursue them, and one officer announced through
a megaphone that their protest was illegal and ordered the students to move their protest
off campus. Riot Squad officers then forced the students off the campus, onto the Avenida
Barbosa, one of the streets that borders the campus. There, the police violently arrested
students. PRPD officers grabbed students in chokeholds, used their batons to choke
students around their neck, and threw students to the ground.

That day, the police arrested six students, five of whom were
later released without charges. Among those arrested was           “I still see it in my sleep.
law student Gamelyn Oduardo, who was peacefully marching
on a sidewalk when police beat him with batons and arrested        I saw hundreds of
him. Oduardo said, “I still see it in my sleep. I saw hundreds     members of the Riot
of members of the Riot Squad running towards us. Our
exit was blocked. A Riot Squad officer attacked me with            Squad running towards
a baton, and other officers screamed, ‘Catch him! Catch
him!’”304 He said, “Instead of putting me under arrest, they
                                                                   us. Our exit was blocked.
repeatedly beat me…They weren’t arresting me, they were            A Riot Squad officer
beating me. I didn’t see the handcuffs; what I saw were
the batons. It wasn’t until after they had me in a wrestling       attacked me with a
headlock (me hicieron una llave) that they arrested me.”  305
                                                                   baton, and other officers
Oduardo added, “Instead of police officers they seemed like
a gang of delinquents.”306 During his arrest, officers painfully   screamed, ‘Catch him!
tightened plastic handcuffs on his wrists and repeatedly told      Catch him!’”
him his protest was worthless; he experienced pain from
the baton blows for three weeks afterwards. Oduardo also
witnessed PRPD officers throw another student “like a sack
of potatoes” who began convulsing upon crashing to the ground. Nonetheless, PRPD officers
arrested the convulsing student, who began to vomit in the police bus; the officers asked
Oduardo and other arrested students whether any of them were paramedics.307 A judge
found no probable cause to support Oduardo’s arrest.

On January 19, 2011, the students staged the first sit-in of the strike. The students sat
linking arms and sitting cross-legged side-by-side at the gates of the university while
other students stood nearby chanting and holding placards. As students sat and chanted
along with fellow supporters, the Riot Squad surrounded them on all sides, forming a wall
between them and their supporters. CIC officers then used harsh and violent pressure point
compliance techniques on the students engaged in the sit-in. These painful techniques
included the PRPD digging their fingers deep underneath the students’ ears and above their
jaws, and forcibly lifting and dragging them by exerting extreme pressure on these points.



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Other pressure point techniques involved causing the students pain by targeting pressure
points under the students’ jaws, near their necks or ears, or directly on their eyes and eye
sockets. The students were merely passively resisting arrest, doing nothing more to resist
arrest than to link arms and cross their legs. In some cases, police used these techniques on
the students even after they had already been securely handcuffed or otherwise restrained
by the PRPD. For example, students witnessed police continue pressing on Ian Camilo
Cintrón’s jugular and neck after he already was handcuffed with his arms behind his back
and restrained by four officers.

Among the students involved in the sit-in was Rafael Ojeda, who told the ACLU that PRPD
officers applied pressure to his neck and on his carotid artery, then threw him to the ground
and kneed him in his back and neck while he was face-down with his arms behind his back.
An officer twisted his wrist back, causing wrist pain that persisted for two weeks, and his
knees hurt for months.

Forty-nine students were arrested at the sit-in. The arrested students received citations
for obstruction of a public thoroughfare, but judges reportedly found no probable cause to
support the arrests and none of the arrestees was charged with a crime.

On January 20, 2011, the students staged the second sit-in of the strike. About 20 to 25
students protested at each gate to the campus. PRPD officers, including Riot Squad, applied
press point techniques on the peacefully resisting students, who were sitting with their arms
linked. UPR student Zulee Aguilar explained, “It was really easy to put my hands behind my
back [and handcuff me], but instead they treated me as if I was a criminal,” adding, “The
torture techniques—because in reality that’s what they are—caused an indescribable pain,
and they affected my circulation and left a mark on my neck.”308

On January 25, 2011, students carried out another sit-in at the university gates. PRPD
officers, including Riot Squad officers, arrested the students one-by-one, again applying
pressure point techniques to each passively resisting student. Among those arrested was
law student and founder of the Radio Huelga student radio station Ricardo Olivero, who was
transmitting live from the event and not participating in the sit-in. PRPD officers grabbed
him and after they had immobilized him with his arms behind his back, they began to apply
the pressure point techniques, pressing on his carotid artery. Olivero explained, “It hurt a
ton—there’s a nerve at the spot where they press—and it made me dizzy and completely
lose balance.”309 According to Olivero, when he tried to speak to journalists while the PRPD
officers dragged him away, an officer forcefully grabbed him by his waist and told him “Shut
up, don’t talk to the press.”310

Also on January 25, 2011, students tried to carry out a picket outside the university gates,
in the street, and mounted police officers pursued them. UPR student Zulee Aguilar told
the ACLU, “We were running; we ran to protect ourselves, and they kept pursuing us. There
were many [police] horses. We were protesting without any violence, and we weren’t even
paralyzing traffic or interfering with anything.”311




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On the first and second day of classes for the semester, February 7 and 8, 2011, Riot
Squad officers forcibly prevented students from protesting at various locations, breaking up
peaceful marches and a protest that involved reading poetry.312

On February 9, 2011, police violently attacked students participating in peaceful paint-
in (pintada) in front of the library, Biblioteca Lázaro. Paint-ins, in which students paint the
sidewalk and road in front of the campus’s main library with political messages of all
types, are a tradition on the UPR campus. The road is named Consciousness Street (Calle
Consiencia) in honor of this tradition. Students gathered to peacefully paint messages such
as “No police,” “No quota,” and “Defend your freedom, express what you feel.” CIC officers
arrived and began filming the students, and more police arrived. The students began
chanting “Get out, get out, get out police.” The Riot Squad then arrived and heavily sprayed
the students with pepper spray. Riot Squad officers began to strike the students with
nightsticks, chasing them down. Students ran into the library in an attempt to escape the
beatings; Riot Squad officers tried to chase them inside, but library employees assisted the
students to hold the doors shut. Students estimate that around 100 police officers, including
Riot Squad and CIC officers, were involved in the incident.

Student Shariana Ferrer Nuñez said that the PRPD were so violent that she thought that
a student may be killed by police. She said, “The police pepper-sprayed us as we were
leaving, with our backs turned. From there we ran and ran throughout the campus. But we
were on the campus—a bubble—so there’s nowhere to run. The police were at every gate,
every department building. You could try to run to a classroom, but there would be police
there. There was nowhere to hide. This is the incident that most marked me. You could be
crying on the floor and bleeding from your head, and the police wouldn’t stop.”313 Student
Roberto Morales told the ACLU, “We were quietly painting and talking amongst ourselves,
but the police were savage that day. They were hitting and pushing people for no reason. It
was really bad, really unfair, and totally unjustified. Obviously they don’t agree with us, and
they have the physical power to stop us. Since it’s political, it’s personal. The Superintendent
of Police, the Chancellor, and the Governor are against what we believe and what we do to
express our beliefs.”314

Twenty-eight students were arrested, including some who were merely on their way to
class. All of the students arrested were subsequently released without being charged.
Zulee Aguilar reported that she was arrested after Riot Squad officers swarmed one of
the departmental buildings where she happened to be walking, threatened students with
nightsticks, and ordered them to exit the lobby even though many students were in class or
studying inside the building at the time.315 Guillermo Torres Grajales, an accounting student
who was not a part of the protest but merely had come in early to make a change to his class
schedule, was beaten and arrested.316 About four Riot Squad officers beat Torres Grajales
with nightsticks so severely that he bled from his head and arm. He explained that because
of the PRPD’s actions, he feels less able to participate in protests: “You have to stay quiet or
else they will arrest you.”317




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                                                                  Guillermo Torres Grajales,
                                                                  an accounting student
                                                                  who was not a part of the
                                                                  protest but merely had
                                                                  come in early to make
                                                                  a change to his class
                                                                  schedule, was beaten and
                                                                  arrested.

Guillermo Torres Grajales, a University of Puerto Rico accounting student. About four Riot Squad officers beat
him with nightsticks so severely that he bled from his head and arm. Photo Credit: ACLU (2011)




Many students, parents and other relatives of students, professors, and other non-teaching
university employees were furious about the police violence, and they marched together
with students toward the Chancellor’s office. The large crowd peacefully chanted inside the
vestibule of the clock tower building housing Chancellor Guadalupe’s office.

UPR president José Ramón de la Torre resigned on February 11, 2011. In a letter dated
February 10, President de la Torre requested that the Superintendent at the time, José
Figueroa Sancha, remove the police. On February 14, 2011, the majority of the police were
ordered off campus, but some remained.

On some isolated occasions, some students did engage in unlawful activity. However, these
incidents do not justify the PRPD’s consistent use of excessive force on protesters who posed
no threat on other occasions. On January 11, 2011, people who were alleged to be members
of a small militant wing of the student movement, called “encapuchados” for the masks they
wear, set off smoke bombs to disrupt classes being held despite the strike, and smashed
windows and overturned tables in the Student Center’s fast food court. No arrests were
made, although police were present throughout the incident. The coordinating committees
of the student movement issued statements repudiating the vandalism. On March 7, 2011,
students surrounded the department of Architecture building, where Chancellor Guadalupe
attended a meeting, and some of the students attacked her as she tried to leave the building.
These students pulled her hair and sprayed her with water, despite the cordon of security
guards surrounding her. Students also smashed the windows of her car.




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   The Puerto Rico Police Department systematically fails to protect
   women and girls from abusive partners and ex-partners, and it is
   not policing crimes of domestic violence and sexual assault. Puerto
   Rico has the highest per capita rate in the world of women over 14
   killed by their partners.




Family members cry at the crime scene where Sandra Villafañe Silva’s estranged husband of 20 years fatally
stabbed her 50 times before taking his own life. Source: Andre Kang / Primera Hora (2011)




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VII. Failure to Police Crimes of Domestic Violence and
Sexual Assault


The PRPD systematically fails to protect victims of domestic violence and to investigate
reported crimes of domestic violence, sexual assault, and even murders of women and girls
by their partners or spouses. The PRPD is failing to protect women from abusive partners
and spouses, and the PRPD is not policing those crimes when they are committed. The
PRPD is not doing enough to ensure that women confronting domestic violence utilize the
legal options available to them, and it is not adequately enforcing existing protective orders
by arresting abusers who violate orders that are in place. The PRPD also is not adequately
responding to or investigating rape crimes, and it is significantly underreporting these
crimes. Moreover, the PRPD has recorded an appalling number of complaints of domestic
violence by PRPD officers, and the PRPD’s failure to address domestic violence among its
ranks is symptomatic of a larger institutional dysfunction of the police department’s policing
of domestic violence and other sexual and gender-based crimes.


a. Failure to Prevent Intimate Partner Homicides

The PRPD is failing to prevent murders of women and girls by their spouse, partners, and
ex-partners. Puerto Rico has the highest per capita rate in the world of women over 14 killed
by their partners. The numbers are disturbing, and climbing: 107 women were killed by their
intimate partners in the five-year period from 2007 to 2011. The number of women killed by
their intimate partners jumped significantly in 2011, to 30 women killed, up from 19 in 2010.
According to news reports, 21 women were murdered by intimate partners in the first six
months of 2011 alone.318 In 2006, the PRPD reported 23 murders of women at the hands of
their partners or spouses, placing Puerto Rico first on an international list comparing the
number of women killed in each country/territory by their partners per million women over
the age of 14.319

To put the incredibly high rates of domestic violence homicides in Puerto Rico into
perspective, the ACLU examined the number of women killed by intimate partners in Los
Angeles, which has a population close to that of Puerto Rico (according to the 2010 Census,
Puerto Rico’s population was 3.726 million, while Los Angeles’s was 3.793 million). Thirty
women were killed by their intimate partner in Puerto Rico in 2011; in Los Angeles, five
women were killed by their partners that year.320 While 107 women were killed by their
intimate partners over the five-year period from 2007 to 2011, 42 women were killed over the
same period in Los Angeles.321

Thirty women killed by their partners in a single year, 2011, not only is a huge increase in
Puerto Rico, but is significantly higher than the rate that would be expected based on U.S.
national numbers. The DOJ estimates that the rate of intimate partner homicides with



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female victims is 1.07 per 100,000 female residents in a year (this is a 2007 figure, the most
recent statistics available).322 Census figures show that there were 2,063,918 women in
Puerto Rico in 2009. Based on the U.S. national intimate partner homicide rate and Puerto
Rico’s population, one would expect the number of women killed by their intimate partners
over the course of a year to be about 27 percent lower (22 women).


Table 4: Intimate Partner Homicides of Women in Puerto Rico versus Los Angeles,
2006-2011323

                              2011        2010       2009        2008       2007      2006
Women killed by intimate
                              30324        19         16          26         16        23
partners in Puerto Rico
Women killed by intimate
                                5          8           5          10         14        N/A
partners in Los Angeles325



Unfortunately, appropriate PRPD response and intervention could have prevented some of
these tragic killings. The recent killing of 44-year-old nurse Wanda I. Camacho Meléndez is
emblematic of the PRPD’s systematic failure to protect women from violent partners and ex-
partners. Camacho Meléndez was stabbed to death, allegedly by her ex-partner, Alexander
Rodríguez Vélez, on February 14, 2012.326 Camacho Meléndez had repeatedly gone to the
police seeking protection from her partner, who had threatened her with death and beat
her on multiple occasions.327 On November 12, 2011 she sought assistance from the PRPD
domestic violence division in Fajardo, and reported that her ex-partner had stabbed her one
week earlier, on November 5, 2011.328 The police did not initiate any investigation into her
allegations, and did not process the attack as an assault or a domestic violence crime.329
Instead, the police processed the case as a stalking case and a request for a protective
order, which was granted to Camacho Meléndez.330

On November 16, 2011, Camacho Meléndez returned to the police to report that Rodríguez
Vélez had violated the protective order.331 According to press reports, she reported that
he had vandalized a gas line and called her at the hospital where she worked, telling her
that he was going to “see her dead.”332 A PRPD officer says he consulted with the district
attorney’s office, which did not find probable cause to charge Rodríguez Vélez with violating
the order of protection, because a call log at the hospital did not document the call.333 The
district attorney’s office has since told journalists that the PRPD never informed them of the
previous stabbing incident.334

On December 14, 2011, Rodríguez Vélez again violated the protective order by going to
Camacho Meléndez’s house; a neighbor was there at the time. Charges were brought
against him for violating the order, but he was not taken into custody.335

On February 14, 2012, Rodríguez Vélez again violated the protective order by approaching
Camacho Meléndez.336 He was wearing an electronic GPS-tracking device, which alerted


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Nurse Wanda Camacho, in a family photo with her brothers and father (left), was stabbed to death, allegedly by her
ex-partner. She had repeatedly gone to the police seeking protection from her partner, but police did not investi-
gate her allegations and failed to enforce a protective order. Photo Credit: Angel Luis García / El Nuevo Día (2012)


police that he had violated the protective order. Police did not follow protocols, which require
them to immediately contact the domestic violence victim to alert her that her abuser had
violated the order and was nearby.337 Rodríguez Vélez stabbed Camacho Meléndez in her
back, face, and abdomen, and she died of her injuries.338 Rodríguez Vélez has been charged
with murder, attempted murder, and weapons violations, and is currently being held on $6.5
million bail.339

In other cases the PRPD’s failures have not been as starkly revealed, but the following
cases raise serious concern that the PRPD is failing to protect women from their abusers.
Information on the following cases of women reportedly killed by their partners and spouses
in 2011 is based on public reports and news media reports. There are not final adjudications
of guilt or innocence in a number of these cases, and in some of these cases criminal
litigation is pending. Because it is difficult to obtain case information except where the
case emerged in newspaper headlines, this research relies heavily on cases that have been
exposed by local news media.


Table 5: Women Killed by their Partners and Spouses in Puerto Rico in 2011

 Name                   Age     Date                   Description
 María Margarita        56      January 8, 2011        María Margarita Ramos García, 56, was the first
 Ramos García                                          victim of an intimate partner homicide in 2011.
                                                       According to press reports, she was killed by her
                                                       husband of over 30 years, José Cruz Martínez, 58,
                                                       while she slept. After shooting his wife in the head
                                                       he took his own life. Both bodies were found in
                                                       their bed after police responded to a call from their
                                                       daughter, Yaska Cruz Ramos, who reportedly became
                                                       concerned after her mother was not answering her
                                                       phone.340


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Elisa Rosa       29   January 9, 2011    Elirosa Figueroa Pagán, a 29-year-old mother of
(“Elirosa”)                              a seven-year-old daughter, was allegedly fatally
Figueroa Pagán                           stabbed 15 times with a machete by her ex-partner,
                                         Víctor Amaro Texidor, in the town of Patillas. Amaro
                                         also allegedly wounded Figueroa Pagán’s ex-husband
                                         in the attack. According to press reports, Figueroa
                                         Pagán had left Amaro days earlier to reconcile with
                                         her ex-husband, who was also the father of her
                                         daughter. Amaro reportedly had been criminally
                                         charged in 2007 for violation of the Domestic Violence
                                         Prevention and Intervention Law (Law 54), stemming
                                         from complaints of domestic violence filed against
                                         him by a previous girlfriend. Amaro also reportedly
                                         had an outstanding warrant for his arrest issued one
                                         month before the attack, for failing to appear at a
                                         hearing for charges of aggression against Figueroa
                                         Pagán’s ex-husband. Amaro was charged with first
                                         degree murder, two counts of attempted murder, and
                                         weapons violations.341


Moraima Muñiz    39   January 15, 2011   Moraima Muñiz Muñiz, a 39-year-old mother of
Muñiz                                    four and nursing student, was allegedly stabbed to
                                         death by her ex-boyfriend, Modesto Tosado Nieves,
                                         56, in the Túnel de Guajataca, a beachside railroad
                                         tunnel. Muñiz was killed shortly after she ended their
                                         three-year relationship. Tosado Nieves reportedly
                                         killed her in front of her 18-year-old son, who
                                         called for emergency assistance. When police later
                                         took Tosado Nieves into custody he reportedly had
                                         wounds consistent with a suicide attempt. According
                                         to Muñiz’s sister, María, prior to her murder Tosado
                                         Nieves had threatened her sister with harm if she did
                                         not return to him. Tosado Nieves was charged with
                                         first degree murder and weapons violations.342




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Sasha Hernández   30   January 22, 2011   Sasha Hernández Alemar, 30, was allegedly killed
Alemar                                    by her ex-boyfriend, Abed Nego González Vélez,
                                          35. According to press reports, he stabbed her 26
                                          times in the ballpark of the housing complex Río
                                          Cristal in the urban center of Mayagüez, where she
                                          lived with her grandmother and her 6-year-old and
                                          12-year-old daughters. Hernández Alemar reportedly
                                          had previously lived for some time in a shelter for
                                          abused women in Ponce, where González Vélez had
                                          found her and resumed their relationship. According
                                          to press reports, she had moved in with her
                                          grandmother after they split a second time. González
                                          Vélez reportedly confessed to Puerto Rico newspaper
                                          Primera Hora that he killed Hernández Alemar when
                                          she told him she had a new boyfriend. González Vélez
                                          was charged with first degree murder and weapons
                                          violations.343

Iris Nidia Lugo   23   January 28, 2011   Iris Nidia Lugo Garcia, 23, was killed by her ex-
Garcia                                    partner, 45-year-old Francisco Mercedes, who shot
                                          her twice in the face while she sat in her car. They
                                          had separated several months earlier. Mercedes
                                          then took his own life in the same vehicle.344

Wilmary Vázquez   24   February 4, 2011   Wilmary Vázquez Hernández, 24, was allegedly
Hernández                                 stabbed to death by her ex-husband, José Ramón
                                          Maldonado Bones, 34, in Villa Kennedy, in the
                                          town of Loíza. Maldonado Bones allegedly beat her
                                          and stabbed her in the abdomen, back, arms, and
                                          hands with two knives because of a dispute over
                                          child support payments. Their three-year-old son
                                          reportedly witnessed part of the murder; a friend
                                          who was with her fled with the child during the
                                          attack. Maldonado Bones’s stepmother told a Wapa
                                          television broadcast journalist that he had a history of
                                          domestic violence against other women. Maldonado
                                          Bones was charged with first degree murder,
                                          attempted third degree murder, and weapons
                                          charges.345




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Claribel Rivera    38   March 9, 2011    Claribel Rivera Wilson, a 38-year-old mother of four,
Wilson                                   died on March 9, 2011 at the Medical Center in Río
                                         Piedras, seven days after her partner, Reinaldo Díaz
                                         Alvarado, 40, shot her in the head. Rivera Wilson’s
                                         15-year-old son reportedly witnessed the killing. Díaz
                                         later committed suicide, reportedly with the same
                                         weapon he used to kill Rivera Wilson.346

Marina Guiador     37   March 5, 2011    Marina Guiador Díaz, 37, was beaten to death by her
Díaz                                     partner. Alongside her body, her partner José Manuel
                                         Ventura, 38, was also found dead by hanging.347

Sandra Villafañe   39   March 16, 2011   Sandra Villafañe Silva, a mother of two, was stabbed
Silva                                    50 times by her husband of 20 years, Alberto Bracero
                                         Morales, at the gas station that they operated
                                         together. They had been separated for three months
                                         at the time of the killing. Bracero Morales reportedly
                                         committed suicide after killing his wife.348


Helen Pérez        32   March 27, 2011   Helen Pérez Darnet, 32, was fatally shot by her
Darnet                                   partner in her apartment in the Puerto Nuevo sector
                                         of San Juan, where they had lived together for 10
                                         months prior to the murder. The murder took place in
                                         the presence of at least six witnesses, including her
                                         three children ages 5, 14, and 16.349

María de Lourdes   45   March 29, 2011   María de Lourdes Cortés Rosado, 45, and a friend
Cortés Rosado                            were allegedly shot and killed by her ex-husband
                                         of 15 years, Héctor Manuel Rivera Cruz, 39, in the
                                         town of Añasco. Cortés Rosado’s husband reportedly
                                         fired five shots at her male friend and three shots
                                         at her after he saw them kissing. Rivera Cruz, who
                                         reportedly confessed to the killings, was charged
                                         with two counts of first degree murder.350

Gloria Hernández   47   March 30, 2011   Gloria Hernández Orsini, a 47-year-old mother of
Orsini                                   four, was found by her daughter stabbed to death in
                                         a parked car in a parking lot of a shopping center in
                                         Ponce. Her intimate partner of five years, Madeline
                                         Gonzáles Torres, allegedly stabbed her 10 times.
                                         Gonzáles Torres was charged with murder.351




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Frances Feliciano   17   April 7, 2011    17-year-old high school student Frances Feliciano
Cappas                                    Cappas was allegedly shot in the head by her
                                          17-year-old boyfriend, Kevin William Díaz Olán, in
                                          Yauco. The teenage girl’s friend reportedly witnessed
                                          the shooting. Olán drove his already brain-dead
                                          girlfriend to the hospital, where he reportedly
                                          provided conflicting stories. The girl’s parents
                                          ultimately made the decision to remove life support
                                          and donate her organs. Díaz Olán was subsequently
                                          charged with first-degree murder.352

Aida Cruz Ivette    47   April 23, 2011   Aida Cruz Ivette Ortiz, 47, a mother of two who
Ortiz                                     worked as a secretary at a hospital clinic for children
                                          and adolescents, reportedly was stabbed to death
                                          by her partner Hipólito Sevilla Sevilla, 63, in the
                                          town of Gurabo. According to relatives of Ivette Ortiz,
                                          she had filed complaints with the PRPD against
                                          Sevilla for domestic violence in the past. Sevilla,
                                          who worked as a security guard, reportedly had
                                          previously threatened her on multiple occasions, and
                                          had chased her with a gun during an earlier incident.
                                          Sevilla was charged with first degree murder,
                                          weapons violations, and domestic violence.353

Rosaura Sánchez     28   May 6, 2011      According to press reports, Eduardo Feliciano
Cruz                                      Alvarez, 32, scaled eight stories of his ex-partner’s
                                          condominium building, climbing up the balconies,
                                          to break into the Aguadilla apartment where his
                                          ex-partner Sánchez Cruz, 28, slept with their two
                                          children, ages two and six. They reportedly had been
                                          partners since she was 12 years old. He reportedly
                                          shot and killed Sánchez Cruz in front of their children
                                          as she tried to flee down a hallway, injuring their
                                          two-year-old son, who was in her arms. Feliciano
                                          Alvarez subsequently committed suicide with the
                                          same gun he used to kill his ex-partner. Feliciano
                                          Alvarez reportedly had been charged with domestic
                                          violence in 2010, stemming from a complaint filed by
                                          a previous partner.354




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         The funeral of María Margarita Ramos García, who was fatally shot in the head by her
         husband of over 30 years. Photo Credit: El Nuevo Día (2011)




Linda Rivera Cruz   44      June 8, 2011          Linda Rivera Cruz, a 44-year-old mother of four,
                                                  was found dead by her 12-year-old daughter in
                                                  the apartment of her boyfriend of approximately
                                                  one year, Rocaford Carrero Morales, 56. She had
                                                  reportedly been stabbed eight times. Neighbors told
                                                  journalists that they had witnessed Carrero Morales
                                                  threaten to kill Rivera Cruz on previous occasions.
                                                  Carrero Morales reportedly had been convicted of
                                                  domestic violence as a result of a complaint filed by
                                                  his ex-wife in 2007.355

Josmarie Serrano    20      June 18, 2011         20-year-old Yosmarie Serrano Fonseca was shot to
Fonseca                                           death by her estranged husband and father of her
                                                  three children, Alvin Hermina Vélez. The couple,
                                                  whose three children ranged in age from eight
                                                  months to five years, had reportedly separated
                                                  several weeks before the murder. Hermina Vélez
                                                  was charged with first degree murder and weapons
                                                  violations. As part of a plea deal, Hermina Vélez
                                                  pled guilty to second-degree murder and weapons
                                                  violations, and was sentenced to 65 years in prison.356




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Brunilda Torres   62    July 11, 2011     Brunilda Torres Sánchez, 62, was killed with a
Sánchez                                   machete by her partner of 10 years, Modesto Pérez
                                          Román, who subsequently buried her in the backyard
                                          of the home they shared in Lajas. Pérez Román, who
                                          confessed to police, was charged with first degree
                                          murder, weapons violations, and destruction of
                                          evidence. In December 2011, Pérez Román pled guilty
                                          to first degree murder and destruction of evidence.357

Eulalia Texidor   54    July 17, 2011     Eulalia Texidor Ortiz, a mother of three and an
Ortiz                                     English teacher who was on the verge of retiring,
                                          was killed by her estranged husband of 30 years,
                                          Teddy Lugo Almodóvar, 55, from whom she had
                                          been separated for two years. Lugo Almodóvar shot
                                          her 10 times while their four-year-old grandchild
                                          watched television in the next room, then took his
                                          own life. Lugo Almodóvar had reportedly threatened
                                          and physically abused Texidor Ortiz on previous
                                          occasions, and their daughter had reportedly filed a
                                          complaint with the PRPD against him for abuse of
                                          their mother, but later withdrew the complaint.358

Marta Iris Marrero 44   August 15, 2011   Marta Iris Marrero Estrada was slayed with a
Estrada                                   machete by her husband, José Mélendez Marrero,
                                          who reportedly had been suffering paranoia in the
                                          days leading up to the killing. The couple had four
                                          children, ranging in age from six to 24. According to
                                          their children, Mélendez Marrero locked himself in a
                                          bedroom with his wife of 25 years, Marrero Estrada.
                                          The couple’s 18-year-old daughter tried to open the
                                          door when she heard her mother screaming; she
                                          reported that her father walked out of the room with
                                          a machete in hand while her mother lay on the floor
                                          holding a bleeding neck wound. Méndez Marrero
                                          subsequently hanged himself on the terrace as
                                          their daughter tried to help her mother, who died
                                          of her wounds. The couple’s 20-year-old daughter
                                          reportedly left the house the night before and tried to
                                          convince her mother to leave with her.359




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Jennifer Toro       26    November 11,       Jennifer Toro Hurtado, a 26-year-old mother
Hurtado                   2011               of three, was shot in the head by her estranged
                                             husband, Nelson Crespo Feliciano, in front of her
                                             three daughters at a grocery store in Aguadilla.
                                             Crespo Feliciano subsequently shot himself in the
                                             head and died days later. Toro Hurtado had obtained
                                             a temporary order of protection against Crespo
                                             Feliciano in July 2011. On September 22, 2011,
                                             Judge Rafael Ramos charged Crespo Feliciano
                                             with violating the protective order on account of his
                                             continued stalking of his estranged wife, released
                                             him on $5,000 bail, and ordered him to be placed
                                             under electronic surveillance by means of an
                                             ankle monitor. However, Crespo Feliciano failed
                                             to comply with the order and he was not outfitted
                                             with the ankle monitoring system. Six days later,
                                             Toro Hurtado sought an extension of the protective
                                             order, which was set to expire that day, testifying
                                             that her husband had violated the previous order and
                                             continued to threaten to kill her. Judge Diomedes
                                             González delayed the case to October 20, and again
                                             to November 8, to allow Crespo Feliciano time to
                                             find a lawyer. Wanda Vázquez Garced, the Women’s
                                             Advocate of the Commonwealth of Puerto Rico,
                                             has called Judge Gonzalez’ ruling “negligent” for
                                             failing to take into account Toro Hurtado’s credible
                                             testimony, corroborated by Crespo Feliciano’s
                                             previous history of domestic violence and recent
                                             death threats. According to the Women’s Advocate,
                                             the day before the November 8, 2011 hearing
                                             concerning Toro Hurtado’s requested extension of
                                             the protective order, Crespo Feliciano was arrested
                                             for failure to comply with the order to submit to
                                             electronic monitoring, but on November 10 Judge
                                             Rafael Ramos again released him on an additional
                                             $5,000 bond. Toro Hurtado was not notified of her
                                             husband’s release, and he shot her the day after his
                                             release.360




In addition to the cases detailed above, there are eight additional cases under investigation,
in which the victims’ partner is suspected of her murder: Julia García Cruz, age 21; Raisa
González González, 28; Lorenis Karen Mejías Contreras, 30; Tayra Linnette Torres, 22;
Tatiana Delgado Flores, 23; Marisol Rivera Rivera, 49; Lizyeisha Reyes Marrero, 25; and
Eneida Montañez Beltrán, 25.361 Women’s rights advocates in Puerto Rico have called for




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a full investigation into these and other cases, citing evidence uncovered by journalists
suggesting that the murdered women’s partner or ex-partner committed the homicide.


b. Failure to Address Domestic Violence

The PRPD is not doing enough to ensure that women confronting domestic violence utilize
the legal options available to them, and it is failing to enforce existing protective orders
by arresting abusers who violate orders that are in place. Women’s rights advocates have
described domestic violence in Puerto Rico as “a state of national emergency,” and the
police are failing to effectively address crimes of domestic violence.362 According to the DOJ,
the “PRPD’s longstanding failure to effectively address domestic violence and rape in Puerto
Rico is clear and, in conjunction with its institutional deficiencies, may rise to the level of a
pattern and practice of violations of the Fourteenth Amendment and the Safe Streets Act.”363

In July 2011, during his confirmation hearing before the committee on Public Safety and
Judicial Affairs, the recently-replaced PRPD Superintendent, Díaz Colón, was asked about
deaths from domestic violence and child abuse that have occurred on the island, and he
replied that domestic violence is a private matter and outside the purview of the PRPD.
He told reporters, “Well, those two issues you pointed out to me are activities that are not
directly part of the functions of the police of Puerto Rico. Possibly they may be directed at
other agencies that can work on them.”364

Of the women killed by their intimate partners from 1991 to 1999, only 17 percent had orders
of protection, a scant 2 percent had orders of arrest against their murderer, and 4 percent
had expired orders of protection.365 In 2007, 25 percent of the women killed by their partners
had previously reported incidents of domestic violence to the PRPD.366 Few women are
seeking protection from their abusive partners, in part because they distrust or lack faith in
a system that is failing to provide adequate protection to victims.

Advocates in Puerto Rico report that arrests are not occurring and that police are not
carrying out other statutory responsibilities. Police are failing to enforce the Domestic
Violence Prevention and Intervention Law, known as Law 54 (Ley 54), enacted in 1989. Law
54 is a comprehensive domestic violence law that outlines criminal, civil, and preventive
measures. With respect to criminal penalties, the law restricts police discretion and requires
arrest when a domestic abuse offense has occurred.367 It also provides a right to immediate
medical care as necessary; the right to file a report with law enforcement; and the right to a
restraining order, among other provisions.

A 2006 study of Puerto Rico’s practices in handling domestic violence cases identified
significant gaps in the response of both the civil and criminal justice system, including
the PRPD, to domestic violence. The report found that there are significant delays in the
adjudication of protection orders, due in part to confusion over the PRPD’s responsibility
for service of ex parte orders and summons to appear at the hearings on final orders of




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protection, which result in delays in service; dramatic under-enforcement of violations of
protection orders; inadequate staffing of both specialized domestic violence PRPD units and
specialized domestic violence prosecution units, making it impossible to provide coverage
of all domestic violence cases; lack of adeqate evidence collection and case investigation by
the PRPD; and lack of consistent coordination between police and prosecutors in domestic
violence case development.368 Moreover, arrests are usually not made for violations of
protective orders issued by the courts.

A significantly high percentage of domestic violence incidents reported to the PRPD do not
result in convictions, in part because of lack of sufficient cooperation between police and
prosecutors in case development.369 According to data provided by the Women’s Advocate
Office (Oficina de la Procuradora de las Mujeres), around 20,000 protective orders are issued
annually and a comparable number of domestic violence incidents are reported to the police,
while fewer than 500 convictions for domestic violence are made annually.370 According to a
study commissioned by the PRDOJ and conducted by UPR researchers, domestic violence is
the highest volume crime in Puerto Rico, but it has the lowest conviction rate, measured by
the percent of incidents reported to police which result in convictions.371 The study found that
of approximately 20,000 domestic violence incidents reported to the police each year, only
17 percent resulted in convictions.372 PRDOJ statistics for Fiscal Year 2003 to 2004 (in Puerto
Rico, running from July 1 to June 30) indicate that of the approximately 21,000 domestic
violence incidents reported by the PRPD that year, 19 percent (4,072) resulted in criminal
complaints filed by the PRDOJ, and only 12.3 percent (2,586) resulted in convictions.373

These figures for domestic violence-related convictions are lower than U.S. national
averages. A report by the National Institute of Justice examining intimate partner
prosecutions between 1973 and 2006 in 120 mostly urban jurisdictions in 44 states and the
District of Columbia of found the average arrest prosecution rate was 63.8 percent, and the
average offense prosecution rate was 27.4 percent.374

The 2006 study of response to domestic violence in Puerto Rico found that to address the
dearth of domestic violence arrests and convictions, police and prosecutors need to better
collaborate in the processing of cases and develop consistent procedures in the development
of cases. This includes creating and implementing consistent procedures for comprehensive
incident report-writing, crime scene photos and photos of all injuries, body diagrams
indicating location of injuries, and medical documentation, in order to collect adequate
evidence to sustain criminal charges and successfully prosecute a case.375

In addition, victim reporting rates of domestic violence incidents are low, given Puerto Rico’s
population and U.S. national rates of domestic violence. As a performance measure of police
departments’ response to domestic violence, the National Institute of Justice has found
that on the basis of actual rates of domestic violence as determined by victim surveys, law
enforcement officers should be responding annually to 8 to 9 incidents per 1,000 females,
and 2 to 3 per 1,000 males.376 Based on this figure, and 2010 census statistics pegging the
population of Puerto Rico at 1,785,171 men and 1,940,618 women, the PRPD should be




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receiving about 15,525-17,466 complaints from women and 3,570-5,356 complaints from
men, or a total of 19,095-22,822 complaints, which is higher than the 16,952 complaints
the PRPD reported receiving in 2010. The National Institute of Justice noted that “if the
incidence of domestic violence reported in victim surveys is significantly above the level
that victims actually report to law enforcement, greater community outreach and barriers
to reporting must be addressed. Law enforcement officers must encourage the rest of the
community to do its part, and prosecutors must work with law enforcement if incidents are
not making it into the courts.”377


Table 6: Domestic Violence Incidents Reported by the Puerto Rico Police Department378


                           Domestic Violence Incidents

   25,000

                                   20,389
   20,000       19,222
                                               19,124
                                                             16,952
   15,000                                                                      Domestic
                                                                               Violence
                                                                               Incidents
   10,000


    5,000


        0
                   2007		          2008		       2009		        2010




Table 7: Orders of Protection Requested and Issued by the Court of First Instance
(Tribunal de Primera Instancia) versus Domestic Violence Incidents Reported by the
Puerto Rico Police Department379

                         2011         2010         2009           2008          2007
Number of orders
of protection        27,934          29,089       28,971         30,552         30,620
requested
Number of orders
of protection        18,391          19,260       19,504         20,293         20,258
issued
Domestic violence
incidents reported       N/A         16,952       19,124         20,389         19,222
by the PRPD




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c. Failure to Address Rape

The PRPD is not adequately responding to or investigating rape crimes, and it is significantly
underreporting these crimes. The PRPD reported that only 39 forcible rapes were
committed in 2010, while the department also reported 1,000 homicides during the same
year. Based on data from police departments around the U.S., we would expect the rape
statistics to be 100 times the figure reported by the PRPD, as other jurisdictions in the U.S.
report about four times as many rapes than homicides.

The number of reported forcible rapes has declined exponentially; from 426 in 1990 to 39—
less than one-tenth that number—in 2010. In the last ten years the reported rape rate has
declined sharply, declining from 228 to 39 forcible rapes from 2000 to 2010, while murders
have seen a sharp increase during the same time period, indicating that reduced crime is
not the cause of the recent shockingly low rape statistics.

The unprecedented data spread between reported forcible rape and murder is most likely
the result of the PRPD’s failure to follow protocols to respond to, record, or investigate
crimes of rape. Official sources estimate that, in the case of sexual violence, only about
16 percent of rapes are reported.380 In their latest study, issued in 2007, the Puerto Rico
Department of Health’s Center for Assistance to Rape Victims estimated that 18,000 people
in Puerto Rico, mostly women and girls, are victims of sexual violence each year.381


Table 8: Forcible Rapes Reported by the Puerto Rico Police Department382

            2010    2009   2008     2007   2006   2005   2004    2003    2002   2001    2000

Forcible
             39      65      95      97    118    169     199    204     241     187    228
Rapes


            1999    1998     1997   1996   1995   1994    1993   1992    1991   1990    1989
Forcible
            223     243      178     316    324    396    401     433    424     426    509
Rapes



d. Domestic Violence by PRPD Officers

The PRPD has recorded an appalling number of complaints of domestic violence by
PRPD officers, and the PRPD’s failure to address domestic violence among its ranks is
symptomatic of a larger institutional dysfunction of the police department’s policing of
domestic violence and other sexual and gender-based crimes. The PRPD recorded nearly
1,500 domestic violence complaints against police officers from 2005 to 2010.383 The actual
number of crimes of domestic violence committed by officers is likely significantly higher
due to underreporting, because survivors are unlikely to file and pursue complaints with



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the same police department that employs their abusive partner or ex-partner. The DOJ has
identified 84 still-active officers who have been arrested two or more times for domestic
violence.384 Recently there have been multiple highly publicized cases in which PRPD officers
shot their wives with their service firearms, in some cases killing their spouses.

In the DOJ’s report of its findings concerning the PRPD, the DOJ concluded that, “PRPD
policies and practices are woefully inadequate to prevent and address domestic violence
committed by PRPD officers. We find that these deficiencies will lead to constitutional
violations unless they are addressed.”385 According to the DOJ, the PRPD’s failure to
address the commission of domestic violence by police officers “may qualify as evidence of
discriminatory intent.”386

Domestic violence by an officer at home often is a useful predictor of violence by the officer
while on duty outside the home. Police officers’ civilian complaint records, which have been
disclosed through pre-trial discovery in a number of civil lawsuits seeking compensation for
deaths and injuries caused by excessive police force, have revealed in numerous cases that
there were previous complaints of domestic violence by the officer. Judith Berkan, a civil
rights lawyer who has represented numerous victims of police brutality, told the ACLU that
in most of the cases of excessive use of police force she has handled, there were previous
domestic violence complaints against the officer; in one case, she says there were 24 civilian
complaints of aggression against a single officer recorded in his disciplinary file.387




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   The investigatory, disciplinary, and reporting systems of the Puerto
   Rico Police Department rubber-stamp the use of force, cover up
   abuse by its officers, and encourage a code of silence. Instead of
   deterring abuses by holding abusive officers accountable, the PRPD
   allows officers to escape punishment or any other consequences,
   rearming them and returning them to active duty, often to repeat
   their offenses. Citizen complaints of police brutality languish for
   years without resolution. The disciplinary system retains, protects,
   and even promotes officers who use lethal and excessive force. The
   PRPD utterly fails to comprehensively investigate complaints of
   excessive force and other police abuses, often failing to interview
   witnesses or ignoring eyewitness accounts that contradict the
   officers’.




Ruth Jiménez de Jesús holding a photo of her 28-year-old son, Jorge Luis Polaco Jiménez, who was fatally shot
by police eight times, seven in the back while he was in police custody. The investigation into his killing was
closed without interviewing witnesses or examining forensic evidence, and the responsible police officers were
never brought to justice. Photo Credit: Indymedia (2009)



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VIII. Total Impunity: Failure to Investigate or Punish
Police Brutality


There are numerous contributing factors that are responsible for the deeply-rooted, wide-
ranging, and long-standing human rights abuses the ACLU has documented. Our research
has found that the systems in place utterly fail to address, and therefore prevent, abuses.
In particular, we have documented the failure of the following systems: the investigatory
system, which fails to effectively examine use of force and allegations of police misconduct;
the disciplinary and other accountability systems, which fail to meaningfully punish officers
for misconduct; and the reporting system, which fails to require officers to report uses of
force or critical incidents such as officer-involved shootings.

These systems virtually guarantee impunity: instead of deterring abuses by holding
abusive officers accountable, the PRPD allows officers to escape punishment or any other
consequences, rearming them and returning them to active duty, often to repeat their
offenses. Citizen complaints of brutality, lethal force, and excessive force languish for
years without resolution. Abusive officers rarely are administratively punished or criminally
prosecuted. The PRPD fails to track repetitive conduct by officers who violate the law or
have significant records of complaints from the public. The failure to implement effective
early warning systems to identify abusive officers and flag high-risk officers likely to commit
abuses has resulted in the avoidable loss of numerous lives.

The investigatory, disciplinary, and reporting systems of the PRPD rubber-stamp the use
of force, cover up abuse by its officers, and encourage a code of silence. We documented
a disciplinary system that retains, protects, and even promotes officers who use lethal,
disproportionate, and excessive force. It is a disciplinary system that retained an abusive
officer even after he was labeled a “ticking time bomb” by a police psychologist, to see him
later execute an unarmed man in the street; awards medals of valor to officers involved in
a deadly shooting of a mentally ill man even while the official investigation into their use of
force was still ongoing; and reinstated an officer who held the local police chief hostage at
gunpoint, rearmed him after he was arrested eight times, and returned him to foot patrol in
a housing project where he shot and killed an unarmed 18-year-old teen.

We also documented an investigatory system that fails to interview witnesses or ignores
eyewitness accounts that contradict the officers’. We documented a systemic failure to
comprehensively investigate and punish excessive use of police force, including lethal force.
The PRPD fails to investigate or punish even cases in which unarmed and nonthreatening
individuals were killed by police officers. Citizen complaints of brutality, lethal force, and
excessive force languish for years without resolution. Administrative complaints filed by
victims of police brutality often yield no results, the officers involved in the cases the ACLU
documented generally were not sanctioned administratively, and criminal charges rarely are
initiated against offending officers.



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In 2007, in response to numerous outrageous instances of police violence including
executions and other police misconduct, numerous organizations including the ACLU of
Puerto Rico, Puerto Rico Bar Association, and other non-governmental groups demanded
government action to address the crisis. In September 2007, the then-Superintendent of the
PRPD created a committee to conduct an external evaluation of the problems of violence and
corruption in Puerto Rico and render recommendations. The committee, called the External
Evaluating Committee on the Police of Puerto Rico (Comité Evaluador Externo de la Policía
de Puerto Rico), conducted a five-month investigation into PRPD’s organization, structure,
training, recruitment, supervision, discipline, and other policies. The committee released
two reports of its findings in December 2007 and May 2008, concluding that there was a
pattern of civil rights violations by members of the PRPD and recommending a number of
reforms to prevent police violence and improve the investigatory and disciplinary systems.388
To date, the PRPD has taken no actions to implement the External Evaluating Committee’s
recommendations to improve the investigatory and disciplinary mechanisms in place.

There are human consequences to impunity in the police department, including the
avoidable loss of life. The ACLU documented the involvement of PRPD officers in multiple
instances of lethal or excessive force. For example, one of the police officers involved in
the shooting death of 28-year-old Jorge Luis Polaco Jiménez in October 2007, in which
the unarmed Polaco was shot seven times in the back while he was in police custody, was
also involved in the February 23, 2011 police beating of unarmed 62-year-old Julio Cirino
in his home that left him unconscious and hospitalized for a blood clot in his brain and
other injuries. The police investigation of Polaco’s killing had been perfunctory and wholly
inadequate, and to date, the officers have not been charged with a crime or subject to
disciplinary measures for their role in the shooting.389

In another instance of an officer implicated in two instances of lethal use of force, the same
officer (Efraín Burgos Montes) was allegedly implicated in the shooting death of Erick
Sánchez Vargas on September 4, 2003 and the beating death of 19-year-old José Luis
“Goldo” Irizarry Pérez on November 4, 2008, both in Yauco.390 In the August 2007 case of
Miguel Cáceres Cruz, the 43-year-old unarmed father of three shot four times when he was
face down on the ground, two of the three police officers involved had witnessed the police
killing of 21-year-old Nelson Santiago at a youth festival one week earlier and had not been
interviewed about the killing they witnessed. The two officers also were aware that the
officers involved in that unjustified killing had enjoyed complete impunity, and in fact had not
even had their service weapons taken after the killing.




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a. Seriously Flawed Investigation Process: Failure to Register Civilian Complaints and
Investigate Reported Police Abuses

The ACLU documented numerous problems with the PRPD’s complaint intake and
investigatory process that lead to impunity for excessive use of force and other police abuse,
including excessive delays, the systematic failure to comprehensively investigate cases, and
the failure to accept and register complaints from citizens wishing to report abuses by PRPD
officers.

PRPD administrative complaints often take years to resolve, due in part to the many
steps required to complete the investigatory process and the tremendous backlogs among
investigators and review officers assigned to the Auxiliary Superintendency for Professional
Responsibility and the Legal Division (the lengthy process and multiple steps are detailed in
subsection C below). A former Auxiliary Superintendent told the ACLU that when he began a
review of PRPD policies following his appointment to the PRPD in November 2010, the PRPD
had pending investigations from the 1990s, including investigations that had been pending
for over eight years without resolution.391 According to the DOJ’s investigation findings,
“Many officers and superintendents reported that investigations could take up to ten years
or more to complete.”392 In its December 2007 report, the External Evaluating Committee
on the Police of Puerto Rico found about there is a backlog of about 5,000 complaints at any
given time, while about 3,000 to 4,000 complaints are filed a year.393

There also are excessive delays after complaints are referred for criminal investigation of
alleged crimes by police officers. Where there is evidence of criminal conduct, the NIE of the
Puerto Rico Department of Justice assumes jurisdiction over the investigation. According
to a former Auxiliary Superintendent of the PRPD, the NIE is responsible for tremendous
backlogs and its investigations drag on “forever.”394 The External Evaluating Committee on
the Police of Puerto Rico similarly found that investigations conducted by the NIE can take
years.395

The PRPD also utterly fails to comprehensively investigate complaints of excessive use
of force and other police abuses. The ACLU documented numerous serious shortcomings
of PRPD investigations of alleged misconduct and abuse, including failure to perform even
basic investigatory tasks such as taking photos of civilian complainants’ injuries inflicted by
officers or interviewing witnesses to incidents of excessive use of force. The shortcomings
documented by the ACLU include:

       Failure to interview all police officers involved in or witness to a killing or other
       incident of abuse, and failure to do so promptly or thoroughly;

       Failure to obtain detailed, non-conclusory written statements from all officers
       involved in or witness to a killing or other incident of abuse;

       Failure to consult non-police eyewitnesses or failure to record their statements;




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       Failure to collect and preserve forensic evidence such as bullet shell casings and
       gunshot residue and blood from the victim’s and officers’ clothing;

       Failure to conduct forensic examinations on relevant evidence from the crime scene,
       involved officers, and the victim;

       Failure to document alleged injuries to the victim, and failure to obtain and evaluate
       evidence such as medical documentation of injuries caused by the use of force;

       Failure obtain and review photographic or video evidence;

       Failure to promptly conduct investigations; and

       Failure to ensure that police officers under investigation are taken off field duties or
       disarmed while investigations of serious abuse are pending.

The police killing of Jorge Luis Polaco Jiménez, a 28-year-old Black man extrajudicially
executed by police on October 4, 2007, clearly demonstrates the PRPD’s complete failure to
conduct a competent investigation of a civilian complaint. Polaco was shot seven times in the
back while in police custody, and the police investigation into his killing was perfunctory and
wholly inadequate: police did not interview eyewitnesses to the incident and did not provide a
report of their investigation to Polaco’s mother.396 Polaco’s mother, Ruth Jiménez de Jesús,
filed multiple complaints with the PRPD, but received no response other than to be told that
the investigation was closed.397 She hired a private investigator, who located an eyewitness to
her son’s arrest who had not been interviewed by police but reported witnessing the police
shoot her son once in the front shoulder before taking him into custody one-and-a-half
hours before they delivered him to the hospital dead-on-arrival with seven bullet wounds in
his back.398 Police later claimed they acted in self-defense, but the private investigator found
that Polaco was unarmed and only had a dollar and his house keys in his pocket.399 According
to Polaco’s mother, PRPD investigators failed to conduct any forensic testing on her son’s or
the officers’ clothing.400 Given the police officers’ claim that they had acted in self-defense,
Polaco’s mother questions why the PRPD conducted no tests for gunpowder residue on the
police uniforms, and failed to examine the officers for evidence of defensive injuries that
would suggest that her son resisted the officers.401

The External Evaluating Committee on the Police of Puerto Rico evaluated the PRPD’s
complaint, investigatory, and disciplinary policies and practices, and issued two reports of
its findings plus recommendations.402 The committee identified serious flaws in the PRPD’s
complaint and investigatory processes. According to attorney Nora Vargas, a member of the
External Evaluating Committee,

       “As a member of the Comité Evaluador I participated in reviewing the
       complaint process. We looked at statistics and other data provided by the
       Police Dept., and interviewed the head of the Division. It was apparent the
       number of complaints that either go unresolved, are never investigated,
       are poorly investigated, lack of training of those who are charged with the
       investigation, the lengthy process and time it takes to investigate and resolve



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       the complaint, the lack of notice and participation of the complainant. We are
       also aware of how citizens are discouraged by police officers from presenting
       a complaint against police officers.”403

The ACLU also identified numerous problems with the intake of complaints and follow-up
with complainants, including:

       Intimidation of would-be complainants and attempts to dissuade them from filing or
       proceeding with a complaint;

       Focusing on undermining complainants’ case instead of documenting the reported
       officer misconduct;

       Refusing to process a complaint or conduct an investigation because the victim could
       not identify the name and badge number of the officer who abused them;

       Failure to inform complainants of the status of their complaint, the status or findings
       of the ensuing investigation, or any disciplinary action taken; and

       Refusal to accept or process complaints.

Victims, their family members, and their lawyers reported to the ACLU that when they
sought to file a complaint of police misconduct, officers were intimidating and hostile,
and plainly did not wish to receive a complaint about a colleague. In some cases, officers
threatened or attempted to dissuade would-be complainants, or expressed disbelief about
their allegations.

Lawyer Enrique G. Juliá Ramos, who represents at least 40 UPR students, has practiced
both criminal defense and civil law for many years, and has represented numerous victims
of police abuse in civil lawsuits against the PRPD and its officers, described the numerous
obstacles he and his clients have faced when they have attempted to file complaints
reporting police abuse. He told the ACLU, “First, [the police] derail the process. When
you file a complaint, someone from the Legal Division takes a sworn statement, and in
their questions they derail the process. For example, in a case of police abuse at a gas
station, their first question is, ‘How much alcohol did you drink that day?’ The focus of the
officer’s investigation is undermining the complainant rather than finding out what actually
happened.” 404 Juliá Ramos added, “Second, the complaint doesn’t go anywhere. The officer
who shot at the Capitol Building [protest] had seven or eight complaints against him at the
time; he was upgraded to a Lieutenant from Sergeant even after all those complaints. In
all these cases of police brutality, those officers have multiple complaints against them.”405
He continued, “Third, if you get the complaint to pass the initial hearing, all the officers
are members of a police union, and they start mobilizing the community.”406 Juliá Ramos
reported that he is now hesitant to even bother filing complaints because of these obstacles.

In numerous cases documented by the ACLU, victims of police abuse reported that PRPD
officers told them they were unable to proceed with a complaint or an investigation



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because they could not identify the name and badge number of the abusive officer. Juliá
Ramos described the case of one client of his, UPR student José “Osito” Pérez Reisler, who
was Tasered multiple times by police while protesting at the Sheraton Hotel on May 20,
2010, and had been beaten and had his laptop taken by police days earlier on campus.407
Juliá Ramos said that he and his client received no response after filing a complaint with
the PRPD on May 14, 2010 and sending a follow-up letter on August 4, 2010 detailing both
incidents. 408 He and his client returned to the police precinct on November 24, 2010 to
follow-up on the complaint in person.

According to Juliá Ramos, the PRPD officer they met with at the station was “very negative”
and “she said it was difficult because there are a lot of police from all over the island and
you have to know who the arresting officer is” in order to launch an investigation.409 Although
the Tasering incident was captured on film, part of the officer’s face was concealed in the
vido footage and Pérez Reisler’s booking sheet did not include the name of the arresting
officer. Juliá Ramos says that when he asked about his client’s laptop, the officer’s response
was to ask whether Pérez Reisler had gone to the pawn shops to check if his computer had
been pawned.410 In December 2010, Juliá Ramos sent a DVD of the Tasering video to the
PRPD, and on April 5, 2011 he had his final communication with the PRPD concerning the
complaint, during which a PRPD officer said they could not do anything about the complaint
because “it was so hard to identify the officer” who Tasered Pérez Reisler.411

Several victims of police misconduct who did file complaints told the ACLU that they had
traveled to the police station to file a complaint, which required them to provide their
home address, and were terrified when police later arrived at their house. These men and
women told the ACLU that they were unsure why officers visited them or attempted to visit
them in their homes. In several of these cases, the complainant told the ACLU that they
subsequently dropped their complaint because they feared police retribution, and they
perceived the officers’ visit as an intentional message that they were being watched or would
be subject to retribution if they continued with their complaint.

We also documented numerous instances in which officers refused to initiate and process
complaints by civilians who approached officers about filing a complaint (presenter una
querella or queja) in the field or at a police station regarding excessive use of force or other
police abuse. For example, as a result of the events at the Capitol Building on June 30, 2010,
numerous protesters who had been subject to police abuse attempted to file complaints
with the police, but police officials refused to accept or record the complaints. In its report
of the incidents that took place at the Capitol on June 30, 2010, the Special Commission of
the Puerto Rico Bar Association also found that “On various occasions the police refused
to accept criminal complaints that citizens wished to file to denounce the criminal conduct
of other law enforcement agents.”412 The Special Commission documented several specific
cases from individuals who sought to file complaints and were denied, or who witnessed
police officers turn away other would-be complainants empty-handed.413




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Lawyer Hans Perl-Matanzo, who has represented several victims of police brutality, told the
ACLU that he has witnessed PRPD officers refuse to accept complaints on three occasions.
He explained, “There are countless people, including attorneys, who have been outright
denied, by police officers with no legitimate reason to do so, of their right to file a complaint
or press charges…This outright refusal to receive complaints has occurred in a systematic
and wide-ranging manner, and occurs even after attempting to ask supervising officers,
including high-ranking officials, to accept the complaints or order their subordinates to
comply with their legal duty.”414

Moreover, a significant number of victims of police abuse told the ACLU that they did not file
a complaint because they have no faith in the PRPD’s investigatory or disciplinary systems.
One victim of police abuse told the ACLU, “A complaint wouldn’t be worth the value of the
paper it was written on.” Another told the ACLU, “I did not file a complaint with the police
because I felt it wouldn’t do anything—I have no confidence in the police.”415 They correctly
perceive that the officers who abused them are highly unlikely to be held accountable for
their actions.

Numerous victims of police abuse told the ACLU that they decided not to file a complaint
because of fear of retribution from the officers involved. UPR student Amada Garcia told
the ACLU, “First, I couldn’t file a complaint because I didn’t have the number of the police
officer, because he wasn’t wearing his badge. Second, I would have had to put my contact
information in the complaint, and I don’t feel safe if the police have my name, address, and
telephone numbers…We all have fear about what will happen if we file a complaint. Really
it is a collective fear, that we will be put under surveillance and persecuted, and what will
happen to us in our professional future.”416 Others were concerned that filing a complaint
would affect charges that may be pending as a result of the arrest that gave rise to the
abusive incident.

Lastly, the PRPD places the onus on victims to file a complaint, and in practice generally
has not launched investigations even when credible evidence of abuse has been exposed by
the media, on the grounds that the victims did not come forward and initiate a complaint.
Government officials repeatedly told the ACLU that they could not investigate alleged
abuses, even well-known incidents in which the responsible police officers could be easily
identified, because victims were not filing complaints. The PRPD is authorized to initiate an
internal investigation into alleged police brutality without a formal complaint, and it ought to
do so.


b. Breakdown of the Police Disciplinary System: Failure to Hold Officers Accountable

The ACLU documented numerous problems with the PRPD’s internal disciplinary sanction
process that lead to impunity for excessive use of force and other police abuse. The serious
deficiencies of the disciplinary system we identified include:




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       Nonexistent or inappropriately minor or temporary sanctions for misconduct and
       abuse;

       The systematic overruling or downgrading of recommended disciplinary sanctions
       including temporary suspension or permanent dismissal, by the bodies that evaluate
       and institute potential disciplinary measures;

       Lack of attention to repetitive conduct by officers who repeatedly use excessive force
       or have multiple complaints filed against them indicating they are at high risk of
       committing abuse;

       Failure to disarm officers involved in excessive use of force, even lethal force, against
       unarmed suspects;

       Swift re-arming of officers following incidents;

       Excessive delays in the administrative disciplinary process, generally during which
       officers under investigation remain armed and are permitted to continue working in
       the field;

       Pro forma evaluations;

       Failure to follow policies regarding officers who return from suspensions for
       disciplinary reasons; and

       Officers are permitted to refuse to provide a statement during administrative
       disciplinary investigations.

Officers rarely are held accountable for abuses. According to PRPD records, from 2004 to
2010, 27,395 complaints were filed by civilians alleging misconduct by PRPD officers. During
that period, only 884 officers received expulsion recommendations, a figure amounting to
just over three percent of complaints filed; the number of officers actually expelled from
the force is likely significantly lower because expulsion orders are frequently overturned.417
During that period of time, no administrative complaints were referred to the final appellate
body that reviews disciplinary measures, the Commission on Investigations, Processing, and
Appeals (Comisión de Investigación, Procesamiento y Apelación, or CIPA).418

The PRPD’s disciplinary system is virtually identical to the system that was in place in
1989, when in the leading case Gutiérrez-Rodríguez v. Cartagena, the United States Court of
Appeals for the First Circuit found the PRPD’s disciplinary system to be “grossly deficient”
and upheld an award of punitive damages against the PRPD Superintendent and other
supervisors.419 In that case, the First Circuit concluded, “As the expert on police practices
and procedures testified, it was a disciplinary system that was going through the procedural
motions without any real objective of finding the truth.”420

The police practices expert in that case, Lou Reiter, is the former Deputy Chief of Police
of the Los Angeles Police Department and served as an active police officer for 20 years.
He has served as a police practices expert witness in about 40 civil cases in Puerto Rico



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and was appointed as the Federal Court Monitor for a consent decree in California. Most
recently, as an expert in a civil suit brought by the widow and children of Miguel Cáceres
Cruz (the unarmed father of three shot by a police officer on video), Reiter found in 2010
that the PRPD’s disciplinary system continues to promote impunity and fails to hold officers
accountable for abuses. Reiter concluded that the PRPD “has historically chosen to create
a system and agency environment which is designed to not hold officers accountable
for misconduct and abuse of citizens,” and one which “can result in unreasonable uses
of force and deadly force.”421 He found that supervisors were “deliberately indifferent in
their supervision, control and monitoring of field officers’ use of force, including use of
deadly force.”422 He also found that officers would be aware of the general impunity for
unreasonable uses of force and deadly force “and the failure to hold officers accountable for
misconduct or improper, unreasonable and excessive uses of force.”423 Lastly, he found that
systems to follow reasonable practices for administrative disciplinary investigations would
be essential to establish “the environment within the…agency for field officers to know that
they will be held accountable for their actions in the field.”424

The ACLU also found that there is no process for monitoring officers’ disciplinary files to
flag repetitive abusive conduct, identify patterns of misconduct, or take action to remove
repeat offenders from the police force. The PRPD does not automatically review or track
the records of individual police officers in order to flag officers with multiple complaints
filed against them or other indications they are at high risk of committing abuse so that
supervisors can take appropriate measures to prevent further misconduct. In fact, the PRPD
fails to conduct any periodic review of personnel disciplinary files, which include information
on the number of complaints against an officer, the nature of the complaints, and their
resolution. The PRPD has no automated, computerized database to identify officers with
multiple complaints filed against them, and the PRPD keeps many disciplinary records on
paper rather than in computerized files. The PRPD lacks such an early warning system
despite its Special Order 90-5 on “repetitive conduct” requiring supervisors who observe
conduct from which problems requiring retraining can be inferred to bring such conduct to
the attention of the Superintendent.425

The administrative disciplinary process is plagued by excessive delays, generally during
which officers under investigation remain armed and are permitted to continue working
in the field. The investigatory process is delayed in part because after the Auxiliary
Superintendency for Professional Responsibility completes its investigation into a complaint,
it does not impose a disciplinary measure; instead, the file is then forwarded to the Legal
Division, which decides on whether to recommend a disciplinary action.426 There are
backlogs at both of these levels.427 From there, the file goes to the Superintendent, who has
full discretion to decide whether to agree or disagree with the Legal Division regarding the
recommended disciplinary action.428 Because all complaints of misconduct are processed by
the Auxiliary Superintendency for Professional Responsibility in the order in which they were
received—including complaints of minor violations such as disobeying orders and ineptitude,
as well as serious abuses such as illegal arrest and unjustified aggression—there is a
backlog that fails to prioritize cases based on the severity of the alleged offense.429 The PRPD
has stated that it plans to change the investigatory process, which will include the creation



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of an investigatory matrix that will create different investigatory procedures depending on
the level of force used, but it has not introduced or implemented the new procedure.430

The administrative investigative process, which involves 14 discrete steps, provides officers
with many opportunities to contest proposed punishments and in many cases officers
accused of misconduct prevail. When the PRPD seeks to dismiss an officer, he or she
may appeal the dismissal order to multiple bodies. Because the supervisors and bodies
that evaluate and institute potential disciplinary measures heavily favor the officers, many
abusive officers avoid temporary suspension, permanent dismissal, or other disciplinary
sanctions. Even when a Superintendent proposes the suspension of an officer on the basis of
a substantiated civilian complaint (called a Proposed Suspension on Sustained Complaint, or
a Me Propongo), these expulsion proposals often are not acted upon or are overruled.

The 14 steps of the disciplinary process are:

       A citizen fills out an administrative complaint.

       The complaint is endorsed by the Auxiliary Superintendency for Professional
       Responsibility (Superintendencia Auxiliar de Responsabilidad Profesional, formerly the
       Superintendency of Public Integrity).

       The complaint goes to the Administrative Investigations Division (División de
       Investigaciones Administrativas, formerly the Office of Public Integrity) at the regional/
       area level, where it can be taken up at that office or referred to another region/area.

       Complaints are first investigated at the regional/area level. The investigator provides
       a report to the head of the Administrative Investigations Division at the regional/area
       level.

       The director of the Administrative Investigations Division at the regional/area level
       approves a report including findings concerning any violations, and may include
       a recommendation of an administrative sanction such as a warning, admonition,
       suspension, or expulsion.

       The report goes to the island-wide Auxiliary Superintendency for Professional
       Responsibility, which can accept or reject the recommendation.

       The determination by the Auxiliary Superintendency for Professional Responsibility is
       sent to the Legal Division, which has the power to modify the recommendation.

       The recommendation then goes to the Superintendent of the PRPD, who has full
       discretion to decide what punishment, if any, to impose.

       The Superintendent of the PRPD then drafts a letter (typically known as a Me
       Propongo) proposing a disciplinary sanction. The proposed sanction is not a final
       decision, even in the case of a proposed expulsion.




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       The officer may file an internal appeal of any proposed sanction. The officer may
       appeal for an administrative hearing before hearing officers assigned to the Legal
       Division.

       The Legal Division hearing officer then issues a report, including a recommendation
       for disciplinary sanction, if any, to the Director of the Legal Division.

       The case then returns to the Legal Division, which then reviews the evidence and may
       make additional recommendations.

       The case then returns to the Superintendent of the PRPD or his Associate
       Superintendent, who can either accept or reject the recommendation of the hearing
       officer and/or the Legal Division.

       The decision by the Superintendent or Associate Superintendent is a final agency
       decision, which the officer can then appeal to the CIPA.

Any disciplinary measures that survive the 13 previous steps may be appealed to the final
appellate body, the CIPA, where many suspension or expulsion orders are overturned and
either downgraded or extinguished entirely. This body, which offers a process for officers
wishing to appeal a disciplinary sanction imposed by the Police Superintendent or his
Associate Superintendent, usually overrules disciplinary sanctions. In numerous cases, the
CIPA has ordered the reinstatement of officers who have been ordered discharged from the
police force due to unlawful use of force.

Illustrative of the unresolved problems that plague the PRPD disciplinary system still in
place is the September 1993 case of PRPD Criminal Investigation Corps officer Miguel Díaz
Martínez. Officer Díaz Martínez took the Acting Police Superintendent and another officer
hostage with a shotgun at a police station after assaulting and threatening to kill his wife.431
He had been arrested eight times in his first five years of service in the police force, and at
the time of the hostage incident had nearly two dozen prior complaints of violent and/or
threatening behavior filed against him. Díaz Martínez was initially suspended and ordered
expelled from the police force following the hostage incident, but the CIPA reinstated him
to the police force a short time later and his service revolver was returned.432 On the day
after his full return to active duty, while Díaz Martínez was on guard duty at a housing
project in Bayamón, he shot and killed unarmed 18-year-old José Rivera and shot the teen’s
unarmed sister María Rosario Díaz in the leg.433 Rivera had failed to stop quickly when the
officer asked the teen for identification at the entrance to the housing project where he
lived. Amazingly, Díaz Martínez remained on the force for several months, and received
a psychiatric certification declaring him fit for active duty with no restrictions, until he
assaulted, arrested and imprisoned Grancid Camilo, a court security guard who insisted the
police officer was not permitted to park in a judge’s parking area.434

The case of the officer who shot Miguel Cáceres Cruz in 2007, Javier Pagán, similarly
illustrates the PRPD’s utter failure to hold officers accountable for misconduct, flag high-
risk officers, and take action to ensure they do not commit even more grave abuses. At the




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time he shot the unarmed father of three, officer Pagán had many disciplinary complaints
lodged against him, had been assessed by a police psychologist as a “ticking time bomb,”
and had two recommendations of expulsion from two different police superintendents on
account of his past misconduct.435 Officer Pagán had been promoted to a Tactical Operations
Unit when the second recommended expulsion was pending.436 Ultimately, the two
expulsions were lowered to suspensions before he killed Cáceres.437 When Pagán was finally
expelled from the force, he had two civilian complaints against him pending, both of which
had been filed eight years earlier.438


c. Failure to Adequately Record, Report and Review Use of Force, Officer-Involved
Shootings and Other Critical Incidents

The PRPD fails to record, report, review, and analyze incidents including officers’ use of
force, officer-involved shootings, and other critical incidents such as discharge of a firearm.
According to Max Pérez Bouret, former Auxiliary Superintendent of Administrative Services,
there are no protocols requiring any specialized reporting of officers’ use of force, officer-
involved shootings, or other critical incidents. Instead, PRPD officers are only required to
file ordinary incident reports following any use of force, even the use of lethal force against
a civilian. He explained, “We have no way of knowing whether use of force was used, or
how much force was used, because the report contains no line for reporting use of force, so
officers are not obligated to report use of force.”439 He added, “We know that not everyone
will report use of force, and we recognize this is a problem.”440 He said that the PRPD plans
to issue a new order on the reporting of use of force, but the order has not gone into effect to
date.

In his review of the PRPD as a police practices expert for the prosecution in a civil suit
seeking damages for the killing of Miguel Cáceres, Lou Reiter found the “lack of any…
protocol or administrative review” of officer-involved shootings “is most disturbing.”441 Reiter
added, “[T]his is a vital issue for any police department and to control officers’ uses of deadly
force. These are essential agency protocols which have to be in place.”442 According to Reiter,
“[T]he Department has elected to overlook any ability to learn from these tragic critical
incidents and analyze its policies, training, tactics, equipment and supervision.”443 In his
opinion, the lack of protocols and systems for monitoring officers involved in shootings is a
“conscious choice to ignore this vital and necessary control” and as a result, the PRPD “have
continued to place the public at serious risk.”444


d. Failure to Prosecute Incidents of Excessive Use of Force

Criminal prosecutions of abusive officers are rare, and arise only in cases where the
abuse has received substantial media attention and there is significant public outcry. As
of December 6, 2010, of the 34 shooting deaths of civilians at the hands of PRPD officers
between 2005 and 2010, only one PRPD officer was convicted for his involvement in the
killing, in the Miguel Cáceres Cruz case.445 (In that case, there was a video of the shooting



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taken by a bystander; the involved officers and supervisors attempted to cover up the clearly
unjustified killing, and the PRPD took no action against the three officers involved in the
shooting until the video surfaced.) Of these 34 cases in which PRPD officers shot and killed
civilians, charges were brought in only three cases.446

By means of their prosecutorial powers to hold officers accountable for violations of the law,
prosecutors can and should play a critical role to remedy the problem of police killings and
excessive use of force. Unfortunately, prosecutors often choose not to pursue cases against
allegedly brutal officers. The lack of criminal indictments results in part because of the
close relationship between district attorneys and police officers, who usually work together
to prosecute alleged criminals.

There are additional significant obstacles to criminal accountability for civil rights violations
and use of excessive or lethal force by police. Prosecutors often rely on investigations
conducted by the NIE of the Puerto Rico Department of Justice, which assumes jurisdiction
over the investigation where there are allegations of criminal conduct by the police.
However, the NIE is not trained to conduct homicide investigations, and the PRPD Homicide
Division currently does not conduct concurrent investigations of use of lethal force because
the NIE has exclusive jurisdiction.


e. Anonymous Abusers: Failure to Ensure Abusive Officers Can be Identified by Victims

We documented a systematic failure to ensure officers can be identified by civilians who wish
to report complaints of excessive use of force. According to numerous protesters and legal
observers, police dispatched to protests are purposefully not wearing identifying badges
(placas), which are removable with Velcro, or are concealing identifying badges with the
pocket flap of their uniform. These identification tags bearing each officer’s name and badge
number on the uniforms and caps used by the UOT are easily removed or hidden. The ACLU
has also received reports that officers are exchanging badges with other officers to avoid
identification and escape responsibility for their actions.

Moreover, in the majority of the cases the ACLU documented of protesters arrested by
PRPD officers who used excessive force in the course of the arrest or prior to the arrest, the
booking papers do not indicate name of arresting officer. As detailed in subsection A above,
numerous victims of police abuse reported to the ACLU that they were told by officers at
PRPD stations that they could not proceed with a complaint or an investigation because the
victim could not identify the name and badge number of the abusive officer, or the name of
the arresting officer was not included on the booking papers.




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   The Puerto Rico Police Department fails to provide even basic
   guidance to its personnel on how to discharge their duties in
   compliance with the Constitution. The PRPD lacks standard
   protocols on the use of force and officers receive patently
   inadequate training, insufficient supervision, and minimal guidance
   on the legal boundaries of their use of force and other conduct.
   There is minimal transparency and no effective independent review
   of the PRPD’s policies and practices.




Riot Squad officers indiscriminately fire tear gas and rubber bullets at peacefully protesting students on the
University of Puerto Rico campus in February 2011. Photo Credit: Andre Kang / Primera Hora (2011)




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IX. A Lawless Police Force: Lack of Guidance Governing
the Use of Force, and Lack of Oversight, Training
and Transparency


The ACLU has identified a number of additional problematic PRPD policies and practices
that contribute to the pattern of police abuse, including lack of adequate guidance governing
the use of force; failure to fully implement a standard trigger weight that meets U.S. national
standards; lack of effective oversight, supervision, and training; and failure to collect
and track data that could be used to correct these grave issues. The departure of former
Superintendents Díaz Colón and Figueroa Sancha from their positions does not fix these
ongoing structural issues that need to be addressed in order to bring an end to the ongoing
police abuse.

PRPD officers perform an essential public safety function, and the ACLU recognizes the
important work performed every day by the department’s officers. However, the PRPD
fails to provide even basic guidance to its personnel on how to discharge their duties in
compliance with the Constitution and applicable human rights standards. Until January
31, 2012, the PRPD had no general protocol on the use of force, and the police department
continues to lack standard specialized protocols governing the use of force, including
guidance on the use of chemical agents, impact weapons, policing protests and large-scale
demonstrations, and how to handle complaints of domestic and sexual violence.

Officers receive patently inadequate training, insufficient supervision, and minimal guidance
on the legal boundaries of their use of force and other conduct. The PRPD fails to enforce
even the protocols and laws in place to regulate officers’ conduct. Moreover, there is
minimal public oversight and transparency of the PRPD’s policies and practices, including
no effective independent review.

To its credit, the Puerto Rico Police Department (PRPD) has acknowledged that there is
need for reform of police policies and practice, and it has initiated a process of reform that
included the issuance of a new general use of force policy in January 2012 and is expected
to include the issuance of additional new policies, training of cadets and officers on these
new policies, and other much-needed reforms. However, most of Governor Fortuño’s and
the PRPD’s promised reforms have not yet materialized. Moreover, while the issuance of the
new use of force protocol is a positive first step, without effective accountability measures on
the use of force, the issuance of the new policy does not guarantee that officers will follow
it or that officers will be held accountable when constitutional and human rights violations
occur.




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a. Lack of Guidance Governing the Use of Force

Until January 31, 2012, the PRPD did not have any comprehensive use of force policy. Such a
policy is standard for police departments across the United States, and is standard policing
practice around the world. The PRPD continues to lack basic protocols governing the use
of force that officers are authorized to use. For instance, the PRPD lacks any protocol on
the use of impact weapons or “less-lethal” ammunition such as stinger rounds, sting ball
grenades, rubber or plastic bullets, and bean bag bullets. It also lacks any protocol on the
use of chemical agents, despite the PRPD’s extensive use of tear gas and pepper spray
against protesters and other civilians. The PRPD lacks any protocol on interactions with
people with mental illness, despite numerous documented police killings of men with
mental illness who could have been restrained through non-lethal means. It also lacks any
protocol governing the treatment of protesters and the handling of public demonstrations,
and in particular the use of force against demonstrators.

The PRPD also lacks a comprehensive policy for responding to and investigating reported
crimes of domestic and sexual violence. The PRPD lacks any protocols that address
911 operators’ receipt of domestic and sexual violence calls; initial and follow-up
victim interviews, including how to safely communicate with victims; identification and
documentation of victim injuries; forensic examination of victims; suspect interviews and
forensic examinations; evidence preservation and crime scene management; enforcement
of protective orders; follow-up investigations, including cases in which the suspect has left
the scene; collaboration with victim advocates; and services and assistance to be offered to
victims.

Existing PRPD policies fall short of constitutional legal standards and U.S. police practices.
For example, PRPD policies do not incorporate current legal requirements governing
officers’ use of force, do not emphasize alternatives to physical force, and do not require the
use of measures to avoid the use of force or minimize the use of force required. The existing
policies fail to establish a clear protocol on the levels of force that are permitted in response
to different levels of resistance from suspects. The existing policies also fail to provide any
guidance on types of force other than firearms that may constitute lethal or deadly force,
such as chokeholds, carotid holds, and strikes to the head with batons or other impact
weapons. The existing policies do not even acknowledge that such types of force can be
lethal, a serious omission.

The PRPD’s firearms policy, OG 2004-3, is completely inconsistent with the relevant legal
standard, which requires that an officer have probable cause to believe that a suspect poses
a significant risk of death or serious physical injury to the officer or others. The policy is
vague and fails to define critical terms. For example, it allows the amount of force “that is
consistent with achieving the mission,” without actually defining what is meant by “achieving
the mission.”447 The policy also does not define the circumstances under which officers may
or may not shoot at fleeing suspects, nor does it address the lawfulness of firing warning
shots.




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The PRPD’s order governing the use of Tasers and other electronic control devices, OG
2008-2, is seriously deficient and also fails to meet constitutional standards.448 The order
does not provide adequate guidance to its officers on the use of CEDs: it does not specify
any legal standard for the use of CEDs, and it does not specify any factors that should be
considered when determining when it is appropriate to use CEDs, such as the subject’s
level of resistance or the severity of their suspected crime. Most problematic, the PRPD’s
order governing use of CEDs does not acknowledge that CEDs can be lethal, instead
mischaracterizing them as “non-lethal” weapons. As detailed in section V above, Tasers and
other CEDs can cause fatal injury.

To its credit, the PRPD has retained a qualified team of experts to assist them with
formulating new policies, which resulted in the issuance of a new general use of force
policy at the end of January 2012. However, Puerto Rico’s new use of force policy falls short
of constitutional and U.S. national standards and has been criticized by civil rights and
human rights advocates and policing experts as vague and lacking objective criteria on the
use of lethal force by PRPD officers. An early draft of the use of force policy included the
constitutionally mandated objective reasonableness standard, which was removed from the
final version. Instead, the use of force policy currently in effect uses a simple reasonableness
standard that allows officers’ subjective judgment to determine the level of force that is




Riot Squad officers in formation outside the Capitol Building during a university student protest on January 27,
2011. Photo Credit: Indymedia (2011)




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lawfully permissible, and empowers officers to use deadly force based on their “perception”
of danger, not on objective standards.

Moreover, the issuance of new policies does not mean that officers will follow them. Without
adequate training and enforcement to hold officers accountable when violations occur, these
new policies will remain meaningless. While the issuance of a general use of force policy is
encouraging, the PRPD has not fully implemented the policy, and it has not yet trained all of
its personnel in the new policy.

In addition, the PRPD’s general and special orders regulating police practices are not
easily comprehensible or accessible to officers, who are not provided with copies of the
policies. The orders, which date back to 1969, are numbered consecutively by year and are
not organized by topic or indexed in any way. The DOJ found that the PRPD does not provide
officers with copies of the orders, and some supervisors were even unable to show the DOJ a
complete set of these orders.449 A former Auxiliary Superintendent told the ACLU that orders
are a “mess,” “dispersed and not collected in a single binder.”450 He said, “Now it is a hassle
for agents to even find out what orders are in place,” and he told the ACLU that the PRPD
intends to create a new catalogue of orders that is organized and easier for agents to locate
policies.451 At this time, the PRPD’s website contains links to policies issued through 2011,
but merely lists them in the order that they were issued, starting back in 1969. The new use
of force policy is not even on the PRPD’s website for the public to access.




b. Failure to Fully Implement a Standard Trigger Weight

Until February 2011, the PRPD lacked any standard trigger weight, instead leaving all service
weapons at their factory settings of 5.5 and 6.5 pounds, which are substantially lighter than
the standard trigger weights of U.S. metropolitan police departments such as the New York
City Police Department (NYPD), which requires a trigger weight of 12 pounds on all service
weapons. It was the September 2010 fatal shooting of 22-year-old José Alberto Vega Jorge
by a PRPD officer that prompted the PRPD to evaluate the trigger weight of its weapons.452
In that case, PRPD officer Abimalet Natal Rosado shot the unarmed 22-year-old bystander
in the back of his head. As the witness to a robbery at a Burger King in Altamira, Vega Jorge
had remained at the scene to provide police with a statement and was not a suspect. After
the gun of one of five officers at the scene accidentally discharged, officer Natal Rosado
began shooting and fired 10 bullets, one of which fatally struck the young man in the back of
his head.453

On February 22, 2011, the Superintendent of the PRPD issued an order setting the standard
trigger weight of all PRPD service weapons at 8.5 pounds. PRPD Glock service weapons
(the .40-caliber Glock model) were previously set at their factory-set trigger weight of 5.5
pounds, while PRPD Smith & Wesson service weapons (the Smith & Wesson M&P40 model)
were previously set at 6.5 pounds. The Superintendent ordered that trigger weight springs
on service weapons would be changed slowly and gradually “so as not to affect the rendering



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of services by members of the Police.”454 As of June 2011, the PRPD still had over 9,000
service weapons in use that had not been altered to the higher standard trigger weight.455

Sensitive triggers lead to unintentional shootings during police interactions with civilians,
accidental firings, and overfiring in which officers shoot more rounds than they would with
revolvers or pistols with heavier trigger weights. In fact, in 1988, the FBI predicted that the
Glock’s standard-issue sensitive trigger would “inevitably…lead to an unintentional shot at
the worst moment.”456 It is essential that the PRPD modify all of its service firearms to the
8.5-pound trigger weight at a minimum, and ideally increase its standard trigger weight to
bring it in line with police department practice in cities such as New York and Los Angeles.
For example, all standard-issue pistols that are authorized for on-duty use by NYPD officers
are required to have a 12-pound trigger pull; the triggers of the NYPD’s Glock, Sig Sauer,
and Smith & Wesson pistols are modified to this weight.457 In the mid-1990s the NYPD
increased the mandatory trigger weight for service weapons from 8 pounds (known as the
NY-1 trigger) to 12 pounds (known as the NY-2 trigger) in order to minimize unintentional
shootings.458


c. Lack of Independent Oversight

There is no effective independent, external oversight of the PRPD. The Governor of
Puerto Rico has ultimate authority over the PRPD; he appoints a Superintendent to
administer the PRPD, subject to confirmation by the Puerto Rico Senate. The Governor
approves appointments to senior positions in the PRPD, from inspectors to colonels.
Unlike 49 of the 50 U.S. states, Puerto Rico does not have a state-wide authority that
sets minimum standards and training requirements.459 The Superintendent has wide
discretion to promulgate and change policies without any external review. For instance, the
Superintendent has full discretion to reduce or modify the pre-service training program,
set new standards for the use of force or specific weapons without any public comment or
external legal review, or reject proposed disciplinary action against PRPD personnel.

The PRPD lacks any civilian review board, independent auditor to review the PRPD’s
operations and make public its findings, or other independent auditing mechanism. There
are no oversight bodies that currently conduct any oversight role over the PRPD in practice.
Only two bodies are authorized to investigate civilian complaints of police misconduct, but
they do not do so in practice. These bodies are the Puerto Rico Civil Rights Commission,
which in practice does not provide any external oversight over the PRPD, and the CIPA, which
in practice only reviews the validity of disciplinary actions imposed against PRPD officers.

A third body was created by executive order to operate for a temporary period, but in
practice failed to provide any meaningful oversight over the PRPD. The Governor of Puerto
Rico created the Office of the Independent Monitor of the Police of Puerto Rico by Executive
Order on October 19, 2010. In June 2011, nine months after the creation of the office,
the Independent Police Monitor resigned, concluding that the objectives of his office had
been met. The Monitor announced that the PRPD had announced a comprehensive plan



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of reform to ensure civil rights are guaranteed in Puerto Rico, and optimistically reported
that the PRPD was already implementing all of his recommendations. On June 30, 2011,
the Independent Police Monitor, Efrain Rivera Pérez, concluded his mandate by issuing a
superficial 21-page report that whitewashed the serious issues plaguing the PRPD and
included no statistical data or information about specific cases.

The Independent Police Monitor lacked any authority to enforce recommendations for
policy reforms or even existing policies. The Independent Monitor had a narrow and limited
mandate that did not include the authority to accept complaints, forward complaints to the
PRPD for further investigation, or the tracking of any statistics on excessive use of force or
lethal use of force by the PRPD, investigations initiated or concluded, or any disciplinary
actions taken. Indeed, in response to ACLU questions about the number of civilian
complaints filed alleging excessive use of force, the Independent Police Monitor dismissively
answered that while he did not know the precise statistics, he estimated that at most only
1 to 2 percent of the police have had complaints filed against them.460 The Monitor’s staff
subsequently contacted the ACLU to clarify that in fact, the number is probably closer to 0.2
percent of the police force,461 an absurdly low figure belied by the statistics reported by the
PRPD to the DOJ and by the External Evaluating Committee that evaluated the PRPD in 2007.


d. Lack of Training and Supervision

We documented significant gaps in the training and supervision of officers. The PRPD
provides inadequate pre-service training to cadets at the University College of Criminal
Justice of Puerto Rico (Puerto Rico’s police academy). For example, the PRDP provides no
specialized training on the use of chemical agents such as tear gas and pepper spray.462 In
addition, the PRPD provides virtually no in-service follow-up training for field officers and
supervisors after their pre-service training. A former Auxiliary Superintendent admitted,
“We have a lack of training—once in service, some agents didn’t go back the police academy
after their initial training.”463

There are serious gaps in the supervision of PRPD officers, and this lack of supervision
contributes to the rampant constitutional and human rights violations documented in this
report. According to the DOJ, there is a crisis in supervision in the PRPD. The supervisor-
to-officer ration in the San Juan area is 1:30; it is generally accepted practice that the ratio
for patrol units should not be more than 1:10, and 1:5 is recommended.464 We also found
that high-level supervisors fail to establish protocols to provide for adequate supervision of
officers who have offended.




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e. Lack of Transparency: Failure to Maintain and Make Public Statistics on Police
Brutality

The PRPD fails to make public any data on the number of complaints of excessive or lethal
use of force filed, investigations initiated or concluded, or disciplinary actions taken.465 The
PRPD also fails to collect and maintain comprehensive data on policing practices such as
the number of domestic violence-related complaints filed or orders of protection issued.
Puerto Rico lacks a public records law such as a freedom of information law that grants
Puerto Ricans the right to obtain government records. As a result, data on police brutality,
complaints filed against individual officers, and other information is rarely made public, and
often can be obtained only by means of the discovery process attendant to litigation.




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   After a comprehensive six-month investigation of policing practices
   in Puerto Rico, building on eight years of work by the ACLU of
   Puerto Rico documenting cases of police brutality, the ACLU has
   concluded that the Puerto Rico Police Department commits serious
   and rampant abuses in violation of the United States Constitution,
   the Puerto Rico Constitution, and the United States’ human rights
   commitments.




Riot Squad officers violently attacked protesters and independent and student journalists with pepper spray and
batons on the steps of Capitol Building on June 30, 2010. Photo Credit: Andre Kang / Primera Hora (2010)




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X. Relevant Constitutional and Human Rights Law


a. Constitutional Standards on the Use of Force

Excessive force is force that exceeds what is objectively reasonable and necessary to subdue
a person, in the circumstances confronting the officer. The use of excessive force by police
officers in the course of an arrest, investigatory stop, or other seizure violates the Fourth
Amendment of the United States Constitution.466 Force can be excessive in violation of the
Fourth Amendment even when it causes only minor injury.467

The U.S. Supreme Court has established guidance on the use of force by police. In Tennessee
v. Garner (1985), the U.S. Supreme Court held that police can use deadly force when pursuing
a fleeing suspect only if the suspect poses a significant threat of death or serious physical
injury to others.468 The Court defined deadly force as “any use of force which creates a
substantial likelihood of causing death or serious bodily injury.”469 In Garner, the Court also
held that police may not seize an unarmed, non-dangerous suspect by shooting them, and in
circumstances where deadly force against a fleeing suspect is justified, police should provide
a warning before using deadly force.470

In Graham v. Connor (1989), the U.S. Supreme Court ruled that any use of force must be
objectively reasonable; the “calculus of reasonableness” should take into account factors
such as the severity of the crime, whether the suspect poses an immediate safety threat,
and whether the suspect is actively resisting arrest or attempting to evade arrest.471 The
analysis of use of force requires a balancing of the nature and quality of the intrusion on the
individual’s Fourth Amendment interests against the governmental interest.472 Determining
the objective reasonableness of police officers’ use of force is based on the totality of the
circumstances.473 In Graham, the Court also held that the Fourth Amendment’s requirement
of reasonableness on the part of the police applies to “all claims that law enforcement
officials have used excessive force—deadly or not—in the course of an arrest, investigatory
stop, or other seizure of a free person.”474

Courts generally evaluate the constitutionality of the use of force by applying the objective
reasonableness test established in Graham. For example, in Scott v. Harris (2004), the U.S.
Supreme Court evaluated a claim of excessive force in violation of the Fourth Amendment
(a police offer’s ramming of a police cruiser into the vehicle of a fleeing suspect, rendering
him quadriplegic) by using Graham’s objective reasonableness test.475 In Scott, to determine
the reasonableness of the force used by police, the U.S. Supreme Court evaluated the
imminence of the actual threat the suspect posed to the lives of others. The Court found
that for the force to be justified, the suspect had to pose an actual, substantial, and imminent
threat to the lives of others.

The shooting of a suspect with a firearm constitutes deadly force and requires the highest
level of justification to be found reasonable. Courts find that deadly force is unreasonable



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“unless it is necessary to prevent escape and the officer has probable cause to believe that
the suspect poses a significant threat of death or serious physical injury to the officer or
others.”476 In addition, courts have found that while the initial shots fired at a suspect may be
determined to be justified, subsequent shooting at a suspect may not be justifiable.477

The Constitution of the Commonwealth of Puerto Rico protects the right to life, liberty, and
human dignity as fundamental rights. Section seven of the Bill of Rights (Article II) provides
that “The right to life, liberty and the enjoyment of property is recognized as a fundamental
right of man,” and section one declares that “The dignity of the human being is inviolable.”
Moreover, section 10 protects “the right of the people to be secure in their persons, houses,
papers and effects against unreasonable searches and seizures.”


b. Human Rights Standards on the Use of Force

International legal standards regulating the use of force by law enforcement officers are
based on the “inherent dignity of the human person,”478 “inherent right to life”479 and “right
to liberty and security of person,”480 as elucidated in the International Covenant on Civil
and Political Rights (ICCPR), which the United States ratified in 1992. These principles are
also found in the Universal Declaration of Human Rights (UDHR), which deems that “All
human beings are born free and equal in dignity and rights” and “Everyone has the right to
life, liberty and security of person.”481 The American Declaration of the Rights and Duties of
Man likewise holds that “Every human being has the right to life, liberty and security of his
person.”482 The right to life is non-derogable, and applies to all persons under the authority
or control of a country; the ICCPR specifically dictates that “no person under the authority
or control of a State, regardless of his or her circumstances, is devoid of legal protection for
fundamental non-derogable human rights.”483

The ICCPR and Convention Against Torture and Other Cruel, Inhuman or Degrading
Treatment or Punishment (CAT), also ratified by the United States, strictly prohibit the use
of torture,484 cruel, inhuman or degrading treatment under all circumstances.485 The U.N.
Body of Principles for the Protection of All Persons under Any Form of Detention (Detention
Principles) explicitly state that “no circumstance whatever may be invoked as a justification”
for such acts.486

Moreover, international treaties ratified by the United States ensure that all persons
are afforded equal protection under the law as well as protection from discrimination.487
According to the ICCPR, “In this respect, the law shall prohibit any discrimination and
guarantee to all persons equal and effective protection against discrimination on any ground
such as race, colour, sex, language, religion, political or other opinion, national or social
origin, property, birth or other status.”488 The International Convention on the Elimination
of All Forms of Racial Discrimination (CERD) likewise prohibits any such “distinction,
exclusion, restriction or preference,” and mandates that governments undertake to prohibit
and eliminate such discrimination as well as ensure all persons have access to effective




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protection and remedies.489 These protections are also enshrined in the Detention Principles
and the American Declaration on the Rights and Duties of Man.490

In light of the importance international law places on the liberty and security of the person,
international standards dictate that law enforcement officers may use force only under
limited circumstances. Internationally agreed-upon standards regulate the use of force and
firearms by police officers. These international standards include the U.N. Basic Principles
on the Use of Force and Firearms by Law Enforcement Officials and the U.N. Code of
Conduct for Law Enforcement Officials.

International standards are clear on the threshold required to legitimate the use of force.
The U.N. Code of Conduct for Law Enforcement Officials provides that “law enforcement
officials should use force only when strictly necessary and to the extent required for
the performance of their duty.”491 The use of force and firearms is only allowed “if other
means remain ineffective or without any promise of achieving the intended result.”492 In
such situations, “law enforcement officials shall exercise restraint in such use and act in
proportion to the seriousness of the offence and the legitimate objective to be achieved.”493

The U.N. Basic Principles on the Use of Force and Firearms by Law Enforcement Officials
sets minimum standards for the use of force, as well as recruitment and training. It calls for
proportionality in the force used by officers when it is required and the adoption of reporting
requirements when force or firearms are used. It stipulates that, “Whenever the use of force
and firearms is unavoidable, law enforcement officials shall exercise restraint in such use
and act in proportion to the seriousness of the offence and the legitimate objective to be
achieved.”494 So as to minimize to the greatest extent possible “the application of means
capable of causing death or injury to persons,” the U.N. Basic Principles on the Use of Force
also provide that law enforcement officers must “as far as possible, apply non-violent means
before resorting to the use of force and firearms” and “may use force and firearms only if
other means remain ineffective or without any promise of achieving the intended result.”495
Moreover, law enforcement officers must be armed with non-lethal as well as lethal
weapons.496

Restrictions on the use of force remain in effect when persons are in custody. Under the
ICCPR and Detention Principles, persons in any form of detention “shall be treated with
humanity and with respect for the inherent dignity of the human person.”497 Moreover,
“There shall be no restriction upon or derogation from any of the human rights of persons
under any form of detention or imprisonment recognized or existing in any State pursuant
to law, conventions, regulations or custom.”498 Specifically, according to the U.N. Basic
Principles on the Use of Force and Firearms by Law Enforcement Officials, when persons are
in custody or detention, law enforcement officials “shall not use force, except when strictly
necessary for the maintenance of security and order within the institution, or when personal
safety is threatened” and “shall not use firearms, except in self-defense or in the defense of
others against the immediate threat of death or serious injury, or when strictly necessary to
prevent the escape of a person in custody or detention” who presents a serious danger.499




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Victims are entitled to redress for use of excessive or lethal force by law enforcement. Under
the CAT, governments must promptly and impartially investigate situations where torture,
cruel, inhuman or degrading treatment may have occurred, and ensure victims have access
to redress through its legal system.500 Likewise, injuries or deaths resulting from the use
of force and firearms by law enforcement officials must be promptly reported, and the U.N.
Basic Principles on the Use of Force and Firearms by Law Enforcement Officials stipulates
that governments must ensure that “arbitrary or abusive use of force and firearms by law
enforcement officials is punished as a criminal offence under their law.”501

International bodies tasked with monitoring compliance with human rights treaties have
continually faulted the U.S. for its failure to comply with international standards regarding
the use of force by law enforcement officers. In its 1995 report, the Human Rights
Committee urged the United States to “take all necessary measures to prevent any excessive
use of force by the police,” and to ensure “that rules and regulations governing the use
of weapons by the police and security forces be in full conformity with the United Nations
Basic Principles on the Use of Force and Firearms by Law Enforcement Officials; that any
violations of these rules be systematically investigated in order to bring those found to have
committed such acts before the courts; and that those found guilty be punished and the
victims be compensated.” 502 The Committee reiterated these recommendations in its 2006
report.503 Similar criticisms and recommendations were lodged by the Special Rapporteur
on extrajudicial, summary or arbitrary executions504 and the CAT Committee.505 The CERD
Committee expressed particular concern with the use of excessive and lethal force against
minority groups and foreigners in both its 2001 and 2008 reports, and recommended the
U.S. provide appropriate training for law enforcement to combat prejudices.506 The volume
of reports from different international bodies throughout a period of more than a decade
highlights the continued failure of the U.S. to live up to international standards regarding the
use of force.


c. Constitutional Standards on Freedom of Speech, Expression, and Assembly

The First Amendment of the Constitution of the United States creates a fundamental right
to protest. The First Amendment protects freedom of speech and expression, the right of
peaceful assembly, and the right to petition government for a redress of grievances, all of
which are manifestly part of a right to protest. The right to protest in public places includes
large gatherings (such as parades in the streets and rallies in parks), small gatherings (such
as pickets on sidewalks and vigils on government plazas), and solitary expression (such as
one person holding a sign or distributing leaflets). The “freedom of the press” clause of the
First Amendment protects the right of all people, professional journalists and others alike,
to gather and publish information about protests. The U.S. Constitution also protects actions
that symbolically express a viewpoint. Examples of these symbolic forms of speech include
music, theater, film, dance, wearing masks and costumes, or holding a candlelight vigil.

Further, implicit in the First Amendment is a well-protected right to expressive association;
that is, a right to join together with likeminded persons to collectively express a shared



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message, by means of protest or otherwise.507 According to the U.S. Supreme Court, “the
practice of persons sharing common views banding together to achieve a common end is
deeply embedded in the American political process.”508

The First Amendment is based in part upon the recognized importance of protecting protest
concerning the performance of government officials and other matters of public concern,509
and of protecting protest in public forums.510 Generally, all types of speech and expression
are constitutionally protected in “traditional public forums” such as streets, sidewalks and
parks.511 The steps of city hall and public plazas also constitute traditional public forums.512
In addition, speech activity is permitted to take place at other locations that the government
has opened up to be used for speech activities. Once the government treats a venue as
available to some non-commercial speech, it must be made available to all.

Governments cannot limit protest because of the protest’s viewpoint. Rather, governments
must be neutral among messages and messengers.513 Protests can be controversial,
unpopular, offensive, or even hateful. Protesters can speak in support of illegal activity,
violence, or even the overthrow of our government. The government cannot discriminate
based on viewpoint even in a non-public forum.514

Governments can regulate the time, place, and manner of protest; for example, various
government regulations of protest address disrupting vehicle and pedestrian traffic, blocking
building entrances, harassment, and sound amplification and other loud noise. However,
the governments may regulate the time, place, and manner of protest only if the regulations
are reasonably related to an important government interest, narrowly tailored such that they
do not prevent substantially more expression than is necessary to achieve the government’s
goals, and do not discriminate on the basis of the viewpoints protesters wish to express.515
An ordinance regulating protest is invalid if it is unreasonably or unnecessarily burdensome,
if it prevents protesters from communicating their message, if it has vague or no standards,
or if it is selectively enforced.516 The restrictions must also leave open ample alternative
channels of communication and allow protesters a reasonable opportunity to effectively
communicate their message to their intended audience.517 Moreover, a protest should be
allowed to take place within “sight and sound” of its intended audience.518 If protesters
are observing reasonable time, place, and manner restrictions, police may not break up
a protest or demonstration unless there is a “clear and present danger of riot, disorder,
interference with traffic upon the public streets, or other immediate threat to public
safety.”519

The First Amendment also prohibits government officials from subjecting an individual
to retaliatory actions for constitutionally protected speech. In Hartman v. Moore, the U.S.
Supreme Court held that official reprisal for protected speech offends the U.S. Constitution
because it threatens to inhibit exercise of the protected right to free speech.520 In addition,
police officers may not use their powers in a way that has a “chilling effect” on people who
wish to express their views.521 In analyzing whether government actions violate the First
Amendment, the United States Court of Appeals for the First Circuit considers whether the
actions chill or intimidate speech, and whether the actions are motivated by an “intent or



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desire to curb…expression.”522 Moreover, the First Circuit has held that the threat of arrest of
protesters may constitute a chilling act in violation of the First Amendment.523

Only a few narrow categories of speech and expression are outside the scope of the
protections of the First Amendment. The First Amendment does not protect “incitement,”
meaning speech intended and likely to cause imminent violence or law-breaking.524 For
example, the First Amendment does not protect a speaker who urges an angry crowd to
immediately attack someone or destroy their property. In addition, the First Amendment
does not protect “true threats” directed against a particular person who would reasonably
perceive in the message a danger of violence.525 The U.S. Supreme Court held in Whitney
v. California, “Fear of serious injury cannot alone justify suppression of free speech and
assembly…. To justify suppression of free speech there must be reasonable ground to fear
that serious evil will result if free speech is practiced…that the danger apprehended is
imminent…the evil to be prevented is a serious one.”526

“Fighting words” are also unprotected. These are words directed at a particular person,
face-to-face, which might provoke an ordinary reasonable person to violence.527 This narrow
category of unprotected speech and expression does not include political messages directed
at a general audience, even if especially inflammatory, such as flag burning, or displaying a
swastika at a neo-Nazi rally in a Jewish community, or wearing a jacket bearing the words
“fuck the draft” in a courthouse, all of which courts have deemed to be constitutionally
protected speech and expression.528 Abusive words are less likely to be unprotected “fighting
words” if they are directed at police officers, who are expected to exercise greater self-
restraint, due to their office and training.529 All three exceptions to the First Amendment—
incitement, true threats, and fighting words—are very narrow and rarely upheld by courts
when invoked as a basis for suppressing speech.

Civil disobedience is the active refusal to comply with certain laws as a form of protest. The
First Amendment generally does not protect such acts when they involve illegal conduct.
Police officers may arrest those engaged in civil disobedience, but may not arrest protesters
who are in compliance with the law, bystanders, observers, or others in the vicinity. The
best police practice is to give those engaged in civil disobedience the realistic opportunity
to comply with the law, and to distinguish between those who are in violation of the law
and bystanders and protesters engaged in protected First Amendment activity who are not
disobeying the law. Moreover, civil disobedience never justifies the excessive use of force by
police.

The Constitution of the Commonwealth of Puerto Rico also guarantees freedom of speech
and assembly. Section four of the Bill of Rights (Article II) provides that “No law shall be
made abridging the freedom of speech or of the press, or the right of the people peaceably to
assemble and to petition the government for a redress of grievances.”




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d. Human Rights Standards on Freedom of Speech, Expression, and Assembly

The human rights to free speech, expression, and peaceful assembly are universally
recognized and enshrined in numerous treaties including the ICCPR,530 which the United
States has ratified, and the UDHR.531 As expressed in the ICCPR and the CERD, these
freedoms apply to all persons regardless of race, color, descent, national or ethnic origin or
other such characteristics.532 Freedom of speech and assembly are fundamental: indeed,
the Human Rights Committee characterized them as “the foundation for every free and
democratic society,” providing “a basis for the full enjoyment of a wide range of other human
rights.”533

Considering the fundamental nature of these rights, they may only be curtailed in a strictly
limited set of circumstances. Under the ICCPR, any restrictions on the right to freedom of
speech and assembly must be in accordance with the law and strictly necessary to preserve
national security or public safety, public order, public health or morals or protect the rights
and freedoms of others.534 Any such restrictions must be proportionate to a legitimate
purpose and non-discriminatory, including on basis of political opinion.

In its General Comment 34 elucidating the right to freedom of speech and expression, the
Human Rights Committee, the U.N. body empowered to interpret the ICCPR, specified that
laws limiting free expression and assembly must be “formulated with sufficient precision
to enable an individual to regulate his or her conduct accordingly”535 and “accessible to the
public.”536 Further, “A law may not confer unfettered discretion for the restriction of freedom
of expression on those charged with its execution.”537 In addition, laws restricting these
fundamental freedoms must comport with universal human rights norms. They must be
“compatible with the provisions, aims and objectives of the [ICCPR]”538 and may not “violate
the non-discrimination provisions of the Covenant.”539 Any limitations based on morals
must be “understood in the light of universality of human rights and the principle of non-
discrimination.”540 Even where an aforementioned interest is at stake, limitations “may never
be invoked as a justification for the muzzling of any advocacy of multi-party democracy,
democratic tenets and human rights,”541 as restrictions on free expression “may not put in
jeopardy the right itself.”542

In its General Comment 34, the Human Rights Committee also held that restrictions
on the freedom of expression and assembly must be “proportional to the interest to be
protected.”543 The principle of proportionality “has to be respected not only in the law that
frames the restrictions but also by the administrative and judicial authorities in applying
the law.”544 Restrictions must further be narrowly tailored and serve as “the least intrusive
instrument amongst those which might achieve their protective function.”545 Indeed, a state
party must “demonstrate in a specific and individualized fashion the precise nature of the
threat, and the necessity and proportionality of the specific action taken, in particular by
establishing a direct and immediate connection between the expression and the threat”
when invoking a ground for restricting free expression.546




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In those instances where restrictions on the right to assemble are justifiable under
international law, the policing of demonstrations must be carried out in accordance with
international standards. These standards prohibit the use of force by law enforcement
officials unless strictly necessary and to the extent required for the performance of their
duty, and permit the use of firearms only when strictly unavoidable in order to protect
life.547 The U.N. Basic Principles on the Use of Force and Firearms by Law Enforcement
Officials expressly recognize that “everyone is allowed to participate in lawful and peaceful
assemblies.”548 Accordingly, force is only permitted in the dispersal of unlawful and violent
assemblies “when less dangerous means are not practicable and only to the minimum
extent necessary.”549 During unlawful but non-violent assemblies, “law enforcement officials
shall avoid the use of force or, where that is not practicable, shall restrict such force to the
minimum extent necessary.”550

As international treaty bodies have emphasized, the freedoms to speak one’s mind and
assemble peacefully are fundamental components of a democratic society. Any restrictions
on these rights, and the implementation thereof, must comport with international law.




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   Based on our research, including our findings identifying a
   number of problematic policies and practices that contribute to
   the pattern of police abuse in Puerto Rico, we have formulated
   clear recommendations for much-needed reforms. These reforms
   will not only help to bring the Puerto Rico Police Department into
   compliance with the constitutions of the United States and Puerto
   Rico and human rights laws, but will also help it to combat the
   public safety crisis it currently confronts.




A protesting University of Puerto Rico student demanding the removal of police from the university campus. The
tape on his mouth reads, “UPR Without Police.” Photo Credit: Andre Kang / Primera Hora (2011)




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XI. Recommendations


Based on the ACLU’s research findings, including our findings identifying a number of
problematic policies and practices that contribute to the pattern of police abuse, the ACLU
has formulated clear recommendations for much-needed reforms. These reforms are
essential to bring the PRPD into compliance with the constitutions of the United States and
Puerto Rico and human rights laws. Moreover, these recommended reforms will assist the
PRPD to combat the public safety crisis it currently confronts. Policing practices that respect
and protect Puerto Ricans’ constitutional and human rights are critical to achieve public
confidence in the police department, an essential element to improving public safety.

To the Puerto Rico Police Department:

       Use of force policies:

           Develop, revise, and implement clear and comprehensive policies on the use
           of lethal and less-lethal force and encounters with civilians that meet national,
           constitutional, and human rights standards. In the case of force implements,
           ensure these policies also are in accordance with manufacturer specifications.
           These use of force policies should include detailed policies on the discharge,
           unholstering, and brandishing of firearms; the use of chemical agents such
           as pepper spray and tear gas; carotid holds and chokeholds; pressure point
           techniques; “less-lethal” ammunition such as stinger rounds, sting ball
           grenades, rubber or plastic bullets, and bean bag bullets; canines; batons; Tasers
           and other conducted electronic devices; and physical restraints.

           Revise the current use of force policy to authorize only objectively reasonable
           force (instead of the current language authorizing merely reasonable force),
           and ensure the revised policy clarifies precisely what objective reasonable force
           means. Revise the current use of force policy to clarify that officers may use
           deadly force only when there is an objectively reasonable and apparent imminent
           danger of death or grave bodily harm, instead of the current language allowing
           officers to act on their perception and belief of impending danger.

           Develop, revise, and implement policies that require the use of measures to
           avoid the use of force or minimize the use of force required. These measures
           should include dialogue, de-escalation of low-level encounters, disengagement,
           waiting out a subject, area containment, dialogue, warnings, verbal persuasion,
           advising suspects to halt and/or submit to arrest, dispersal orders, and calling
           for reinforcement, mental health experts, or other specialized personnel.




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          Develop and implement policies on interactions with persons with mental illness,
          how to avoid the use of force in interactions with persons with mental illness,
          and other special considerations when using force against persons with mental
          illness.

          Use of force policies should make clear that even when force is initially justified,
          the continued use of force may become excessive and unreasonable in the course
          of an arrest, investigatory stop, or other seizure if the initial level of force is no
          longer necessary.

          Use of force policies also should make clear the level of force permitted when
          pursuing a fleeing suspect, and should provide detailed guidance on how to
          handle post-chase apprehensions. Policies should prohibit officers from firing at
          or from a moving vehicle unless the use of lethal force is justified.

          Use of force policies also should require officers to immediately secure any
          necessary medical care for civilians injured by officers’ use of force.

          Develop and implement policies requiring off-duty officers to notify on-duty
          officers or supervisors before using force or taking any other police action, so
          that on-duty personnel may be dispatched to the scene to handle the incident,
          unless exigent circumstances require immediate action by the off-duty officer.
          Ensure policies make clear that when exigent circumstances require immediate
          action, off-duty officers may only use the level of force that is legally authorized
          and should use the minimum amount of force necessary, if any at all. Prohibit
          off-duty officers from using force or taking any other police action when their
          judgment is impaired such as by alcohol.

          Fully enforce the use of force policies throughout the PRPD.

       Protest and demonstration policies, and other guidance for officers:

          Develop and implement an official policy governing the treatment of protesters
          and the handling of public demonstrations, and in particular the use of force
          against demonstrators, that meets national, constitutional, and human rights
          standards and which (i) allows demonstrations to take place safely; (ii) permits
          only reasonable time, place, and manner restrictions on demonstrations; (iii)
          prohibits the use of Tactical Operations Units, including the Riot Squad, to coerce
          people into not exercising their First Amendment rights; (iv) requires the PRPD to
          give clear warnings and directions to demonstrators if the police believe that the
          clearly-delineated time, place, and manner restrictions are being violated, and
          requires the PRPD to issue such warnings and provide a reasonable opportunity
          to comply before permitting officers to arrest any people; (v) permits arrests of
          demonstrators only where probable cause exists to believe that a crime is being
          or has been committed; and (vi) requires PRPD officers to use no more force than
          that which is necessary under the circumstances in the event that probable cause
          does exist that a crime is being or has been committed.



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       Develop and implement clear and comprehensive policies on encounters with and
       the treatment of persons with medical conditions, persons with mental illness,
       and juveniles that meet national, constitutional, and human rights standards.

       Create a system to enable all current policies to be easily located and
       comprehended by the police and public. This should include a policy manual that
       is organized by subject matter and importance, and it should be indexed for ease
       of use. Ensure that all members of the PRPD receive a copy of the policy manual.

    Policies for investigating domestic and sexual violence:

       Adopt and implement clear, evidence-based policies for investigating domestic
       and sexual violence, including policies on violence perpetrated by officers.
       They should include protocols that address the following: 911 operators’
       receipt of domestic and sexual violence calls; initial and follow-up victim
       interviews, including how to safely communicate with victims; identification
       and documentation of victim injuries; forensic examination of victims; suspect
       interviews and forensic examinations; evidence preservation and crime scene
       management; enforcement of protective orders; follow-up investigations,
       including cases in which the suspect has left the scene; collaboration with victim
       advocates; and services and assistance to be offered to victims.

       Ensure that police protocols accommodate barriers to responding to domestic
       and sexual violence in rural areas.

    Civilian complaint procedure:

       Eliminate barriers to the filing of civilian complaints by reforming the intake
       of civilian complaints. This should include protocols on the intake of civilian
       complaints to ensure that all civilians wishing to report instances of abusive
       conduct by officers are able to do so, and disciplinary procedures to punish
       officers when they fail to follow intake protocols such as attempting to dissuade
       or intimidate a complainant. Provide civilians wishing to report instances of police
       misconduct with clear instructions, forms that are easy to procure and complete,
       detailed information about the complaint and investigations process, and a
       telephone contact to follow up on the status of the investigation.

       Accept anonymous and third-party complaints for the purpose of triggering
       further investigation.

       Provide complainants with written and regular updates of the status of
       their complaints and the progress of the resulting investigation. This should
       include information about any hearings or disciplinary action taken, any final
       determination regarding the complaint and related investigation, and detailed
       explanations of the basis for the outcome.




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          Create a process for civilians to appeal the decision to close an investigation of an
          officer’s use of force, and create a procedure for civilians to obtain access to the
          investigation file in their case.

          Conduct outreach efforts with communities to provide information about filing
          complaints and to encourage civilians to file and pursue complaints when they
          have suffered police abuse or misconduct.

       Investigations of alleged misconduct and abuse:

          Develop and fully implement comprehensive procedures for investigating
          allegations of police abuse and other civilian complaints promptly, thoroughly,
          and impartially. This should include procedures requiring that investigators
          identify, interview, and record statements from all involved officers and
          eyewitnesses; account for all shots fired and all shell casings; preserve, and
          conduct forensic testing on all relevant evidence from the crime scene, involved
          officers, and the victim, including gunshot residue and bullet trajectory tests.

          Ensure that officers who are witness to, or responsible for, the shooting of a
          civilian or use of deadly force against a civilian are required to provide statements
          immediately to investigators, in compliance with appropriate due process
          guarantees.

          Initiate investigations even when complainants have not come forward, in
          instances where information has come to light—whether through media reports,
          civil lawsuits filed concerning police abuse, anonymous complaints, or other
          means—to suggest that abuse or other misconduct has been committed by an
          officer, both on- and off-duty.

          Internal investigations should involve concurrent administrative and criminal
          processes, where possible, with due consideration of the rights of the accused
          officer.

          In the case of use of lethal force or in-custody death, a concurrent investigation
          should be conducted by investigators from the PRPD Homicide Unit, PRPD
          Superintendency for Professional Responsibility, and PRDOJ.

          When a civilian complaint filed with the PRPD or any independent oversight or
          fact-finding body alleges possibly criminal behavior, it should be forwarded to
          prosecutors for review.

       Use of force and critical incident reporting and review:

          Create and fully implement a use of force reporting system adequate to
          document all uses of force by the PRPD. The reporting system should include
          detailed protocols for reporting officer-involved shootings and firearm discharges
          both on- and off-duty, and the preparing and filing of critical incident reports in
          writing. The use of force reports should require officers to document all uses of



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       force and provide a detailed description of the events leading to the use of force
       and the circumstances of the use of force. The use of force reports also should
       require officers to document any injuries that were inflicted and whether medical
       care was provided.

       Develop and fully implement a policy for reviewing all use of force and critical
       incident reports in a timely manner. Require uninvolved supervisors or a
       command-level review team to review each use of force to determine whether
       the use of force was in compliance with constitutional and other applicable
       law, PRPD policies, and manufacturer specifications (in the case of the use of
       force implements). The reviewing supervisor or review team should interview
       witnesses to the use of force and the victim of the use of force, and should
       obtain and evaluate any relevant evidence including ballistics, medical evidence,
       photographic or video evidence, and other evidence of injuries caused by the use
       of force.

       The reviewing supervisor or review team should prepare a report that includes a
       description of the incident and all relevant evidence, findings, and determinations
       of (i) whether all uses of force were in compliance with applicable law and PRPD
       policy, (ii) whether the officers employed proper tactics, (iii) whether lesser force
       alternatives were reasonably available, (iv) whether the use of different tactics
       could or should have been employed, and (v) whether force could have been
       avoided entirely. Where the use of force is not in accordance with applicable law
       and PRPD policies, the reviewing supervisor or review team should recommend
       disciplinary action. The report and recommended disciplinary action should be
       sent up the chain of command, to the Superintendent, for review and action.

       Require that the identity of the arresting officer, shooting officer, all of the
       officers who were involved in the incident or who witnessed the incident, and any
       other witnesses are documented in the use of force report, arresting report, and
       other relevant documents, without exception.

    Disciplinary procedures and sanctions:

       Create, implement, and enforce fair and expeditious disciplinary procedures
       to impose effective disciplinary sanctions on officers when they fail to follow
       protocols, including disarming officers, removing police officers from field duty,
       temporarily suspending officers, and permanently suspending them when called
       for. These disciplinary procedures should also ensure that disarmed officers are
       not rearmed before an investigatory or disciplinary body reviewing the predicate
       use of force incident has determined that rearming is appropriate.

       Disciplinary procedures should also clearly lay out when and how officers
       should be relieved of duty and of their weapons, as prescribed by agency policy
       and federal and state law. These procedures should be implemented and
       systematically enforced.




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          Disciplinary procedures should clearly lay out protocols for officers who
          return from suspensions for disciplinary reasons. These procedures should be
          implemented and systematically enforced.

          Reform the internal disciplinary system to allow superintendents to dismiss
          officers who have committed serious abuses and have been deemed unsuitable
          for police work. Ensure that expulsions of abusive officers are upheld, with
          due consideration of the rights of the accused officer, and are not routinely
          overturned.

          Reform the internal disciplinary system to periodically review officers’
          disciplinary record to flag repetitive conduct by officers who repeatedly use
          excessive force or commit other abuses both on- and off-duty, and assess risk
          of future unlawful conduct. This early warning system should include flagging
          officers who are repeatedly the subject of complaints and/or civil lawsuits and
          taking appropriate remedial or disciplinary measures (such as requiring further
          training, disarming, suspending, or expelling them).

          Conduct a comprehensive review of the disciplinary record of all PRPD officers to
          determine which officers should be removed from the force due to misconduct.
          The review should be based on objective criteria, including recurrence of
          misconduct and severity of past abuse.

          Ensure supervisors are reporting and not tolerating persistent abusive behavior
          on the part of subordinate officers. Appropriately discipline superior officers who
          fail to act to curtail abuses on the part of any of the officers he or she supervises.

          Ensure supervisors conduct regular performance evaluations of subordinate
          officers under their command. Ensure these performance evaluations are
          meaningful and thorough rather than pro forma, and result in a written evaluation
          entered into the officers’ disciplinary file.

          Ensure that officers are held fully accountable when they are alleged to have
          perpetrated domestic or sexual violence. Systems of recruiting, training,
          supervision, review of use of force, internal investigations, and disciplinary
          procedures should incorporate standards for evaluating officers who have been
          accused of sexual or domestic violence and for making criminal referrals where
          appropriate.

          Ensure that officers wear their name tags and badges while on duty, particularly
          during mass demonstrations. Consistently hold officers accountable when they
          fail to comply with this requirement.




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    Data collection and transparency:

       Track and publicly report statistics on the use of force by the PRPD, investigations
       initiated and completed, and disciplinary measures taken.

    Training and supervision:

       Ensure all PRPD officers receive ongoing, periodic training on the use of force.
       Effectively implement use of force policies by training PRPD officers to follow
       all applicable policies and laws on the use of force. This should include training
       on the use of pepper spray, tear gas, and other chemical agents; batons; “less-
       lethal” ammunition such as rubber or plastic bullets, sting ball grenades,
       and bean bag bullets; carotid holds and pressure point techniques; physical
       restraints; Tasers and other conducted electronic devices; the discharge,
       unholstering, and brandishing of firearms; and how to handle post-chase
       apprehensions.

       Ensure trainings emphasize that the use of excessive force will subject officers to
       discipline, criminal prosecution, and/or civil liability.

       Develop and implement training curricula that stress constitutional and human
       rights standards, including relating to the use of force, searches and seizures,
       and responding to protests.

       Ensure that all officers receive ongoing, periodic training on civilian complaint
       protocols, investigatory protocols, reporting protocols, and the disciplinary
       system.

       Ensure that all officers receive ongoing, periodic training on responding
       to domestic and sexual violence. Training should include risk and lethality
       assessment and guidance to officers so that their actions (or inaction) do
       not increase the risk of exposing the complainant to further danger. Officers
       assigned to work on domestic and sexual violence cases should receive
       specialized training in such critical areas as interviewing victims, suspects, and
       child witnesses or victims; investigating non-stranger and drug and alcohol
       facilitated sexual assault; documenting sexual and domestic violence, including
       strangulation; and determining the primary aggressor.

       Ensure that all officers receive ongoing, periodic training on the treatment of
       persons with medical conditions, persons with mental illness, and juveniles.

       Ensure that all officers receive ongoing, periodic training on the treatment of
       protesters and the handling of public demonstrations, and in particular the use
       of force against demonstrators and determining probable cause for arrest of
       protesters.

       Ensure that all officers receive ongoing, periodic training on the prohibition of
       discrimination and constitutional requirements related to equal protection. This




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          should include training on combating racial and ethnic bias, stereotyping, and
          racial, ethnic, and national origin discrimination.

          Ensure supervisors receive ongoing, periodic training on promoting
          accountability, flagging repetitive conduct, identifying high-risk or abusive
          officers, and appropriate disciplinary measures to address abuse by subordinate
          officers or colleagues.

          Provide adequate supervision to be sure that use of force and other policies are
          followed.

       Policing domestic and sexual violence:

          Ensure that officers accept and record all complaints and properly classify
          offenses. Sexual and domestic violence incidents should not be classified as
          miscellaneous or non-crimes or otherwise summarily disposed of at the outset
          where the elements of a crime appear to exist, or because the officer deems the
          victim uncooperative or unsure of what occurred or concludes that the evidence
          refutes the allegation.

          Ensure that officers investigate domestic and sexual violence with the same
          care and attention given to other similar offenses and that law enforcement
          responses are not based on stereotypes about victims or how violence is
          perpetrated. Staffing should be sufficient to allow for full and complete on-scene
          and follow-up investigations. Complaints should be recorded, preserving detailed
          statements from victims and witnesses and describing the appearance of the
          scene, victim injuries and need for medical assistance, and results of forensic
          exams or laboratory analysis. Evidence should be collected in accordance with
          standard guidelines, such as by interrogating suspects, interviewing witnesses,
          ascertaining history of violence, taking photographs and gathering other physical
          and forensic evidence. Collection should be performed to the fullest extent
          possible, even if time has passed since the crime. Investigative reports should
          include any reports prepared by patrol officers or other first responders.

          Ensure that the immigration status or sexual orientation of a victim does not
          impact law enforcement responses to domestic or sexual violence.

          Implement monitoring mechanisms to ensure that domestic or sexual
          violence investigations are being conducted in compliance with the law.
          Supervisors should be charged with reviewing whether domestic or sexual
          violence complaints are being classified, investigated, and charged or cleared
          appropriately. Supervisors should communicate early and effectively with
          prosecutors, and should promptly respond to concerns from complainants,
          advocates, prosecutors, and others that may be raised with respect to particular
          cases. The internal investigative process should identify clear avenues for
          adjudication, discipline, and criminal prosecution if necessary.




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       Organizational culture and attitudes towards policing:

           Institutionalize reform by addressing the culture among supervisors and the
           rank-and-file, including by confronting police officers’ behaviors, attitudes,
           and beliefs regarding policing. Adopt clear goals and effective communication
           with officers about reforms, revise training on reforms and transformation of
           the force’s culture, revise promotion standards and performance evaluations
           that take into account officers’ behaviors and attitudes toward reform and
           constitutional policing, and incorporate all levels of the PRPD into reform efforts.

           PRPD leadership must send a strong and clear message to officers through
           words and actions that constitutional and human rights violations will not be
           tolerated and that the law and PRPD policies will be strictly enforced.

To the Governor of Puerto Rico:

       Work with the United States Department of Justice to implement all reforms
       recommended in their findings letter by entering into a court-enforceable and court-
       monitored agreement to implement a detailed plan of reform.

To the Legislature of Puerto Rico:

       Create effective and independent oversight mechanisms that are fully empowered
       and adequately funded to discharge their mandate. These mechanisms should be
       transparent and fully independent of the PRPD and the office of the Governor of
       Puerto Rico:

           Create an effective and independent oversight body to monitor the PRPD’s
           compliance with all applicable laws. The oversight body should identify
           problematic PRPD policies and practices, including those problematic policies
           and practices identified by the DOJ and ACLU as contributing to the pattern of
           police abuse. The oversight body also should review internal PRPD investigations,
           have the authority to order additional investigations into allegations of police
           misconduct where needed, recommend reforms, monitor the implementation
           of its recommendations, track civil lawsuits relating to police misconduct and
           identify patterns in abuse allegations and officers named in the lawsuits, and
           participate in disciplinary hearings and other disciplinary review procedures. The
           body should meet international standards of independence, competence, and
           effectiveness.

           The independent oversight body should work closely with relevant stakeholders,
           and it should provide periodic public reports on its activities and findings.

           The independent oversight body should ensure that domestic or sexual violence
           investigations are being conducted in compliance with the law. The oversight
           body should review whether domestic or sexual violence complaints are being




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            classified, investigated, and charged or cleared appropriately.

            Create an independent fact-finding body to receive and investigate civilian
            complaints of police misconduct. The independent fact-finding body should be
            granted sufficient and specific supporting investigatory powers to enable it to
            conduct full and effective investigations. For instance, the body should be entitled
            to issue summonses to witnesses, including the officials allegedly involved,
            and should have the power to subpoena documents, obtain search warrants,
            seize documents and other evidence, protect witnesses, and compel police
            cooperation. The body should have at its disposal all of the necessary technical
            resources to conduct effective investigations, including resources for evidence
            collection and forensic analysis.
         	The independent fact-finding body should be granted the authority to ensure
          that the PRPD and prosecutors act on its findings. It should be empowered to
          recommend disciplinary measures for officers who commit abuses, and it should
          be granted the authority to enforce its disciplinary recommendations.

         	The independent fact-finding body should conduct outreach efforts with
          communities to provide information about filing complaints with the PRPD and
          the independent fact-finding body, and to encourage civilians to file and pursue
          complaints when they have suffered police abuse or misconduct.

            Provide the independent oversight body and independent fact-finding body with
            adequate resources to effectively execute their mandates.

      	Enact freedom of information legislation that guarantees public access to
       government records.

To the Puerto Rico Department of Justice:

        Ensure that where there is evidence of criminal conduct by PRPD officers, including
        excessive use of force, the Special Investigations Bureau (NIE) promptly conducts a
        thorough and impartial investigation.

        Initiate prosecutions where there is probable cause to indict a PRPD officer for a
        crime relating to excessive use of force.

To the United States Department of Justice:

        Enter into a court-enforceable and court-monitored agreement with the PRPD. The
        agreement should include a detailed and court-enforceable plan for comprehensive
        reforms that addresses all of the findings and the recommendations contained in the
        DOJ findings letter, and to the extent possible, this report.




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    Ensure that any consent decree or other agreement with the PRPD includes
    measures that address the grave problems with current policing of domestic and
    sexual violence. Such measures should include adoption of clear and improved
    policies on law enforcement response, investigation and evidence collection,
    classification of offenses and charging decisions, training of officers, oversight and
    accountability for police misconduct relating to domestic or sexual violence, and
    response to officer-committed domestic or sexual violence.

    Ensure that any consent decree or other agreement with the PRPD includes
    measures that address the treatment of protesters and the handling of public
    demonstrations, and in particular the use of force against demonstrators. Such
    measures should include the adoption of a specialized policy that (i) allows
    demonstrations to take place safely; (ii) permits only reasonable time, place, and
    manner restrictions on demonstrations; (iii) prohibits the use of Tactical Operations
    Units, including the Riot Squad, to coerce people into not exercising their First
    Amendment rights; (iv) requires the PRPD to give clear warnings and directions
    to demonstrators if the police believe that the clearly-delineated time, place, and
    manner restrictions are being violated, and requiring the PRPD to issue such
    warnings and providing a reasonable opportunity to comply before permitting officers
    to arrest any people; (v) permits arrests of demonstrators only where probable cause
    exists to believe that a crime is being or has been committed; and (vi) requires PRPD
    officers to use no more force than that which is necessary under the circumstances
    in the event that probable cause does exist that a crime is being or has been
    committed.

    Ensure that any grantees and sub-grantees receiving federal funding comply with
    prohibitions on discrimination based on sex, race, and national origin and protections
    guaranteed under federal law.




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   This report is based on a comprehensive six-month
   investigation, during which the ACLU conducted interviews
   in Puerto Rico with government officials and victims of police
   brutality or their surviving family members or lawyers.




The ACLU convened a town hall meeting at the UPR School of Law, at which numerous UPR students
provided testimony of the police abuse they have suffered. Photo Credit: ACLU (2011)




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XII. Methodology and Acknowledgements


Since 2004, the ACLU of Puerto Rico has been documenting numerous cases of police
brutality in Puerto Rico, and has been documenting PRPD suppression of First Amendment
rights since 2009. Between March and September 2011, the national office of the ACLU
conducted fact-finding human rights research in Puerto Rico to further document
allegations of police brutality. In addition, in May 2011, an ACLU-led high-level delegation
conducted a mission in Puerto Rico to draw attention to police abuse against protesters.
The delegation included the actress Rosie Perez; baseball legend Carlos Delgado; Juan
Cartagena, President of LatinoJustice PRLDF; Angelo Falcón, President of the National
Institute for Latino Policy; and Anthony Romero, the Executive Director of the ACLU.

This report is based on a comprehensive six-month investigation, during which the ACLU
conducted interviews in Puerto Rico with government officials and victims of police brutality
or their surviving family members or lawyers in March, April, May, and September 2011.
We focused on incidents over a five-year period from 2007 to 2011, and have continued
monitoring incidents, policies, and practices. The ACLU issued a preliminary report of our
research findings in June 2011;551 this expanded report contains our complete findings based
on additional field research and documentation of ongoing police abuse in Puerto Rico.

This report is based on 76 interviews conducted by the ACLU in Puerto Rico and 14
testimonies collected from students at a town hall meeting at the University of Puerto Rico.
In most cases these interviews were conducted in Spanish; in the case of interviewees fluent
in English, the interviews were conducted in English.

The ACLU interviewed university students, union leaders, and other citizens who experienced
excessive force and police violence when they participated in peaceful protests over the past
three years. The ACLU also interviewed professional journalists and student journalists
who faced police violence and other restrictions when reporting on these incidents. The
ACLU also interviewed people who had been victims of extreme police brutality since 2007,
and lawyers who have represented victims of severe police brutality. In the cases in which
the police killed or caused serious brain damage to the victim, the ACLU interviewed the
parents, widow, children or lawyer of the victim.

In addition, the ACLU met with and obtained information from eight representatives of
the governor’s office, including the governor’s chief of staff, the Attorney General, and
the Secretary of State; five representatives of the University of Puerto Rico, including the
president and chancellor of the Río Piedras campus; five representatives of the Puerto Rico
Police Department, including the superintendent of Police at the time and several auxiliary
or deputy superintendents; and four senators and representatives of the majority and
minority parties.




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Jennifer Turner, ACLU Human Rights Researcher, researched and wrote this report. William
Ramírez, Executive Director of the ACLU of Puerto Rico; Jamil Dakwar, Director of the
Human Rights Program; and Chris Hansen, Senior Staff Attorney of the Speech, Privacy,
and Technology Program, reviewed and edited drafts of this report. Legal Assistant Allison
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the many community leaders, advocates, lawyers, union leaders, and student leaders
who assisted us to identify people to interview and generally facilitated this research. In
particular, we thank student leader Xiomara Caro Díaz for her tireless help in facilitating this
research. The ACLU extends its deepest gratitude to the many individuals who agreed to be
interviewed for this report.




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13    DOJ report at 14.
14    NYPD Internal Affairs Bureau reports, including data on arrests of officers, were obtained by the New York Civil
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27     See, e.g., the lawsuit brought by the ACLU on behalf of the Puerto Rico Association of Journalists, Asociación de
       Periodistas de Puerto Rico, Overseas Press Club of Puerto Rico, et al., v. Robert Mueller and Ten Unknown Agents of the
       Federal Bureau of Investigation, et al., all legal documents available at http://www.aclu.org/free-speech/puerto-rico-
       journalists-association-v-mueller. A federal judge ruled against the reporters in June 2007, but a federal appeals
       court partially reversed that decision in 2008, holding that the lower court erred in dismissing the journalists’ Fourth
       Amendment excessive-force claims. In August 2009, the U.S. District Court again threw out the journalists’ lawsuit.
       While acknowledging the FBI agents may have violated the reporters’ rights, the judge still ruled the journalists could
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40     Daniel Rivera Vargas, Policía le dispara a asaltante en Caguas, El Nuevo Día, Dec. 5, 2011; Ariel Rivera Vázquez, Asaltante
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41	This case is an instance of use of lethal force by municipal police officers. As noted above, this case is included here
    because municipal police officers are trained with PRPD officers at the University College of Criminal Justice of
    Puerto Rico (Puerto Rico’s police academy), and their alleged crimes are subject to the same investigatory procedure
    as suspected crimes by PRPD officers. This case is included as a related and instructive case example because the
    municipal police departments of Puerto Rico are plagued by the same problems of inadequate guidance on their officers’
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Island of Impunity: Puerto Rico’s Outlaw Police Force

The Puerto Rico Police Department (PRPD), charged with policing the Commonwealth of Puerto Rico,
is the second-largest police department in the United States. The PRPD performs an essential public
safety function, yet the police force is plagued by a culture of unrestrained abuse and impunity. After a
comprehensive six-month investigation of policing practices in Puerto Rico, building on eight years of
work by the ACLU of Puerto Rico documenting cases of police brutality, the ACLU has concluded that the
PRPD commits serious and rampant abuses in violation of the United States Constitution, the Puerto Rico
Constitution, and the United States’ human rights commitments.

The PRPD routinely commits abuses including the unjustified use of lethal force against unresisting,
restrained, and unarmed civilians; beatings and other violence against unarmed low-income Puerto
Ricans, Puerto Ricans of African descent, and Dominican immigrants that left some near-death and others
paralyzed or with traumatic brain injury; and excessive force against peaceful protesters including the
indiscriminate use of tear gas, pepper spray, batons, rubber bullets, sting ball grenades, Tasers, carotid
holds, and pressure point techniques. The PRPD also systematically fails to police crimes of domestic
violence and rape, and fails to protect women from violence by their intimate partners.

These abuses do not represent isolated incidents or aberrant behavior by a few rogue officers. Such police
brutality is pervasive and systemic, island-wide and ongoing. The ACLU’s research shows that there are
numerous contributing factors that are responsible for this pattern of police abuse. Our research has
found that the PRPD’s disciplinary, investigatory, and reporting systems in place utterly fail to address,
and therefore prevent, police abuses. These systems virtually guarantee impunity: instead of deterring
abuses by holding abusive officers accountable, the PRPD allows officers to escape punishment or any
other consequences, rearming and returning them to active duty, often to repeat their offenses. Citizen
complaints of brutality languish for years without resolution, and the PRPD fails to adequately investigate
allegations of police misconduct. The PRPD rubber-stamps the use of force, covers up abuse by its officers,
and encourages a code of silence. Officers also receive patently inadequate training, insufficient supervision,
and minimal guidance on the legal boundaries of their use of force and other conduct. The PRPD fails to
provide critical guidance to its personnel on how to discharge their duties in compliance with constitutional
and human rights standards. Moreover, there is no effective independent review of the PRPD’s policies and
practices.

The PRPD has demonstrated it is both unwilling and unable to police itself, and the political leadership in
Puerto Rico has failed to step into the breach. The PRPD has long promised reforms and publicly stated its
commitment to reforming some of its policies, but for the most part it has not delivered on these promises.
Based on our research, the ACLU has formulated clear recommendations for much-needed reforms. These
reforms will not only help to bring the PRPD into compliance with the Constitutions of the United States
and Puerto Rico and human rights laws, but will also help it to combat the public safety crisis it currently
confronts.
